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     9
         Attorneys for Defendant,
   10    Wilco Life Insurance Company
   11
   12
   13                          UNITED STATES DISTRICT COURT
   14                        CENTRAL DISTRICT OF CALIFORNIA
   15
   16    LSCC LLC, an Arkansas limited liability
         corporation, individually and on behalf of   Case No. 2:19-cv-01854-PSG (MRWx)
   17
         itself and all others similarly situated,
   18                                                           NOTICE OF
                       Plaintiff,                       SETTLEMENT AGREEMENT
   19                                                   AND FILING IN MDL ACTION
   20            vs.
                                                      Complaint Filed: March 13, 2019
   21    WILCO LIFE INSURANCE COMPANY                 Judge:    Hon. Philip S. Gutierrez
   22    f/k/a CONSECO LIFE INSURANCE
         COMPANY,
   23
   24                  Defendant.

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     1           The Parties have executed a Settlement Agreement (the “Grace Period
     2 Settlement Agreement”), and as previously reported to the Court, are filing a Joint
     3 Notice of the settlement in the underlying MDL Proceeding. A copy of the Joint
     4 Notice, Stipulation of Addendum, and the underlying Grace Period Settlement
     5 Agreement are attached hereto for the Court’s reference.
     6
     7 Dated: July 30, 2021.
                                         LOCKE LORD LLP
     8
     9                                   /s/ Carl C. Scherz
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    20                                   Attorneys for Defendant
    21
    22
                                   CERTIFICATE OF SERVICE
    23
                 I hereby certify that a true and correct copy of the above and foregoing
    24
         instrument has been served on all counsel of record via ECF electronic delivery on
    25
         this the 30th day of July, 2021.
    26                                                  /s/ Carl C. Scherz
    27                                                  Carl C. Scherz

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   17    Attorneys for Defendant,
         Wilco Life Insurance Company
   18
   19                       UNITED STATES DISTRICT COURT

   20                      CENTRAL DISTRICT OF CALIFORNIA

   21
         IN RE: CONSECO LIFE INSURANCE           MDL No. 04-1610 AHM (MCX)
   22    COST OF INSURANCE LITIGATION
   23                                                   JOINT NOTICE OF
                                                  STIPULATION OF ADDENDUM
   24                                                 TO THE SETTLEMENT
                                                  AGREEMENT IN THIS ACTION -
   25                                                   REGARDING THE
                                                      IMPLEMENTATION OF
   26                                              SETTLEMENT CLASS RELIEF
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     1           Defendant Conseco Life Insurance Company, Class Member LSCC, LLC
     2 (“LSCC”), and Class Counsel Bonnett Fairbourn Friedman & Balint, PC (“Class
     3 Counsel”) file this Joint Notice of Stipulation of Addendum to the Settlement
     4 Agreement in this Action - Regarding the Implementation of Settlement Class
     5 Relief. Since the approval of the settlement in this Action in 2007, Conseco Life
     6 Insurance Company changed its name to Wilco Life Insurance Company, and
     7 recently changed its name to Wilcac Life Insurance Company by virtue of a merger;
     8 however, it is referred to herein for convenience as “Wilco Life.” Wilco Life, Class
     9 Counsel, and LSCC are collectively referred to herein as the Parties.
    10           A disagreement arose regarding the implementation of class relief under the
    11 Stipulation of Settlement previously approved by this Court. Since that time, the
    12 Parties have reached an agreement that will provide for a resolution of this
    13 disagreement. In furtherance of this resolution, the Parties respectfully request that
    14 the Court recognize and take notice of the Stipulation of Addendum by Order of the
    15 Court or, in the alternative, to approve the Stipulation of Addendum by Order of the
    16 Court.
    17                                    BACKGROUND
    18 A.        Underlying Stipulation of Settlement
    19           1.    In September of 2006, a class settlement was reached and executed in
    20 this Action in which the settlement class was defined as: “All persons who own or
    21 owned a Lifestyle Policy or a Lifetime Policy excluding: (i) those Lifestyle Policies
    22 or Lifetime Policies listed in [Exhibit C to the Stipulation of Settlement as defined
    23 below] that were timely excluded from the classes certified by the Court on April
    24 26 and 27, 2005, in accordance with the procedures established by the Court; (ii)
    25 those persons who own or owned a Lifestyle Policy or a Lifetime Policy that
    26 terminated on or before the Eligibility Date for which the insured has died; and (iii)
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     1 each person who is or was a Director, officer or employee of Defendant(s)” (the
     2 “COI Class”).
     3           2.    The terms of the class settlement were set forth in a written settlement
     4 agreement (the “Stipulation of Settlement”), and the Court finally approved the
     5 Stipulation of Settlement and entered the Final Judgment of Class Action (Doc. 532)
     6 (the “Final Judgment”)) in this Action on July 3, 2007.
     7           3.    In the Final Judgment entered in this Action pursuant to the terms of
     8 the Stipulation of Settlement, the Court approved the settlement of all cost of
     9 insurance (“COI”) claims alleged against Conseco Life Insurance Company
    10 (“Conseco Life”) in the Action (“the COI Class Settlement”) on behalf of the COI
    11 Class.
    12           4.    The Court also approved, as part of the COI Class Settlement, the
    13 release and waiver of claims by the COI Class against Conseco Life and its
    14 successor entities, among others, as specified in Section V of the Stipulation of
    15 Settlement and Paragraph 7 of the Final Judgment (“the COI Class Release”).
    16           5.    The COI Class Release released “any and all claims for attorneys' fees,
    17 costs, or disbursements incurred by Class Counsel for Plaintiffs, Plaintiffs, or the
    18 Class Members, or any of them, in connection with the Action, the settlement of the
    19 Action, or the administration of such settlement, except to the extent otherwise
    20 specified in this Agreement.” Final Judgment, at p.6.
    21           6.    In addressing the award and allocation of attorneys’ fees and expenses
    22 under the COI Class Settlement, the Stipulation of Settlement provided: “Class
    23 Counsel, in their sole discretion, shall allocate and distribute this award of
    24 Attorneys' Fees and Expenses among all of the counsel who have made a substantial
    25 contribution on behalf of the Class in the Action. Defendants shall not be liable for
    26 or obliged to pay any other attorneys' fees or expenses to counsel representing
    27 Plaintiffs or the Class in this Action in connection with the Action, other than the
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     1 amount or amounts expressly provided for in this Agreement.” Stipulation of
     2 Settlement ¶ VI(B)(3).
     3           7.       In the Final Judgment the Court also issued a permanent injunction
     4 whereby:
     5                 All Class Members are hereby permanently barred and enjoined
     6                 from filing, commencing, prosecuting, maintaining, intervening in,
     7                 participating in or continuing (as class representatives, class
     8                 members or otherwise), or receiving any benefits from any lawsuit,
     9                 arbitration, claim or administrative, regulatory or any other
    10                 proceeding or order in any jurisdiction based on or relating in any
    11                 way, directly or indirectly, to the claims and causes of action in, or
    12                 the subject matter of, the Action and/or the Released Transactions
    13                 (as that term is defined in the Settlement Agreement). In addition,
    14                 all persons are hereby permanently barred and enjoined from filing,
    15                 commencing, prosecuting or maintaining any other lawsuit as a class
    16                 action (including by seeking to amend a pending complaint to
    17                 include class allegations, continuing a previously initiated action, or
    18                 by seeking class certification in a pending action in any jurisdiction)
    19                 on behalf of Class Members who have not been timely excluded
    20                 from the Class, if such other class action is based on or relates in any
    21                 way, directly or indirectly, to the claims and causes of action in, or
    22                 the subject matter, of the Action and/or the Released Transactions
    23                 (as that term is defined in the Settlement Agreement). The Court
    24                 finds that issuance of this permanent injunction is necessary and
    25                 appropriate in aid of the Court's jurisdiction over the action and to
    26                 protect and effectuate this Final Judgment.
    27
    28                                                  3
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     1 B.        The Grace Period Action
     2           8.     As part of the settlement relief, the COI Class Settlement provided for
     3 a death benefit extension period for certain qualifying members of the COI Class.
     4 Stipulation of Settlement ¶ III(A)(5).
     5           9.     In addressing class settlement relief that provided extended insurance
     6 coverage to in force class members under the COI Class Settlement, the Stipulation
     7 of Settlement provided:
     8                 The In-Force Death Benefit Extension will begin to provide
     9                 extended insurance coverage on the Termination Date of each In-
    10                 Force Policy. When the In-Force Death Benefit Extension period
    11                 commences, Conseco Life shall discontinue billing the Class
    12                 Member for additional premiums. The In-Force Policy shall
    13                 terminate upon the expiration of the applicable In-Force Death
    14                 Benefit Extension. The In-Force Death Benefit Extension period
    15                 shall remain the same regardless of any future premium payments
    16                 made or not made with respect to the In-Force Policy; however,
    17                 any premiums paid on an annual basis that exceed the premium
    18                 that was paid during calendar year 2005 will operate to defer the
    19                 date when the In-Force Death Benefit Extension will begin to
    20                 provide the extended insurance coverage, thereby lengthening the
    21                 period of coverage under the Policy. The Class Notice will so
    22                 inform Class Members. As soon as practicable after the
    23                 Implementation Date, In-Force Class Members receiving the In-
    24                 Force Death Benefit Extension will receive a certificate of
    25                 benefits, which clearly discloses, among other things, that the In-
    26                 Force Death Benefit Extension is part of the existing in-force
    27                 policy and is not a separate policy.
    28                                               4
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     1 Stipulation of Settlement ¶ III(A)(5).
     2           10.   Since the approval of the COI Class Settlement, a disagreement arose
     3 regarding the implementation of the death benefit extension period. On March 13,
     4 2019, LSCC, as a member of the COI Class, commenced a putative class action on
     5 behalf of the COI Class in the Central District of California, styled LSCC LLC v.
     6 Wilco Life Ins. Co., Case No. 2:19-cv-01854-PSG (MRWx) (“the Grace Period
     7 Action”). LSCC challenged the deduction of “grace period” premiums from certain
     8 “Extended Death Benefit” payments (“the Grace Period Claims”) made under the
     9 COI Class Settlement by Conseco Life and, thereafter, Wilco Life as Conseco Life’s
    10 successor-in-interest.
    11           11.   LSCC and its counsel sought recovery of the alleged deductions of
    12 grace period premiums for the Grace Period Claims and attorneys’ fees in bringing
    13 the Grace Period Action.
    14           12.   Wilco Life denied LSCC’s claims and filed a motion to dismiss the
    15 claims in the Grace Period Action, which the district court granted by order
    16 dismissing the Grace Period Action on August 14, 2019. The district court held that
    17 LSCC failed to state a plausible breach of contract claim concluding that the plain
    18 language of the settlement agreement and the original policies authorized Wilco
    19 Life to deduct grace period premiums from policy proceeds.
    20           13.   Whereas, LSCC appealed the dismissal to the Ninth Circuit Court of
    21 Appeals, and the Ninth Circuit Court of Appeals reversed the dismissal and
    22 remanded the Grace Period Action to the district court, holding that LSCC correctly
    23 pointed out, “[t]here is no provision anywhere in the Policy Contract, let alone in
    24 the governing Settlement Agreement, that provides for the payment of an ‘accrued’
    25 grace period premium. ... [T]he word ‘accrued’ appears nowhere ..., nor do[es] ...
    26 any equivalent or comparable terminology”; and that the grace period premium
    27
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     1 charge that Wilco Life imposed upon LSCC could only be attributed to the Death
     2 Benefit Extension Period resulting from the settlement.
     3           14.   The Grace Period Claims have been vigorously contested by Wilco
     4 Life resulting in extended and costly litigation at both the trial court and appellate
     5 court levels.
     6 C.        Authority to resolve disputes under the Final Judgment
     7           15.   Paragraph 11 of the Final Judgment provides that the Court in the MDL
     8 Action “expressly retains exclusive jurisdiction as to all matters relating to the
     9 administration, consummation, enforcement and interpretation of the [COI Class
    10 Settlement] and of this Final Judgment, and for any other necessary purpose . . . .”
    11 Such continuing jurisdiction of the Court in the MDL Action expressly includes
    12 jurisdiction for “(a) enforcing the terms and conditions of the Settlement Agreement
    13 and resolving any disputes, claims or causes of action that, in whole or in part, are
    14 related to or arise out of the Settlement Agreement, or this Final Judgment
    15 (including, without limitation, whether a person or entity is or is not a Class
    16 Member; whether claims or causes of action allegedly related to this case are or are
    17 not barred by this Final Judgment, etc.); (b) entering such additional Orders as may
    18 be necessary or appropriate to protect or effectuate this Final Judgment approving
    19 the Settlement Agreement, dismissing all claims on the merits and with prejudice,
    20 and permanently enjoining Class Members from initiating or pursuing related
    21 proceedings, or to ensure the fair and orderly administration of this settlement; and
    22 (c) entering any other necessary or appropriate Orders to protect and effectuate this
    23 Court's retention of continuing jurisdiction . . . .”
    24           16.   Paragraph XV(G) of the Stipulation of Settlement provided that “Any
    25 disagreement and/or action to enforce this Agreement shall be commenced and
    26 maintained only in the [Court in the MDL Action].”
    27
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      1           17.   Paragraph 10 of the Final Judgment provides “After entry of the [Final
      2 Judgment] … the Parties may by written agreement effect such amendments,
      3 modifications, or expansions of this Agreement and its implementing documents
      4 (including all exhibits hereto) without further notice to the [COI] Class or approval
      5 by the Court if such changes are consistent with the Court's [Final Judgment] and
      6 do not materially limit the rights of [COI] Class Members under this [COI Class
      7 Settlement].”
      8           18.   Class Counsel, LSCC, and Wilco Life have reached a resolution
      9 regarding the implementation of the death benefit extension period.
     10           19.   By virtue of the Stipulation of Addendum to the Settlement Agreement
     11 in this Action - Regarding the Implementation of Settlement Class Relief and the
     12 Grace Period Settlement Agreement, which are attached hereto as Exhibit A, Class
     13 Counsel, LSCC, and Wilco Life agree that: (a) the terms of the Grace Period
     14 Settlement Agreement appropriately clarify the deducting of grace period premiums
     15 from death benefit payments made under the Stipulation of Settlement; (b) Wilco
     16 Life will cease deducting grace period premiums from death benefit payments made
     17 under the COI Settlement, pursuant to the terms of the Grace Period Settlement
     18 Agreement; (c) Wilco Life will reimburse and pay to beneficiaries under the COI
     19 Class policies some or all of the amounts previously deducted from payments made
     20 under the COI Settlement as grace period premiums, pursuant to the terms of the
     21 Grace Period Settlement Agreement; and (d) LSCC will voluntarily dismiss the
     22 Grace Period Action with prejudice.
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      1    REQUEST THAT THE COURT RECOGNIZE AND TAKE NOTICE OF,
                      OR IN THE ALTERNATIVE, APPROVE
      2                THE STIPULATION OF ADDENDUM
      3
                  20.   The Parties respectfully request that the Court recognize and take
      4
          notice of the Stipulation of Addendum by Order of the Court or, in the alternative,
      5
          to approve the Stipulation of Addendum by Order of the Court.
      6
                  21.   A legitimate dispute has arisen regarding the proper interpretation of
      7
          the Stipulation of Settlement as to In-Force Policies in the COI Class and whether
      8
          Wilco Life is entitled to bill for premiums during the grace period leading up to
      9
          policy termination and before the In-Force Death Benefit Extension.
     10
                  22.   Wilco Life has vigorously contested the Grace Period Claims and
     11
          LSCC’s construction of the Stipulation of Settlement. Among other things, Wilco
     12
          Life contends that:
     13
                        a.      The issues in dispute in the Grace Period Action are subject to
     14
          the permanent injunction and continuing jurisdiction of the Court in the MDL Court
     15
          Action pursuant to the Final Judgment, and therefore, they cannot proceed forward
     16
          in the Grace Period Action.
     17
                        b.      LSCC is not entitled to additional relief individually and on
     18
          behalf of the COI Class because the Stipulation of Settlement’s requirement that
     19
          Wilco Life only “discontinue billing the Class Member for additional premium”
     20
          once “the In-Force Death Benefit Extension period commences,” implicitly and
     21
          explicitly permits and contemplates that Wilco Life would bill for the prior time
     22
          period including during the grace period.
     23
                        c.      California’s four (4) year statute of limitations bars recovery of
     24
          previously collected premiums for a substantial number of the COI Class because
     25
          they were notified that the premiums had been deducted at the time of payment of
     26
          the death benefit. Wilco Life contends that it expressly notified class members in
     27
        writing when they were paid their death benefits--since 2007--that the premiums
     28                                        8
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      1 for the grace period had been deducted at the time of payment of the death benefit.
      2 Wilco Life contends that, at the very least, members of the COI Class that were paid
      3 more than four (4) years prior to the filing of the Grace Period Action—March 18,
      4 2015—would be barred by California’s statute of limitations because they were
      5 notified that the premiums had been deducted at the time of payment of the death
      6 benefit.
      7                 d.    LSCC is not entitled to seek additional amounts for attorneys’
      8 fees arising from administration and resolution of issues pertaining to the Grace
      9 Period Action because such relief is precluded by the terms of the Stipulation of
     10 Settlement and Final Judgment.         In addressing the award and allocation of
     11 attorneys’ fees and expenses, the Stipulation of Settlement provided: “Class
     12 Counsel, in their sole discretion, shall allocate and distribute this award of
     13 Attorneys' Fees and Expenses among all of the counsel who have made a substantial
     14 contribution on behalf of the Class in the Action. Defendants shall not be liable for
     15 or obliged to pay any other attorneys' fees or expenses to counsel representing
     16 Plaintiffs or the Class in this Action in connection with the Action, other than the
     17 amount or amounts expressly provided for in this Agreement.” Stipulation of
     18 Settlement ¶ VI(B)(3). Additionally, the COI Class Release released “any and all
     19 claims for attorneys' fees, costs, or disbursements incurred by Class Counsel for
     20 Plaintiffs, Plaintiffs, or the Class Members, or any of them, in connection with the
     21 Action, the settlement of the Action, or the administration of such settlement, except
     22 to the extent otherwise specified in this Agreement.” Final Judgment at p.6. Thus,
     23 Wilco Life contends that LSCC and the COI Class would have to pay their own
     24 attorney’s fees and expenses which could be substantial and could exhaust any
     25 recovery, completely or to a large extent.
     26           23.   LSCC disputes the aforementioned contentions asserted by Wilco, and
     27 contends that (a) the plain language of the Settlement Agreement (which extends
     28                                            9
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      1 insurance coverage after termination of the Grace Period at no cost to the Settlement
      2 Class Members) precludes the imposition of any charges and that the plain language
      3 of the original insurance policy contracts also does not require LSCC or other policy
      4 owners to pay any such Grace Period premiums because such charges become due
      5 only when the insured dies during the Grace Period; (b) the claims asserted on
      6 behalf of the Class are timely; and (c) an award of attorneys’ fees is authorized by
      7 Cal. Code Civ. Proc. § 1021.5 (as applied by this Court in Yue v. Conseco Life Ins.
      8 Co., 2011 WL 13176748) and by the catalyst theory applicable under California
      9 law.
     10           24.   This dispute has resulted in extended and costly litigation at both the
     11 trial court and appellate court levels.
     12           25.   Class Counsel and LSCC acknowledge the risks, additional burden,
     13 cost, expense, and unavoidable uncertainty associated with continued litigation.
     14           26.   Class Counsel and LSCC believe that the settlement provided for in
     15 the Grace Period Settlement Agreement is preferable to continued litigation which
     16 could lead to a much smaller or no recovery for the members of the COI Class with
     17 respect to the Grace Period Claims.
     18           27.   LSCC and Class Counsel, therefore, desire to settle the Grace Period
     19 Action and all claims asserted therein and related thereto through the execution of
     20 the Grace Period Settlement Agreement.
     21           28.   Paragraph 10 of the Final Judgment provides “After entry of the [Final
     22 Judgment] … the Parties may by written agreement effect such amendments,
     23 modifications, or expansions of this Agreement and its implementing documents
     24 (including all exhibits hereto) without further notice to the [COI] Class or approval
     25 by the Court if such changes are consistent with the Court's [Final Judgment] and
     26 do not materially limit the rights of [COI] Class Members under this [Class COI
     27 Settlement]”.
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      1           29.   The Parties believe that the Grace Period Settlement Agreement
      2 satisfies Paragraph 10 of the Final Judgment in that the provisions of the Grace
      3 Period Settlement Agreement do not materially limit the rights of members of the
      4 COI Class.
      5           30.   The resolution agreed to in the Grace Period Settlement Agreement
      6 and the construction of the Stipulation of Settlement set forth in the Grace Period
      7 Settlement Agreement and in the Stipulation of Addendum, are an appropriate
      8 resolution of the claims raised in the Grace Period Action in light of Wilco Life’s
      9 defenses and, given the nature of the adverse, competing arguments.
     10           31.   The Grace Period Settlement Agreement provides additional relief to
     11 members of the COI Class that they might not otherwise be entitled to obtain
     12 through continued litigation. Specifically, for policies in the COI Class Settlement
     13 for which the Extended Death Benefit was reduced by a grace period premium and
     14 in which the payment was made on or after February 1, 2015, Wilco Life will pay
     15 approximately $1,176,028 divided proportionally to the respective beneficiaries
     16 based upon the specific reduction from each policy. This amount is a refund of
     17 approximately 100% of the amounts reduced by Wilco Life for grace period
     18 premium applicable to the policies listed in Exhibit D of the Grace Period
     19 Settlement Agreement. For policies in the COI Class Settlement for which the
     20 Extended Death Benefit was reduced by a grace period premium and in which the
     21 payment was made before February 1, 2015, Wilco Life will pay approximately
     22 $162,500 divided proportionally to the respective beneficiaries based upon the
     23 specific reduction from each policy. This amount is a refund of approximately 40%
     24 of the amounts reduced by Wilco Life for grace period premium applicable to the
     25 policies listed in Exhibit E of the Grace Period Settlement Agreement. If additional
     26 expense is required for administrative reasons as set forth in the Grace Period
     27 Settlement Agreement, these amounts could be proportionally less. The Grace
     28                                           11
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      1 Period Settlement Agreement also pays an additional $225,000 to be used for
      2 attorneys’ fees, costs, and expenses of Class Counsel for bringing the Grace Period
      3 Action and achieving this resolution.
      4           32.   In contrast, the defenses asserted by Wilco Life result in uncertainties
      5 if litigation continues and there is no settlement. Wilco Life’s statute of limitation
      6 argument creates uncertainty as to whether members of the COI Class Settlement
      7 could recover anything for the Grace Period Claims. Furthermore, the prosecution
      8 of this matter may either (i) result in no recovery; (ii) result in no award of additional
      9 amounts for attorneys’ fees and expenses; and/or (iii) result in the exhaustion of any
     10 recovery by way of incurred attorneys’ fees and expenses.
     11           33.    Accordingly, LSCC, Class Counsel, and Wilco Life ask the Court to
     12 recognize and take notice of the Stipulation of Addendum by Order of the Court or,
     13 as necessary and in the alternative, to approve the Stipulation of Addendum.
     14           34.    In so doing, the Parties respectfully request that the Court, in its Order,
     15 recognize and take notice that:
     16                 a.     The terms and provisions of the Grace Period Settlement
     17           Agreement (i) are consistent with the Final Judgment, and (ii) do not
     18           materially limit the rights of the members of the COI Class within the
     19           meaning of paragraph 10 of the Final Judgment.
     20                 b.     The Stipulation of Addendum resolves any and all claims arising
     21           from, related to, or connected with the past handling of and charges for the
     22           Grace Period as alleged in the Grace Period Action.
     23                 c.     The resolution agreed to in the Grace Period Settlement
     24           Agreement, and the construction of the Stipulation of Settlement set forth in
     25           the Grace Period Settlement Agreement and in the Stipulation of Addendum,
     26           are an appropriate resolution of the claims raised in the Grace Period Action
     27
     28                                              12
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      1           in light of Wilco Life’s defenses and, given the nature of the adverse,
      2           competing arguments.
      3                 d.     Nothing in the Grace Period Settlement Agreement shall amend,
      4           limit, modify or diminish in any respect the protections, operation and effect
      5           of the COI Class Release in Paragraph 7 of the Final Judgment.
      6                 e.     The COI Class Release set forth in the Stipulation of Settlement
      7           and Final Judgment shall continue to be binding upon the members of the
      8           COI Class and their beneficiaries and all other releasees subject thereto. This
      9           Settlement Agreement shall not be construed to narrow the scope of the
     10           release in the Stipulation of Settlement and Final Judgment.
     11                 f.     The Court shall continue to exercise continuing jurisdiction over
     12           the COI Class Settlement in accordance with Paragraph 11 of the Final
     13           Judgment.
     14                 g.     Accordingly, any disputes arising from the Grace Period
     15           Settlement Agreement, the Stipulation of Addendum, the Joint Notice, and
     16           any issues arising from, related to, or connected with the handling of and
     17           charges for the Grace Period will continue to be subject to the Final Judgment
     18           and this Court’s injunction and continuing ancillary jurisdiction.
     19                             CONCLUSION AND PRAYER
     20           For the reasons explained above, the Parties respectfully request that the
     21 Court recognize and take notice of the Stipulation of Addendum by Order of the
     22 Court or, as necessary and in the alternative, to approve the Stipulation of
     23 Addendum.
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      1 Dated: July 30, 2021.
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      3                             & BALINT, PC

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                                    Company n/k/a Wilcac Life Insurance Company
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     28                                      14
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     1                        UNITED STATES DISTRICT COURT
     2                       CENTRAL DISTRICT OF CALIFORNIA
     3
     4   IN RE: CONSECO LIFE INSURANCE
         COST OF INSURANCE LITIGATION                 MDL No. 04-1610 AHM (MCX)
     5
     6                                                   ORDER ACKNOWLEDGING
                                                           AND CONFIRMING THE
     7                                                  STIPULATION OF ADDENDUM
                                                           TO THE SETTLEMENT
     8                                                 AGREEMENT IN THIS ACTION –
                                                             REGARDING THE
     9                                                     IMPLEMENTATION OF
                                                        SETTLEMENT CLASS RELIEF
    10
    11
    12
                 Came on for consideration this day, the Joint Notice of Stipulation of
    13
         Addendum to the Settlement Agreement - Regarding the Implementation of
    14
         Settlement Class Relief (the “Joint Notice”), filed by Defendant Conseco Life
    15
         Insurance Company, Class Member LSCC, LLC (“LSCC”), and Class Counsel
    16
         Bonnett Fairbourn Friedman & Balint, PC (“Class Counsel”). Upon review of the
    17
         Joint Notice and accompanying exhibits, the Court acknowledges and confirms the
    18
         Stipulation of Addendum and the underlying Grace Period Settlement Agreement.
    19
                 It is, therefore, ORDERED that the Court acknowledges and confirms that:
    20
                       a.    The terms and provisions of the Grace Period Settlement
    21
                 Agreement submitted with the Joint Notice (i) are consistent with the Final
    22
                 Judgment in this Action, and (ii) do not materially limit the rights of the
    23
                 members of the COI Class within the meaning of paragraph 10 of the Final
    24
                 Judgment.
    25
                       b.    The Stipulation of Addendum resolves any and all claims arising
    26
                 from, related to, or connected with the past handling of and charges for the
    27
                 Grace Period as alleged in the Grace Period Action.
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      1                 c.     The resolution agreed to in the Grace Period Settlement
      2           Agreement, and the construction of the Stipulation of Settlement set forth in
      3           the Grace Period Settlement Agreement and in the Stipulation of Addendum,
      4           are an appropriate resolution of the claims raised in the Grace Period Action
      5           in light of Wilco Life’s defenses and, given the nature of the adverse,
      6           competing arguments.
      7                 d.     Nothing in the Grace Period Settlement Agreement shall amend,
      8           limit, modify or diminish in any respect the protections, operation and effect
      9           of the COI Class Release in Paragraph 7 of the Final Judgment.
     10                 e.     The COI Class Release set forth in the Stipulation of Settlement
     11           and Final Judgment shall continue to be binding upon the members of the
     12           COI Class and their beneficiaries and all other releasees subject thereto. The
     13           Grace Period Settlement Agreement shall not be construed to narrow the
     14           scope of the release in the Stipulation of Settlement and Final Judgment.
     15                 f.     The Court shall continue to exercise continuing jurisdiction over
     16           the COI Class Settlement in accordance with Paragraph 11 of the Final
     17           Judgment.
     18                 g.     Any disputes arising from the Grace Period Settlement
     19           Agreement, the Stipulation of Addendum, the Joint Notice, and any issues
     20           arising from, related to, or connected with the handling of and charges for the
     21           Grace Period will continue to be subject to the Final Judgment and this
     22           Court’s injunction and continuing ancillary jurisdiction.
     23
     24           SIGNED this the ____ day of _____________, 2021.
     25
     26                                   _________________________________
                                          The Honorable Philip S. Gutierrez
     27                                   United States Chief District Court Judge
     28                                              1
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                            UNITED STATES DISTRICT COURT
    20
                           CENTRAL DISTRICT OF CALIFORNIA
    21   IN RE: CONSECO LIFE INSURANCE
    22   COST OF INSURANCE LITIGATION            MDL No. 04-1610 AHM (MCX)

    23
    24                                            STIPULATION OF ADDENDUM
                                                     TO THE SETTLEMENT
    25                                            AGREEMENT IN THIS ACTION
                                                       - REGARDING THE
    26                                               IMPLEMENTATION OF
                                                  SETTLEMENT CLASS RELIEF
    27
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      1                 Defendant Conseco Life Insurance Company, Class Member LSCC,
      2 LLC (“LSCC”), and Class Counsel Bonnett Fairbourn Friedman & Balint, PC
      3 (“Class Counsel”) file this Stipulation of Addendum to the Settlement Agreement
      4 in this Action - Regarding the Implementation of Settlement Class Relief. Since
      5 the approval of the settlement in this Action in 2007, Conseco Life Insurance
      6 Company changed its name to Wilco Life Insurance Company, and recently
      7 changed its name to Wilcac Life Insurance Company by virtue of a merger;
      8 however, it is referred to herein for convenience as “Wilco Life.” Wilco Life, Class
      9 Counsel, and LSCC are collectively referred to herein as the Parties.
     10           A.    Whereas, a class settlement was reached and executed in September of
     11 2006 in this Action in which the settlement class was defined as: “All persons who
     12 own or owned a Lifestyle Policy or a Lifetime Policy excluding: (i) those Lifestyle
     13 Policies or Lifetime Policies listed in [Exhibit C to the Stipulation of Settlement as
     14 defined below] that were timely excluded from the classes certified by the Court on
     15 April 26 and 27, 2005, in accordance with the procedures established by the Court;
     16 (ii) those persons who own or owned a Lifestyle Policy or a Lifetime Policy that
     17 terminated on or before the Eligibility Date for which the insured has died; and (iii)
     18 each person who is or was a Director, officer or employee of Defendant(s)” (the
     19 “COI Class”).
     20           B.    Whereas, the terms of the COI Class Settlement were set forth in a
     21 written settlement agreement (the “Stipulation of Settlement”), and the Court finally
     22 approved the Stipulation of Settlement and entered the Final Judgment of Class
     23 Action (Doc. 532) (the “Final Judgment”)) in this Action on July 3, 2007.
     24           C.    Whereas, in the Final Judgment entered in this Action, the Court
     25 approved the settlement of all cost of insurance (“COI”) claims alleged against
     26 Conseco Life Insurance Company (“Conseco Life”) in the Action (“the COI Class
     27 Settlement”) on behalf of the COI Class.
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      1           D.    Whereas, in the Final Judgment, the Court approved, as part of the COI
      2 Class Settlement, the release and waiver of claims by the COI Class against
      3 Conseco Life and its successor entities, among others, as specified in Section V of
      4 the Stipulation of Settlement and Paragraph 7 of the Final Judgment (“the COI Class
      5 Release”).
      6           E.    Whereas, as part of the settlement relief, the COI Class Settlement
      7 provided for a death benefit extension period for certain qualifying members of the
      8 COI Class. Stipulation of Settlement ¶ III(A)(5).
      9           F.    Whereas, a disagreement arose regarding the implementation of the
     10 death benefit extension period, and on March 13, 2019, LSCC as a member of the
     11 COI Class commenced a putative class action on behalf of the COI Class in the
     12 Central District of California, styled LSCC LLC v. Wilco Life Ins. Co., Case No.
     13 2:19-cv-01854-PSG (MRWx) (“the Grace Period Action”), in which LSCC
     14 challenged the deduction of “grace period” premiums from certain “Extended Death
     15 Benefit” payments (“the Grace Period Claims”) made pursuant to the Class COI
     16 Settlement by Conseco Life and by Wilco Life as Conseco Life’s successor-in-
     17 interest.
     18           G.    Whereas, Paragraph 11 of the Final Judgment provides that the Court
     19 in the MDL Action “expressly retains exclusive jurisdiction as to all matters relating
     20 to the administration, consummation, enforcement and interpretation of the [COI
     21 Class Settlement] and of this Final Judgment, and for any other necessary purpose
     22 . . . .” Such continuing jurisdiction of the Court in the MDL Action expressly
     23 includes jurisdiction for “(a) enforcing the terms and conditions of the Settlement
     24 Agreement and resolving any disputes, claims or causes of action that, in whole or
     25 in part, are related to or arise out of the Settlement Agreement, or this Final
     26 Judgment (including, without limitation, whether a person or entity is or is not a
     27 Class Member; whether claims or causes of action allegedly related to this case are
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      1 or are not barred by this Final Judgment, etc.); (b) entering such additional Orders
      2 as may be necessary or appropriate to protect or effectuate this Final Judgment
      3 approving the Settlement Agreement, dismissing all claims on the merits and with
      4 prejudice, and permanently enjoining Class Members from initiating or pursuing
      5 related proceedings, or to ensure the fair and orderly administration of this
      6 settlement; and (c) entering any other necessary or appropriate Orders to protect and
      7 effectuate this Court's retention of continuing jurisdiction . . . .”
      8           H.    Whereas, Paragraph XV(G) of the Stipulation of Settlement provided
      9 that any “Any disagreement and/or action to enforce this Agreement shall be
     10 commenced and maintained only in the [Court in the MDL Action].”
     11           I.    Whereas, Paragraph 10 of the Final Judgment provides “After entry of
     12 the [Final Judgment] … the Parties may by written agreement effect such
     13 amendments, modifications, or expansions of this Agreement and its implementing
     14 documents (including all exhibits hereto) without further notice to the [COI] Class
     15 or approval by the Court if such changes are consistent with the Court's [Final
     16 Judgment] and do not materially limit the rights of [COI] Class Members under this
     17 [COI Class Settlement].”
     18           J.    Whereas, Class Counsel, LSCC, and Wilco Life reached a resolution
     19 regarding the implementation of the death benefit extension period.
     20           K.    Whereas, by virtue of this Stipulation of Addendum and the Grace
     21 Period Settlement Agreement, Class Counsel, LSCC, and Wilco Life agree to: settle
     22 the Grace Period Claims; require LSCC to voluntarily dismiss the Grace Period
     23 Action, with prejudice; and to have Wilco Life (a) cease deducting grace period
     24 premiums from death benefit payments made under the COI Settlement, for
     25 members of the COI Class that die after policy termination and upon
     26 commencement of the death benefit extension period provided in the Stipulation of
     27 Settlement, and (b) to reimburse and pay to beneficiaries under the COI Class
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      1 policies some or all of the amounts previously deducted from payments made under
      2 the COI Settlement as grace period premiums, for members of the COI Class that
      3 died after policy termination and upon commencement of the death benefit
      4 extension period provided in the Stipulation of Settlement. The specific terms of
      5 the settlement are set forth in the settlement agreement and release attached hereto
      6 as Exhibit 1 (the “Grace Period Settlement Agreement”).
      7           ACCORDINGLY, subject to the conditions set forth in the Grace Period
      8 Settlement Agreement and subject to this Court recognizing and taking notice of
      9 this Stipulation of Addendum by Order of the Court or, as necessary and in the
     10 alternative, to approve the Stipulation of Addendum by Order of the Court:
     11           1.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the Grace
     12 Period Settlement Agreement attached as Exhibit 1 hereto sets forth the terms of the
     13 resolution of the Grace Period Claims on behalf of the COI Class, and the Parties
     14 confirm their agreement to the terms of the resolution set forth in the Grace Period
     15 Settlement Agreement.
     16           2.    Class Counsel, LSCC, and Wilco Life acknowledge that a legitimate
     17 dispute has arisen regarding the proper interpretation of the Stipulation of
     18 Settlement as to In-Force Policies in the COI Class and whether Wilco Life is
     19 entitled to bill for premiums during the grace period leading up to policy termination
     20 and before the In-Force Death Benefit Extension, and Class Counsel, LSCC, and
     21 Wilco Life hereby stipulate that the construction of the Stipulation of Settlement set
     22 forth in the Grace Period Settlement Agreement is an appropriate resolution of the
     23 claims raised in the Grace Period Action in light of Wilco Life’s defenses and, given
     24 the nature of the adverse, competing arguments.
     25           3.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the terms
     26 and conditions set forth in the Grace Period Settlement Agreement (a) are consistent
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      1 with the Final Judgment, and (b) do not materially limit the rights of the members
      2 of the COI Class within the meaning of Paragraph 10 of the Final Judgment.
      3           4.    Class Counsel, LSCC, and Wilco Life hereby stipulate that nothing in
      4 the Grace Period Settlement Agreement shall amend, limit, modify or diminish in
      5 any respect the protections, operation and effect of the COI Class Release in
      6 Paragraph 7 of the Final Judgment.
      7           5.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the Court
      8 shall continue to exercise continuing jurisdiction over the COI Class Settlement in
      9 accordance with Paragraph 11 of the Final Judgment.
     10
     11
     12 Dated: July 30, 2021.
                                         BONNETT, FAIRBOURN, FRIEDMAN
     13                                  & BALINT, PC
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     20                                  Co-Lead and Class Counsel
                                         For Class Plaintiffs in MDL No. 1610
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                                     EXHIBIT 1
                       GRACE PERIOD SETTLEMENT AGREEMENT

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                      SETTLEMENT AGREEMENT AND RELEASE
          This Settlement Agreement and Release is entered into between (1) LSCC, LLC
   (“LSCC”); (2) Wilco Life Insurance Company f/k/a Conseco Life Insurance Company, and
   now known as Wilcac Life Insurance Company (“Wilco Life”); and Bonnett Fairbourn
   Friedman & Balint, PC (“Class Counsel”). LSCC, Wilco Life, and Class Counsel may be
   referred to collectively as “Parties” or singularly as “Party.” This Settlement Agreement
   and Release is referred to herein as the “Grace Period Settlement Agreement” and/or the
   “Settlement Agreement.”
                                          RECITALS
          A.     Whereas, one or more putative class actions were initiated against Wilco Life
   and/or consolidated with the multidistrict litigation proceeding entitled In Re Conseco Life
   Insurance Cost of Insurance Litigation, MDL No. 04-1610 AHM (MCX) (“the MDL
   Action”) in the United States District Court for the Central District of California (“the
   Court”).
          B.     Whereas, a class settlement was reached and executed in September of 2006
   in the MDL Action (the “COI Class Settlement”), in which the settlement class was defined
   as: “All persons who own or owned a Lifestyle Policy or a Lifetime Policy excluding: (i)
   those Lifestyle Policies or Lifetime Policies listed in [Exhibit C to the Stipulation of
   Settlement] that were timely excluded from the classes certified by the Court on April 26
   and 27, 2005, in accordance with the procedures established by the Court; (ii) those persons
   who own or owned a Lifestyle Policy or a Lifetime Policy that terminated on or before the
   Eligibility Date for which the insured has died; and (iii) each person who is or was a
   Director, officer or employee of Defendant(s)” (the “COI Class”). Class Counsel was
   appointed as one of Class Counsel for the COI Class.
          C.     Whereas, the terms of the COI Class Settlement were set forth in a written
   settlement agreement (the “Stipulation of Settlement”), and the Court finally approved the


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   Stipulation of Settlement and entered the Final Judgment of Class Action (Doc. 532) (the
   “Final Judgment”)) in the MDL Action on July 3, 2007.
          D.     Whereas, in the Final Judgment entered in the MDL Action, the Court
   approved the settlement of all “cost of insurance” (“COI”) claims alleged against Conseco
   Life Insurance Company (“Conseco Life”) in the MDL Action on behalf of the COI Class.
          E.     Whereas, in addressing class settlement relief that provided extended
   insurance coverage to in force class members under the COI Class Settlement, the
   Stipulation of Settlement provided:
               The In-Force Death Benefit Extension will begin to provide extended
               insurance coverage on the Termination Date of each In-Force Policy.
               When the In-Force Death Benefit Extension period commences,
               Conseco Life shall discontinue billing the Class Member for additional
               premiums. The In-Force Policy shall terminate upon the expiration of
               the applicable In-Force Death Benefit Extension. The In-Force Death
               Benefit Extension period shall remain the same regardless of any future
               premium payments made or not made with respect to the In-Force
               Policy; however, any premiums paid on an annual basis that exceed the
               premium that was paid during calendar year 2005 will operate to defer
               the date when the In-Force Death Benefit Extension will begin to
               provide the extended insurance coverage, thereby lengthening the
               period of coverage under the Policy. The Class Notice will so inform
               Class Members. As soon as practicable after the Implementation Date,
               In-Force Class Members receiving the In-Force Death Benefit
               Extension will receive a certificate of benefits, which clearly discloses,
               among other things, that the In-Force Death Benefit Extension is part
               of the existing in-force policy and is not a separate policy.
   Stipulation of Settlement ¶ III(A)(5).
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          F.     Whereas, in the Final Judgment the Court furthermore approved, as part of
   the COI Class Settlement, the release and waiver of claims by the COI Class against
   Conseco and its successor entities, among others, as specified in Section V of the
   Stipulation of Settlement and Paragraph 7 of the Final Judgment (“the COI Class Release”).
          G.     Whereas, in addressing the award and allocation of attorneys’ fees and
   expenses under the COI Class Settlement, the Stipulation of Settlement provided: “Class
   Counsel, in their sole discretion, shall allocate and distribute this award of Attorneys' Fees
   and Expenses among all of the counsel who have made a substantial contribution on behalf
   of the Class in the Action. Defendants shall not be liable for or obliged to pay any other
   attorneys' fees or expenses to counsel representing Plaintiffs or the Class in this Action in
   connection with the Action, other than the amount or amounts expressly provided for in
   this Agreement.” Stipulation of Settlement ¶ VI(B)(3).
          H.     Whereas, the COI Class Release released “any and all claims for attorneys'
   fees, costs, or disbursements incurred by Class Counsel for Plaintiffs, Plaintiffs, or the
   Class Members, or any of them, in connection with the Action, the settlement of the Action,
   or the administration of such settlement, except to the extent otherwise specified in this
   Agreement.” Final Judgment, at p.6.
          I.     Whereas, in the Final Judgment the Court issued a permanent injunction
   whereby:
                All Class Members are hereby permanently barred and enjoined from
               filing,   commencing,     prosecuting,        maintaining, intervening   in,
               participating in or continuing (as class representatives, class members
               or otherwise), or receiving any benefits from any lawsuit, arbitration,
               claim or administrative, regulatory or any other proceeding or order in
               any jurisdiction based on or relating in any way, directly or indirectly,
               to the claims and causes of action in, or the subject matter of, the Action
               and/or the Released Transactions (as that term is defined in the
                                              Page 3 of 48
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               Settlement Agreement). In addition, all persons are hereby permanently
               barred and enjoined from filing, commencing, prosecuting or
               maintaining any other lawsuit as a class action (including by seeking to
               amend a pending complaint to include class allegations, continuing a
               previously initiated action, or by seeking class certification in a pending
               action in any jurisdiction) on behalf of Class Members who have not
               been timely excluded from the Class, if such other class action is based
               on or relates in any way, directly or indirectly, to the claims and causes
               of action in, or the subject matter, of the Action and/or the Released
               Transactions (as that term is defined in the Settlement Agreement). The
               Court finds that issuance of this permanent injunction is necessary and
               appropriate in aid of the Court's jurisdiction over the action and to
               protect and effectuate this Final Judgment.
          J.     Whereas, on March 13, 2019, LSCC as a member of the COI Class
   commenced a putative class action on behalf of the COI Class in the Central District of
   California, styled LSCC LLC v. Wilco Life Ins. Co., Case No. 2:19-cv-01854-PSG (MRWx)
   (“the Grace Period Action”), in which it challenged the deduction of “grace period”
   premiums from certain “Extended Death Benefit” payments (“the Grace Period Claims”)
   made under the COI Class Settlement by Conseco Life and by Wilco Life as Conseco Life’s
   successor-in-interest.
          K.     Whereas, LSCC and its counsel seek recovery of the alleged deductions of
   grace period premiums for the Grace Period Claims and attorneys’ fees in bringing the
   Grace Period Action.
          L.     Whereas, Wilco Life denies LSCC’s claims and filed a motion to dismiss the
   claims in the Grace Period Action, which the district court granted by order dismissing the
   Grace Period Action on August 14, 2019. The district court held that LSCC failed to state
   a plausible breach of contract claim concluding that the plain language of the settlement
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   agreement and the original policies authorized Wilco Life to deduct grace period premiums
   from policy proceeds.
          M.     Whereas, LSCC appealed the dismissal to the Ninth Circuit Court of
   Appeals, and the Ninth Circuit Court of Appeals reversed the dismissal and remanded the
   Grace Period Action to the district court, holding: “But the settlement terms are clear that
   the extended coverage period is to be provided at no cost. As LSCC correctly pointed out,
   ‘[t]here is no provision anywhere in the Policy Contract, let alone in the governing
   Settlement Agreement, that provides for the payment of an ‘accrued’ grace period
   premium. ... [T]he word ‘accrued’ appears nowhere ..., nor do[es] ... any equivalent or
   comparable terminology’”; and that the grace period premium charge that Wilco Life
   imposed upon LSCC could only be attributed to the Death Benefit Extension Period
   resulting from the settlement.
          N.     Whereas, Wilco Life contends that the issues in dispute in the Grace Period
   Action are subject to the permanent injunction and continuing jurisdiction of the Court in
   the MDL Action pursuant to the Final Judgment, and therefore, they must be litigated as
   an ancillary matter in the MDL Action;
          O.     Whereas, Wilco Life contends that LSCC is not entitled to additional relief
   individually and on behalf of the COI Class because, among other things: (i) the Court in
   the MDL Action and the settlement parties expressly and implicitly agreed and approved
   of the billing for insurance coverage prior to each policy’s termination by virtue of the
   Stipulation of Settlement’s provision that Conseco Life was only required to discontinue
   billing after the In-Force Death Benefit Extension period commenced: “When the In-Force
   Death Benefit Extension period commences, Conseco Life shall discontinue billing the
   Class Member for additional premiums”; (ii) California’s four (4) year statute of limitations
   bars recovery of previously collected premiums for a substantial number of the COI Class
   because they were notified that the premiums had been deducted at the time of payment of
   the death benefit; and (iii) LSCC is not entitled to seek additional amounts for attorneys’
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   fees arising from administration and resolution of issues pertaining to the Grace Period
   Action because this relief is precluded by the terms of the Stipulation of Settlement and
   Final Judgment.
          P.     Whereas, LSCC disputes the aforementioned contentions asserted by Wilco,
   and contends that (i) the plain language of the Stipulation of Settlement (which extends
   insurance coverage after termination of the Grace Period at no cost to the eligible members
   of the COI Class) precludes the imposition of any charges and that the plain language of
   the original insurance policy contracts also does not require LSCC or other policy owners
   to pay any such Grace Period premiums because such charges become due only when the
   insured dies during the Grace Period; (ii) the claims asserted on behalf of the COI Class
   are timely; and (iii) an award of attorneys’ fees is authorized by Cal. Code Civ. Proc. §
   1021.5 (as applied by this Court in Yue v. Conseco Life Ins. Co., 2011 WL 13176748) and
   by the catalyst theory applicable under California law.
          Q.     Whereas, the Parties acknowledge the risks, additional burden, cost, expense,
   and unavoidable uncertainty associated with continued litigation.
          R.     Whereas, in order to avoid the possible costs, burdens and distractions of
   continued litigation, LSCC, Class Counsel, and Wilco Life now desire to settle the Grace
   Period Action and all claims asserted therein and related thereto through the execution of
   this Grace Period Settlement Agreement.
          S.     Whereas, Paragraph 11 of the Final Judgment provides that the Court in the
   MDL Action “expressly retains exclusive jurisdiction as to all matters relating to the
   administration, consummation, enforcement and interpretation of the [COI Class
   Settlement] and of this Final Judgment, and for any other necessary purpose . . . .” Such
   continuing jurisdiction of the Court in the MDL Action expressly includes jurisdiction for
   “(a) enforcing the terms and conditions of the Settlement Agreement and resolving any
   disputes, claims or causes of action that, in whole or in part, are related to or arise out of
   the Settlement Agreement, or this Final Judgment (including, without limitation, whether
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   a person or entity is or is not a Class Member; whether claims or causes of action allegedly
   related to this case are or are not barred by this Final Judgment, etc.); (b) entering such
   additional Orders as may be necessary or appropriate to protect or effectuate this Final
   Judgment approving the Settlement Agreement, dismissing all claims on the merits and
   with prejudice, and permanently enjoining Class Members from initiating or pursuing
   related proceedings, or to ensure the fair and orderly administration of this settlement; and
   (c) entering any other necessary or appropriate Orders to protect and effectuate this Court's
   retention of continuing jurisdiction . . . .”
          T.      Whereas, Paragraph XV(G) of the Stipulation of Settlement provided that
   any “Any disagreement and/or action to enforce this Agreement shall be commenced and
   maintained only in the [Court in the MDL Action].”
          U.      Whereas, Paragraph 10 of the Final Judgment provides “After entry of the
   [Final Judgment] … the Parties may by written agreement effect such amendments,
   modifications, or expansions of this Agreement and its implementing documents
   (including all exhibits hereto) without further notice to the [COI] Class or approval by the
   Court if such changes are consistent with the Court's [Final Judgment] and do not
   materially limit the rights of [COI] Class Members under this [Stipulation of Settlement].”
                                        CONSIDERATION
          In consideration of the following mutual promises and representations, the adequacy
   of which is acknowledged by the Parties’ undersigned signatures, the Parties intending to
   be legally bound, hereby enter into this Settlement Agreement.
                                  TERMS AND CONDITIONS
       ACTIONS BY THE PARTIES
          1.      Within two (2) business days following the execution of this Settlement
   Agreement by all of the Parties, Wilco Life will cease reducing future Extended Death
   Benefit payments made under the COI Class Settlement by an additional premium for the
   period of time during the 60-day grace period prior to a policy’s termination, for members
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   of the COI Class that die after policy termination and upon commencement of the death
   benefit extension period provided in the Stipulation of Settlement. (The Extended Death
   Benefit payments and the death benefit extension period are discussed and set forth in the
   Stipulation of Settlement. This provision does not apply to members of the COI Class that
   die within the Grace Period, which is the period before termination and before the death
   benefit extension period; accordingly, grace period premium deductions will continue to
   be allowed for members of the COI Class that die during the Grace Period and before the
   death benefit extension period.)
          2.       Within two (2) business days following the execution of this Settlement
   Agreement, the Parties will file the Stipulation of Addendum in the MDL Action, in the
   form attached as Exhibit A, which sets forth the terms of this Settlement Agreement and
   confirms the Parties’ agreement herein. Along with the Stipulation of Addendum, the
   Parties will also file a joint notice in the form attached as Exhibit B (the “Joint Notice”),
   asking the Court in the MDL Action to recognize and take notice of the Stipulation of
   Addendum by Order of the Court or, as necessary and in the alternative, to approve the
   Stipulation of Addendum (the “Acknowledgment/Approval Order”), confirming:
               •      that the terms and conditions set forth in this Grace Period
                      Settlement Agreement (a) are consistent with the Final Judgment,
                      and (b) do not materially limit the rights of the members of the
                      COI Class within the meaning of Paragraph 10 of the Final
                      Judgment;
               •      that nothing in this Settlement Agreement shall amend, limit,
                      modify or diminish in any respect the protections, operation and
                      effect of the COI Class Release in Paragraph 7 of the Final
                      Judgment; and




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               •      that the Court shall continue to exercise continuing jurisdiction
                      over the COI Class Settlement in accordance with Paragraph 11 of
                      the Final Judgment.
   It is anticipated that the Joint Notice and Stipulation of Addendum will be submitted to the
   Court in the MDL Action in furtherance of that Court’s ancillary and continuing subject
   matter jurisdiction as retained under the Final Judgment and provided under law. Class
   Counsel believes that the MDL Action is now assigned to Judge Philip S. Gutierrez of the
   Central District of California (who is also currently presiding over the Grace Period
   Action). In the event that Judge Philip S. Gutierrez has not been assigned to preside over
   the MDL Action, contemporaneously with the filing of the Stipulation of Addendum, the
   Parties will ask that the Central District of California assign the MDL Action to Judge
   Philip S. Gutierrez because Judge Matz (who previously presided over the MDL Action)
   has retired as a U.S. District Court Judge.
          3.       Within two (2) business days following the execution of this Settlement
   Agreement, the Parties will ask the Court in the Grace Period Action to stay the Grace
   Period Action pending the submission of Joint Notice of the Stipulation of Addendum and
   the entry of the Acknowledgment/Approval Order. Within two (2) business days following
   the entry of the Acknowledgment/Approval Order or similar order, LSCC will dismiss the
   Grace Period Action, with prejudice, by virtue of a joint motion to dismiss and agreed
   order, in the form set forth in the attached Exhibit C.
          4.       Within   thirty   (30)   calendar         days   following   the   entry   of   the
   Acknowledgment/Approval Order, Wilco Life will by check made payable to Class
   Counsel “in trust” pay LSCC the $33,730.04 by which Wilco Life reduced from LSCC’s
   Extended Death Benefit payments made to LSCC under the COI Class Settlement
   (consisting of Policy #2444 – Retroactive Premium Charge: $729.81; Policy #5890 –
   Retroactive Premium Charge: $4,210.09; Policy #1900 – Retroactive Premium Charge:
   $27,024.21; and Policy #9710 – Retroactive Premium Charge: $1,765.93).
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          5.     Within     sixty   (60)   calendar       days   following   the   entry   of   the
   Acknowledgment/Approval Order:
                 a.       For policies in the COI Class Settlement for which the Extended
   Death Benefit was reduced by a grace period premium (where the insured died after policy
   termination and during the death benefit extension period provided in the Stipulation of
   Settlement) and in which the payment was made on or after February 1, 2015, Wilco Life
   will pay $1,176,028 divided proportionally to the respective beneficiaries based upon the
   specific reduction from each policy. The policy number, estimated payment date, and the
   proportionate amount attributable hereunder for each of these Subsection (5)(a) policies, is
   set forth in the attached Exhibit D. This amount is a refund of approximately 100% of the
   amounts reduced by Wilco Life for grace period premium applicable to the policies listed
   in Exhibit D. The $1,176,028 includes the amounts that will be paid to LSCC set forth in
   paragraph 4 above.
                 b.       For policies in the COI Class Settlement for which the Extended
   Death Benefit was reduced by a grace period premium (where the insured died after policy
   termination and during the death benefit extension period provided in the Stipulation of
   Settlement) and in which the payment was made before February 1, 2015, Wilco Life will
   pay $162,500 divided proportionally to the respective beneficiaries based upon the specific
   reduction from each policy. The policy number, estimated payment date, and the
   proportionate amount attributable hereunder for each of the aforementioned Subsection
   (5)(b) policies, is set forth in the attached Exhibit E. This amount is a refund of
   approximately 40% of the amounts reduced by Wilco Life for grace period premium
   applicable to the policies listed in Exhibit E.
                 c.       Wilco will pay $225,000 via check made payable to Class Counsel
   pertaining to LSCC’s attorneys’ fees, costs, and expenses. LSCC and Class Counsel shall
   be solely responsible for dividing the $225,000 amongst the various attorneys involved in
   the Grace Period Action and COI Class Action.
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          6.     In support of the Stipulation of Addendum, the Joint Notice asking the Court
   in the MDL Action to recognize and take notice of the Stipulation of Addendum by Order
   of the Court or, as necessary and in the alternative, to approve the Stipulation of Addendum
   by Order of the Court, will provide the positions of the Parties, as set forth in the attached
   Joint Notice. Specifically, the Joint Notice will set forth: that a legitimate dispute has arisen
   regarding the proper interpretation of the Stipulation of Settlement as to In-Force Policies
   in the COI Class and whether Wilco Life is entitled to bill for premiums during the grace
   period leading up to policy termination and before the In-Force Death Benefit Extension;
   that Wilco Life contends that the Stipulation of Settlement’s requirement that Wilco Life
   only “discontinue billing the Class Member for additional premium” once “the In-Force
   Death Benefit Extension period commences,” implicitly and explicitly permits and
   contemplates that Wilco Life would bill for the prior time period including during the grace
   period; that LSCC and Class Counsel disputed Wilco Life’s interpretation, and the Ninth
   Circuit remanded the Grace Period Action back to the district court to allow LSCC and
   Class Counsel to proceed past the Rule 12(b)(6) motion to dismiss stage to further develop
   their claims; that as of the time of the execution of the Settlement Agreement, this dispute
   continued and was ongoing between the Parties; that Class Counsel and LSCC
   acknowledge the risks, additional burden, cost, expense, and unavoidable uncertainty
   associated with continued litigation, and accordingly, Class Counsel and LSCC believe
   that the settlement in the Settlement Agreement is preferable to continued litigation which
   could lead to a much smaller or no recovery for the members of the COI Class with respect
   to the Grace Period Claims; that LSCC and Class Counsel, therefore, desire to settle the
   Grace Period Action and all claims asserted therein and related thereto through the
   execution of this Settlement Agreement; that Paragraph 10 of the Final Judgment provides
   “After entry of the [Final Judgment] … the Parties may by written agreement effect such
   amendments, modifications, or expansions of this Agreement and its implementing
   documents (including all exhibits hereto) without further notice to the [COI] Class or
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   approval by the Court if such changes are consistent with the Court's [Final Judgment] and
   do not materially limit the rights of [COI] Class Members under this [COI Class
   Settlement]”; that the Parties believe that the Settlement Agreement satisfies Paragraph 10
   of the Final Judgment in that the provisions of the Settlement Agreement do not materially
   limit the rights of members of the COI Class, in that the defenses asserted by Wilco Life
   result in uncertainties of continued litigation, the statute of limitation argument creates
   uncertainty as to whether members of the Class COI Settlement could recover anything for
   the Grace Period Claims, and the prosecution of this matter may exhaust any recovery by
   way of their attorneys’ fees and expenses; that the Settlement Agreement provides
   additional funds for attorney’s fees and expenses that might not otherwise be available to
   members of the COI Class.
          7.     As to the payments and processing set forth in Paragraph 5 above, Wilco Life
   will send the proposed additional payment under this Settlement Agreement using a
   company check by way of U.S. first class mail to the prior recipient of the respective
   Extended Death Benefit at their last known address. If any check(s) is/are returned to Wilco
   Life undelivered, Wilco Life will at its own expense conduct an Accurint search for the
   recipients’ most current address. Thereafter, Wilco Life will send the proposed payment
   under this Settlement Agreement using a company check by way of U.S. first class mail to
   the prior recipient of the respective Extended Death Benefit at the address resulting from
   the Accurint search.
          8.     If the Court in the MDL Action requires any further notice to the COI Class,
   the Parties agree that the cost for such notice will be paid from the relief set forth in
   Paragraph 5 above, and the remaining amount to be paid to policies in the COI Class
   Settlement for which the Extended Death Benefit was reduced by a grace period premium,
   will be reduced on a proportional and pro rata basis. The Parties will cooperate to minimize
   all such cost and provide for efficient processing of that notice, if any.


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       MUTUAL RELEASES
          9.      Except as to such rights as may be created by this Settlement Agreement,
   LSCC, on its own behalf and on behalf of all of its agents, representatives, estates,
   previously designated beneficiaries of the life insurance policies subject to the Stipulation
   of Settlement, heirs, surviving spouses, successors in interest, successors to previously
   designated beneficiaries, transferees, and assigns, irrevocably and unconditionally releases
   and forever discharges Wilco Life and all of its past, present, and future officers, directors,
   agents, representatives, employees, partners, shareholders, members, attorneys,
   predecessors (including, but not limited to, Conseco Life Insurance Company), successors
   (including, but not limited to, Wilcac Life Insurance Company), subsidiaries, parent
   entities, affiliates, third-party administrators, brokers, and assigns from any and all liability,
   claims, demands, damages of any kind, obligations, actions, debts, controversies, suits,
   judgments, cross-claims, counterclaims, rights, costs, expenses, attorneys’ fees, tax
   liability, obligations, losses, penalties, interest, and causes of action of any kind (including,
   but not limited to, those that are: known or unknown; now existing or accruing after the
   date of this Settlement Agreement; in law or equity; asserted or unasserted; express or
   implied; foreseen or unforeseen; real or imaginary; suspected or unsuspected, and/or
   liquidated or non-liquidated) that directly or indirectly arise from, concern, or relate in any
   way to any of the following: the facts alleged in the Grace Period Action; the Grace Period
   Action; any and all of the acts, omissions, facts, matters, transactions, occurrences or
   representations that were directly or indirectly alleged, asserted, described, set forth or
   referred to in the Grace Period Action; the prior payment of death benefits pursuant to the
   Stipulation of Settlement; the facts and circumstances of any prior payment of death
   benefits pursuant to the Stipulation of Settlement; and/or the facts and circumstances
   leading up to this Settlement Agreement. This release and discharge of claims is made
   irrespective of whether any such claims arise out of contract, tort, equity, fraud, negligence,


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   gross negligence, intentional conduct, malicious conduct, misrepresentation, warranty,
   violation of laws, statutes, regulations, or otherwise.
                 a.     This release is a broad, general release and expressly includes, without
   limitation, claims based on negligence, gross negligence, breach of contract, breach of
   express and implied warranties, fraud, negligent misrepresentation, violations of consumer
   and deceptive trade practices acts, violations of insurance regulations, violations of
   insurance administrative requirements, violations of the Magnuson-Moss Warranty Act,
   intentional misconduct, statutory violations, and any other tortious or other conduct. This
   release expressly includes claims for emotional distress and mental anguish, which are
   hereby released.
                 b.     This release covers, without limitation, any and all claims for
   attorneys' fees, expenses, costs and/or disbursements incurred by Class Counsel or any
   other counsel representing LSCC, in connection with or related in any manner to this
   matter, the settlement of this matter, the administration of such settlement, and the release.
                 c.     LSCC acknowledges that it is aware that it may hereafter discover
   claims presently unknown or unsuspected, or facts in addition to or different from those
   that they now know or believe to be true with respect to the matters released herein or with
   respect to Wilco Life. Nevertheless, it is the intention of LSCC to fully, finally and forever
   settle and release all such matters, and all claims relating thereto, which exist, hereafter
   may exist, or might have existed (whether or not previously or currently asserted in any
   action or proceeding).
                 d.     This release shall be deemed to relinquish, to the extent it is
   applicable, and to the full extent permitted by law, the provisions, rights and benefits of
   Section 1542 of the California Civil Code. The release also shall be deemed to waive any
   and all provisions, rights and benefits conferred by federal law or any law of any state or
   territory of the United States, or principle of common law, which is similar, comparable or
   equivalent to California Civil Code § 1542.
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          10.    LSCC, Class Counsel, and Wilco Life agree and confirm that the COI Class
   Release set forth in the Stipulation of Settlement and Final Judgment shall continue to be
   binding upon LSCC and the other members of the COI Class and their beneficiaries and
   all other releasees subject thereto. This Settlement Agreement shall not, and shall not be
   construed to, narrow the scope of the release in the Stipulation of Settlement and Final
   Judgment. The Parties and Class Counsel expressly agree that the resolution agreed to in
   this Settlement Agreement, and the construction of the Stipulation of Settlement set forth
   in this Settlement Agreement and in the Stipulation of Addendum, are an appropriate
   resolution of the claims raised in the Grace Period Action in light of Wilco Life’s defenses
   and, given the nature of the adverse, competing arguments. In the Stipulation of Addendum
   and Joint Notice, LSCC, Class Counsel, and Wilco Life agree that they will request that
   the MDL Court confirm in the Acknowledgment/Approval Order that the Stipulation of
   Addendum resolves any and all claims arising from, related to, or connected with the past
   handling of and charges for the Grace Period as alleged in the Grace Period Action. LSCC,
   Class Counsel, and Wilco Life agree and confirm that any disputes arising from this
   Settlement Agreement, the Stipulation of Addendum, the Joint Notice, and any issues
   arising from, related to, or connected with the handling of and charges for the Grace Period
   will continue to be subject to the Final Judgment and the MDL Court’s injunction and
   continuing ancillary jurisdiction.
          11.    Except as to such rights as may be created by this Settlement Agreement,
   Wilco Life releases LSCC (and all of its attorneys, agents, representatives, heirs, and
   assigns) from any and all claims arising out of LSCC’s institution and prosecution of the
   Grace Period Action, including without limiting the foregoing for attorneys’ fees or costs
   and expenses incurred in connection with the Grace Period Action.
       NO ADMISSION OF LIABILITY
          12.    It is expressly understood and agreed that no recital, term, or condition, nor
   the execution of this Settlement Agreement, shall be construed as any admission of liability
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   of Wilco Life. Rather, the Parties to this Settlement Agreement are expressly settling and
   compromising disputed claims.
       GENERAL TERMS AND PROVISIONS
          13.    Each Party represents and warrants to the other Party that it has not
   previously assigned or transferred, or purported to transfer, to any person or entity any
   claim or other matter released by it in this Settlement Agreement.
          14.    Each person and entity signing this Settlement Agreement represents and
   warrants that he or she is authorized to sign on behalf of and to bind himself, herself, or the
   stated entity. If the party is a corporation, limited liability company, or other business
   entity, the person signing warrants and represents that he or she has authority to sign the
   Settlement Agreement on behalf of the entity.
          15.    In the event either Party contends the other Party has breached any obligation
   under this Settlement Agreement, the Parties agree to meet and confer prior to the
   institution of any judicial proceeding to enforce the allegedly breached provision.
          16.    This Settlement Agreement shall continue to be subject to the Final
   Judgment, the supervision and ancillary jurisdiction of the Court in the MDL Action, and
   pursuant to and consistent with the Stipulation of Settlement.
          17.    This Settlement Agreement supersedes all prior oral and written agreements
   regarding or relating to the allegations in the Grace Period Action, and the negotiation and
   terms of this Settlement Agreement. This Settlement Agreement is intended to be read
   harmoniously with the Stipulation of Settlement, and with terms that clarify the
   interpretation of the Stipulation of Settlement pursuant to the contemplated Stipulation of
   Addendum discussed herein. No promise or inducement has been offered that is not
   expressly set forth in this Settlement Agreement. Any amendments to this Settlement
   Agreement must be in writing, signed by the Parties, and must state that the Parties intend
   to amend the Settlement Agreement.


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          18.    In the event of the invalidity or unenforceability of any provision of this
   Settlement Agreement, the Parties shall attempt in good faith to resolve the invalidity or
   unenforceability and petition the Court in the MDL Action to render the Settlement
   Agreement enforceable while still retaining to the greatest extent possible the intent of the
   Parties, as such intent is determined by such court.
          19.    In executing this Settlement Agreement, each of the Parties acknowledges
   that it consulted with and received advice from its attorneys, to the extent desired. Each
   Party declares that it has executed this Settlement Agreement freely and voluntarily, with
   full knowledge of all material facts after independent investigation and without fraud,
   duress, or undue influence of any kind, and that it each read this Settlement Agreement and
   fully understands each and every provision of it. The Parties acknowledge and agree that
   they have not relied upon any promises, representations or the advice of any other Party or
   that Party’s lawyer. Each Party is solely responsible for seeking independent consultation
   on all matters relating to this Settlement Agreement, including any tax implications of the
   settlement. The Parties are not providing any tax or legal advice to one another and make
   no representations regarding tax obligations or consequences, if any, related to this
   Settlement Agreement.       Each Party will be solely responsible for their own tax
   consequences and liabilities, if any, resulting from this Agreement. LSCC and Class
   Counsel, waive any claims against Wilco Life and their representatives for any and all tax
   implications relating to this settlement.
          20.    This Settlement Agreement was the product of negotiations engaged in by
   all Parties, and the provisions contained in this Settlement Agreement shall be given their
   plain and reasonable meaning, and shall not be construed against any drafter. No term or
   provision of this Settlement Agreement will be presumptively construed or interpreted in
   favor of or against either Party, even if that term is deemed ambiguous.
          21.    The failure of any Party to insist upon strict adherence to any provision of
   this Settlement Agreement on any occasion will not be considered a waiver of that
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   provision or any other provision and will not deprive that Party of the right thereafter to
   insist upon strict adherence to that provision or any other provision of this Settlement
   Agreement. No Party can waive any right granted by this Settlement Agreement unless
   done so in a writing signed by each Party. For purposes of this Section, a “writing” does
   not include email.
           22.   The Parties agree to execute all documents and to take all reasonable actions
   (directly and through their attorneys) that are necessary or helpful to effectuate the purposes
   of this Settlement Agreement.
           23.   The Parties agree that this Settlement Agreement may be executed in one or
   more counterparts. The Parties further agree that the signature pages of the various
   counterparts may be collected with one copy of the balance of the Settlement Agreement,
   which together with all collected and signed signature pages shall constitute a true and
   correct copy of this Settlement Agreement. The Parties further agree that photocopies or
   facsimile copies of this Settlement Agreement (including of signature pages) may be used
   in place of originals for any and all purposes.
           24.     This Settlement Agreement will be binding upon, and inure to the benefit
   of Wilco Life and its respective successors and assigns, heirs and personal representatives
   and estates, as the case may be. This Settlement Agreement may be assigned by Wilco
   Life, but LSCC’s obligations under this Settlement Agreement are personal and such
   obligations shall not be assigned or transferred without the prior written consent of Wilco
   Life.




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                                           Enrico Treglia, Chief Operating Officer

                                                 July 29, 2021
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      LSCC, LLC                                  W        L       I             C
                                                 / /          C             L         I
                                                 C                / / W         L     I
                                                 C
      B : ____________________________
                                                 B : ____________________________
      I : ____________________________
             Steve Creekmore, III, Manager
                                                 I : _____________________________
      Da e: ___________________________
             7.29.2021
                                                 Da e: ___________________________




      C      C                COI C



      B : ____________________________
      I : ____________________________
             Francis J. Balint, Jr.
                July 28, 2021
      Da e: ___________________________




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                 EXHIBIT A TO GRACE PERIOD SETTLEMENT AGREEMENT


 1    BONNETT, FAIRBOURN,
       FRIEDMAN & BALINT, P.C.
 2    Andrew S. Friedman (Pro Hac Vice)
      afriedman@bffb.com
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19
                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
21    IN RE: CONSECO LIFE INSURANCE
22    COST OF INSURANCE LITIGATION            MDL No. 04-1610 AHM (MCX)

23

24                                             STIPULATION OF ADDENDUM
                                                  TO THE SETTLEMENT
25                                             AGREEMENT IN THIS ACTION
                                                    - REGARDING THE
26                                                IMPLEMENTATION OF
                                               SETTLEMENT CLASS RELIEF
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 1          Defendant Conseco Life Insurance Company, Class Member LSCC, LLC
 2    (“LSCC”), and Class Counsel Bonnett Fairbourn Friedman & Balint, PC (“Class
 3    Counsel”) file this Stipulation of Addendum to the Settlement Agreement in this Action
 4    - Regarding the Implementation of Settlement Class Relief. Since the approval of the
 5    settlement in this Action in 2007, Conseco Life Insurance Company changed its name
 6    to Wilco Life Insurance Company, and recently changed its name to Wilcac Life
 7    Insurance Company by virtue of a merger; however, it is referred to herein for
 8    convenience as “Wilco Life.” Wilco Life, Class Counsel, and LSCC are collectively
 9    referred to herein as the Parties.
10          A.     Whereas, a class settlement was reached and executed in September of
11    2006 in this Action in which the settlement class was defined as: “All persons who own
12    or owned a Lifestyle Policy or a Lifetime Policy excluding: (i) those Lifestyle Policies
13    or Lifetime Policies listed in [Exhibit C to the Stipulation of Settlement as defined
14    below] that were timely excluded from the classes certified by the Court on April 26
15    and 27, 2005, in accordance with the procedures established by the Court; (ii) those
16    persons who own or owned a Lifestyle Policy or a Lifetime Policy that terminated on
17    or before the Eligibility Date for which the insured has died; and (iii) each person who
18    is or was a Director, officer or employee of Defendant(s)” (the “COI Class”).
19          B.     Whereas, the terms of the COI Class Settlement were set forth in a written
20    settlement agreement (the “Stipulation of Settlement”), and the Court finally approved
21    the Stipulation of Settlement and entered the Final Judgment of Class Action (Doc.
22    532) (the “Final Judgment”)) in this Action on July 3, 2007.
23          C.     Whereas, in the Final Judgment entered in this Action, the Court approved
24    the settlement of all cost of insurance (“COI”) claims alleged against Conseco Life
25    Insurance Company (“Conseco Life”) in the Action (“the COI Class Settlement”) on
26    behalf of the COI Class.
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 1          D.     Whereas, in the Final Judgment, the Court approved, as part of the COI
 2    Class Settlement, the release and waiver of claims by the COI Class against Conseco
 3    Life and its successor entities, among others, as specified in Section V of the Stipulation
 4    of Settlement and Paragraph 7 of the Final Judgment (“the COI Class Release”).
 5          E.     Whereas, as part of the settlement relief, the COI Class Settlement
 6    provided for a death benefit extension period for certain qualifying members of the
 7    COI Class. Stipulation of Settlement ¶ III(A)(5).
 8          F.     Whereas, a disagreement arose regarding the implementation of the death
 9    benefit extension period, and on March 13, 2019, LSCC as a member of the COI Class
10    commenced a putative class action on behalf of the COI Class in the Central District
11    of California, styled LSCC LLC v. Wilco Life Ins. Co., Case No. 2:19-cv-01854-PSG
12    (MRWx) (“the Grace Period Action”), in which LSCC challenged the deduction of
13    “grace period” premiums from certain “Extended Death Benefit” payments (“the Grace
14    Period Claims”) made pursuant to the Class COI Settlement by Conseco Life and by
15    Wilco Life as Conseco Life’s successor-in-interest.
16          G.     Whereas, Paragraph 11 of the Final Judgment provides that the Court in
17    the MDL Action “expressly retains exclusive jurisdiction as to all matters relating to
18    the administration, consummation, enforcement and interpretation of the [COI Class
19    Settlement] and of this Final Judgment, and for any other necessary purpose . . . .”
20    Such continuing jurisdiction of the Court in the MDL Action expressly includes
21    jurisdiction for “(a) enforcing the terms and conditions of the Settlement Agreement
22    and resolving any disputes, claims or causes of action that, in whole or in part, are
23    related to or arise out of the Settlement Agreement, or this Final Judgment (including,
24    without limitation, whether a person or entity is or is not a Class Member; whether
25    claims or causes of action allegedly related to this case are or are not barred by this
26    Final Judgment, etc.); (b) entering such additional Orders as may be necessary or
27    appropriate to protect or effectuate this Final Judgment approving the Settlement
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 1    Agreement, dismissing all claims on the merits and with prejudice, and permanently
 2    enjoining Class Members from initiating or pursuing related proceedings, or to ensure
 3    the fair and orderly administration of this settlement; and (c) entering any other
 4    necessary or appropriate Orders to protect and effectuate this Court's retention of
 5    continuing jurisdiction . . . .”
 6           H.     Whereas, Paragraph XV(G) of the Stipulation of Settlement provided that
 7    any “Any disagreement and/or action to enforce this Agreement shall be commenced
 8    and maintained only in the [Court in the MDL Action].”
 9           I.     Whereas, Paragraph 10 of the Final Judgment provides “After entry of the
10    [Final Judgment] … the Parties may by written agreement effect such amendments,
11    modifications, or expansions of this Agreement and its implementing documents
12    (including all exhibits hereto) without further notice to the [COI] Class or approval by
13    the Court if such changes are consistent with the Court's [Final Judgment] and do not
14    materially limit the rights of [COI] Class Members under this [COI Class Settlement].”
15           J.     Whereas, Class Counsel, LSCC, and Wilco Life reached a resolution
16    regarding the implementation of the death benefit extension period.
17           K.     Whereas, by virtue of this Stipulation of Addendum and the Grace Period
18    Settlement Agreement, Class Counsel, LSCC, and Wilco Life agree to: settle the Grace
19    Period Claims; require LSCC to voluntarily dismiss the Grace Period Action, with
20    prejudice; and to have Wilco Life (a) cease deducting grace period premiums from
21    death benefit payments made under the COI Settlement, for members of the COI Class
22    that die after policy termination and upon commencement of the death benefit
23    extension period provided in the Stipulation of Settlement, and (b) to reimburse and
24    pay to beneficiaries under the COI Class policies some or all of the amounts previously
25    deducted from payments made under the COI Settlement as grace period premiums,
26    for members of the COI Class that died after policy termination and upon
27    commencement of the death benefit extension period provided in the Stipulation of
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 52 of 105 Page ID #:429




 1    Settlement. The specific terms of the settlement are set forth in the settlement
 2    agreement and release attached hereto as Exhibit 1 (the “Grace Period Settlement
 3    Agreement”).
 4          ACCORDINGLY, subject to the conditions set forth in the Grace Period
 5    Settlement Agreement and subject to this Court recognizing and taking notice of this
 6    Stipulation of Addendum by Order of the Court or, as necessary and in the alternative,
 7    to approve the Stipulation of Addendum by Order of the Court:
 8          1.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the Grace
 9    Period Settlement Agreement attached as Exhibit 1 hereto sets forth the terms of the
10    resolution of the Grace Period Claims on behalf of the COI Class, and the Parties
11    confirm their agreement to the terms of the resolution set forth in the Grace Period
12    Settlement Agreement.
13          2.    Class Counsel, LSCC, and Wilco Life acknowledge that a legitimate
14    dispute has arisen regarding the proper interpretation of the Stipulation of Settlement
15    as to In-Force Policies in the COI Class and whether Wilco Life is entitled to bill for
16    premiums during the grace period leading up to policy termination and before the In-
17    Force Death Benefit Extension, and Class Counsel, LSCC, and Wilco Life hereby
18    stipulate that the construction of the Stipulation of Settlement set forth in the Grace
19    Period Settlement Agreement is an appropriate resolution of the claims raised in the
20    Grace Period Action in light of Wilco Life’s defenses and, given the nature of the
21    adverse, competing arguments.
22          3.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the terms and
23    conditions set forth in the Grace Period Settlement Agreement (a) are consistent with
24    the Final Judgment, and (b) do not materially limit the rights of the members of the
25    COI Class within the meaning of Paragraph 10 of the Final Judgment.
26          4.    Class Counsel, LSCC, and Wilco Life hereby stipulate that nothing in the
27    Grace Period Settlement Agreement shall amend, limit, modify or diminish in any
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 53 of 105 Page ID #:430




 1    respect the protections, operation and effect of the COI Class Release in Paragraph 7
 2    of the Final Judgment.
 3          5.    Class Counsel, LSCC, and Wilco Life hereby stipulate that the Court shall
 4    continue to exercise continuing jurisdiction over the COI Class Settlement in
 5    accordance with Paragraph 11 of the Final Judgment.
 6

 7    Dated: July 29, 2021.
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 8                                  & BALINT, PC
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 54 of 105 Page ID #:431




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14                               Company n/k/a Wilcac Life Insurance Company
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                                     EXHIBIT 1
                       GRACE PERIOD SETTLEMENT AGREEMENT

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                 EXHIBIT B TO GRACE PERIOD SETTLEMENT AGREEMENT


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17    Attorneys for Defendant,
      Wilco Life Insurance Company
18
19                         UNITED STATES DISTRICT COURT

20                       CENTRAL DISTRICT OF CALIFORNIA

21
      IN RE: CONSECO LIFE INSURANCE           MDL No. 04-1610 AHM (MCX)
22    COST OF INSURANCE LITIGATION
23                                                   JOINT NOTICE OF
                                               STIPULATION OF ADDENDUM
24                                                 TO THE SETTLEMENT
                                               AGREEMENT IN THIS ACTION -
25                                                   REGARDING THE
                                                   IMPLEMENTATION OF
26                                              SETTLEMENT CLASS RELIEF
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 57 of 105 Page ID #:434




 1          Defendant Conseco Life Insurance Company, Class Member LSCC, LLC
 2    (“LSCC”), and Class Counsel Bonnett Fairbourn Friedman & Balint, PC (“Class
 3    Counsel”) file this Joint Notice of Stipulation of Addendum to the Settlement
 4    Agreement in this Action - Regarding the Implementation of Settlement Class Relief.
 5    Since the approval of the settlement in this Action in 2007, Conseco Life Insurance
 6    Company changed its name to Wilco Life Insurance Company, and recently changed
 7    its name to Wilcac Life Insurance Company by virtue of a merger; however, it is
 8    referred to herein for convenience as “Wilco Life.” Wilco Life, Class Counsel, and
 9    LSCC are collectively referred to herein as the Parties.
10          A disagreement arose regarding the implementation of class relief under the
11    Stipulation of Settlement previously approved by this Court. Since that time, the
12    Parties have reached an agreement that will provide for a resolution of this
13    disagreement. In furtherance of this resolution, the Parties respectfully request that the
14    Court recognize and take notice of the Stipulation of Addendum by Order of the Court
15    or, in the alternative, to approve the Stipulation of Addendum by Order of the Court.
16                                       BACKGROUND
17    A.    Underlying Stipulation of Settlement
18          1.     In September of 2006, a class settlement was reached and executed in this
19    Action in which the settlement class was defined as: “All persons who own or owned
20    a Lifestyle Policy or a Lifetime Policy excluding: (i) those Lifestyle Policies or
21    Lifetime Policies listed in [Exhibit C to the Stipulation of Settlement as defined below]
22    that were timely excluded from the classes certified by the Court on April 26 and 27,
23    2005, in accordance with the procedures established by the Court; (ii) those persons
24    who own or owned a Lifestyle Policy or a Lifetime Policy that terminated on or before
25    the Eligibility Date for which the insured has died; and (iii) each person who is or was
26    a Director, officer or employee of Defendant(s)” (the “COI Class”).
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 1          2.     The terms of the class settlement were set forth in a written settlement
 2    agreement (the “Stipulation of Settlement”), and the Court finally approved the
 3    Stipulation of Settlement and entered the Final Judgment of Class Action (Doc. 532)
 4    (the “Final Judgment”)) in this Action on July 3, 2007.
 5          3.     In the Final Judgment entered in this Action pursuant to the terms of the
 6    Stipulation of Settlement, the Court approved the settlement of all cost of insurance
 7    (“COI”) claims alleged against Conseco Life Insurance Company (“Conseco Life”) in
 8    the Action (“the COI Class Settlement”) on behalf of the COI Class.
 9          4.     The Court also approved, as part of the COI Class Settlement, the release
10    and waiver of claims by the COI Class against Conseco Life and its successor entities,
11    among others, as specified in Section V of the Stipulation of Settlement and Paragraph
12    7 of the Final Judgment (“the COI Class Release”).
13          5.     The COI Class Release released “any and all claims for attorneys' fees,
14    costs, or disbursements incurred by Class Counsel for Plaintiffs, Plaintiffs, or the Class
15    Members, or any of them, in connection with the Action, the settlement of the Action,
16    or the administration of such settlement, except to the extent otherwise specified in this
17    Agreement.” Final Judgment, at p.6.
18          6.     In addressing the award and allocation of attorneys’ fees and expenses
19    under the COI Class Settlement, the Stipulation of Settlement provided: “Class
20    Counsel, in their sole discretion, shall allocate and distribute this award of Attorneys'
21    Fees and Expenses among all of the counsel who have made a substantial contribution
22    on behalf of the Class in the Action. Defendants shall not be liable for or obliged to
23    pay any other attorneys' fees or expenses to counsel representing Plaintiffs or the Class
24    in this Action in connection with the Action, other than the amount or amounts
25    expressly provided for in this Agreement.” Stipulation of Settlement ¶ VI(B)(3).
26          7.     In the Final Judgment the Court also issued a permanent injunction
27    whereby:
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 59 of 105 Page ID #:436




 1               All Class Members are hereby permanently barred and enjoined from
 2               filing, commencing, prosecuting, maintaining, intervening in,
 3               participating in or continuing (as class representatives, class members
 4               or otherwise), or receiving any benefits from any lawsuit, arbitration,
 5               claim or administrative, regulatory or any other proceeding or order in
 6               any jurisdiction based on or relating in any way, directly or indirectly,
 7               to the claims and causes of action in, or the subject matter of, the Action
 8               and/or the Released Transactions (as that term is defined in the
 9               Settlement Agreement). In addition, all persons are hereby permanently
10               barred and enjoined from filing, commencing, prosecuting or
11               maintaining any other lawsuit as a class action (including by seeking to
12               amend a pending complaint to include class allegations, continuing a
13               previously initiated action, or by seeking class certification in a pending
14               action in any jurisdiction) on behalf of Class Members who have not
15               been timely excluded from the Class, if such other class action is based
16               on or relates in any way, directly or indirectly, to the claims and causes
17               of action in, or the subject matter, of the Action and/or the Released
18               Transactions (as that term is defined in the Settlement Agreement). The
19               Court finds that issuance of this permanent injunction is necessary and
20               appropriate in aid of the Court's jurisdiction over the action and to
21               protect and effectuate this Final Judgment.
22    B.    The Grace Period Action
23          8.      As part of the settlement relief, the COI Class Settlement provided for a
24    death benefit extension period for certain qualifying members of the COI Class.
25    Stipulation of Settlement ¶ III(A)(5).
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 60 of 105 Page ID #:437




 1          9.     In addressing class settlement relief that provided extended insurance
 2    coverage to in force class members under the COI Class Settlement, the Stipulation of
 3    Settlement provided:
 4                The In-Force Death Benefit Extension will begin to provide extended
 5                insurance coverage on the Termination Date of each In-Force Policy.
 6                When the In-Force Death Benefit Extension period commences,
 7                Conseco Life shall discontinue billing the Class Member for
 8                additional premiums. The In-Force Policy shall terminate upon the
 9                expiration of the applicable In-Force Death Benefit Extension. The
10                In-Force Death Benefit Extension period shall remain the same
11                regardless of any future premium payments made or not made with
12                respect to the In-Force Policy; however, any premiums paid on an
13                annual basis that exceed the premium that was paid during calendar
14                year 2005 will operate to defer the date when the In-Force Death
15                Benefit Extension will begin to provide the extended insurance
16                coverage, thereby lengthening the period of coverage under the
17                Policy. The Class Notice will so inform Class Members. As soon as
18                practicable after the Implementation Date, In-Force Class Members
19                receiving the In-Force Death Benefit Extension will receive a
20                certificate of benefits, which clearly discloses, among other things,
21                that the In-Force Death Benefit Extension is part of the existing in-
22                force policy and is not a separate policy.
23    Stipulation of Settlement ¶ III(A)(5).
24          10.    Since the approval of the COI Class Settlement, a disagreement arose
25    regarding the implementation of the death benefit extension period. On March 13,
26    2019, LSCC, as a member of the COI Class, commenced a putative class action on
27    behalf of the COI Class in the Central District of California, styled LSCC LLC v. Wilco
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 61 of 105 Page ID #:438




 1    Life Ins. Co., Case No. 2:19-cv-01854-PSG (MRWx) (“the Grace Period Action”).
 2    LSCC challenged the deduction of “grace period” premiums from certain “Extended
 3    Death Benefit” payments (“the Grace Period Claims”) made under the COI Class
 4    Settlement by Conseco Life and, thereafter, Wilco Life as Conseco Life’s successor-
 5    in-interest.
 6           11.     LSCC and its counsel sought recovery of the alleged deductions of grace
 7    period premiums for the Grace Period Claims and attorneys’ fees in bringing the Grace
 8    Period Action.
 9           12.     Wilco Life denied LSCC’s claims and filed a motion to dismiss the claims
10    in the Grace Period Action, which the district court granted by order dismissing the
11    Grace Period Action on August 14, 2019. The district court held that LSCC failed to
12    state a plausible breach of contract claim concluding that the plain language of the
13    settlement agreement and the original policies authorized Wilco Life to deduct grace
14    period premiums from policy proceeds.
15           13.     Whereas, LSCC appealed the dismissal to the Ninth Circuit Court of
16    Appeals, and the Ninth Circuit Court of Appeals reversed the dismissal and remanded
17    the Grace Period Action to the district court, holding that LSCC correctly pointed out,
18    “[t]here is no provision anywhere in the Policy Contract, let alone in the governing
19    Settlement Agreement, that provides for the payment of an ‘accrued’ grace period
20    premium. ... [T]he word ‘accrued’ appears nowhere ..., nor do[es] ... any equivalent or
21    comparable terminology”; and that the grace period premium charge that Wilco Life
22    imposed upon LSCC could only be attributed to the Death Benefit Extension Period
23    resulting from the settlement.
24           14.     The Grace Period Claims have been vigorously contested by Wilco Life
25    resulting in extended and costly litigation at both the trial court and appellate court
26    levels.
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 62 of 105 Page ID #:439




 1    C.     Authority to resolve disputes under the Final Judgment
 2           15.    Paragraph 11 of the Final Judgment provides that the Court in the MDL
 3    Action “expressly retains exclusive jurisdiction as to all matters relating to the
 4    administration, consummation, enforcement and interpretation of the [COI Class
 5    Settlement] and of this Final Judgment, and for any other necessary purpose . . . .”
 6    Such continuing jurisdiction of the Court in the MDL Action expressly includes
 7    jurisdiction for “(a) enforcing the terms and conditions of the Settlement Agreement
 8    and resolving any disputes, claims or causes of action that, in whole or in part, are
 9    related to or arise out of the Settlement Agreement, or this Final Judgment (including,
10    without limitation, whether a person or entity is or is not a Class Member; whether
11    claims or causes of action allegedly related to this case are or are not barred by this
12    Final Judgment, etc.); (b) entering such additional Orders as may be necessary or
13    appropriate to protect or effectuate this Final Judgment approving the Settlement
14    Agreement, dismissing all claims on the merits and with prejudice, and permanently
15    enjoining Class Members from initiating or pursuing related proceedings, or to ensure
16    the fair and orderly administration of this settlement; and (c) entering any other
17    necessary or appropriate Orders to protect and effectuate this Court's retention of
18    continuing jurisdiction . . . .”
19           16.    Paragraph XV(G) of the Stipulation of Settlement provided that “Any
20    disagreement and/or action to enforce this Agreement shall be commenced and
21    maintained only in the [Court in the MDL Action].”
22           17.    Paragraph 10 of the Final Judgment provides “After entry of the [Final
23    Judgment] … the Parties may by written agreement effect such amendments,
24    modifications, or expansions of this Agreement and its implementing documents
25    (including all exhibits hereto) without further notice to the [COI] Class or approval by
26    the Court if such changes are consistent with the Court's [Final Judgment] and do not
27    materially limit the rights of [COI] Class Members under this [COI Class Settlement].”
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 63 of 105 Page ID #:440




 1          18.    Class Counsel, LSCC, and Wilco Life have reached a resolution regarding
 2    the implementation of the death benefit extension period.
 3          19.    By virtue of the Stipulation of Addendum to the Settlement Agreement in
 4    this Action - Regarding the Implementation of Settlement Class Relief and the Grace
 5    Period Settlement Agreement, which are attached hereto as Exhibit A, Class Counsel,
 6    LSCC, and Wilco Life agree that: (a) the terms of the Grace Period Settlement
 7    Agreement appropriately clarify the deducting of grace period premiums from death
 8    benefit payments made under the Stipulation of Settlement; (b) Wilco Life will cease
 9    deducting grace period premiums from death benefit payments made under the COI
10    Settlement, pursuant to the terms of the Grace Period Settlement Agreement; (c) Wilco
11    Life will reimburse and pay to beneficiaries under the COI Class policies some or all
12    of the amounts previously deducted from payments made under the COI Settlement as
13    grace period premiums, pursuant to the terms of the Grace Period Settlement
14    Agreement; and (d) LSCC will voluntarily dismiss the Grace Period Action with
15    prejudice.
16     REQUEST THAT THE COURT RECOGNIZE AND TAKE NOTICE OF, OR
17
                     IN THE ALTERNATIVE, APPROVE
                    THE STIPULATION OF ADDENDUM
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            20.    The Parties respectfully request that the Court recognize and take notice
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      of the Stipulation of Addendum by Order of the Court or, in the alternative, to approve
20
      the Stipulation of Addendum by Order of the Court.
21
            21.    A legitimate dispute has arisen regarding the proper interpretation of the
22
      Stipulation of Settlement as to In-Force Policies in the COI Class and whether Wilco
23
      Life is entitled to bill for premiums during the grace period leading up to policy
24
      termination and before the In-Force Death Benefit Extension.
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 64 of 105 Page ID #:441




 1          22.    Wilco Life has vigorously contested the Grace Period Claims and
 2    LSCC’s construction of the Stipulation of Settlement. Among other things, Wilco Life
 3    contends that:
 4                 a.     The issues in dispute in the Grace Period Action are subject to the
 5    permanent injunction and continuing jurisdiction of the Court in the MDL Court Action
 6    pursuant to the Final Judgment, and therefore, they cannot proceed forward in the
 7    Grace Period Action.
 8                 b.     LSCC is not entitled to additional relief individually and on behalf
 9    of the COI Class because the Stipulation of Settlement’s requirement that Wilco Life
10    only “discontinue billing the Class Member for additional premium” once “the In-
11    Force Death Benefit Extension period commences,” implicitly and explicitly permits
12    and contemplates that Wilco Life would bill for the prior time period including during
13    the grace period.
14                 c.     California’s four (4) year statute of limitations bars recovery of
15    previously collected premiums for a substantial number of the COI Class because they
16    were notified that the premiums had been deducted at the time of payment of the death
17    benefit. Wilco Life contends that it expressly notified class members in writing when
18    they were paid their death benefits--since 2007--that the premiums for the grace period
19    had been deducted at the time of payment of the death benefit. Wilco Life contends
20    that, at the very least, members of the COI Class that were paid more than four (4)
21    years prior to the filing of the Grace Period Action—March 18, 2015—would be barred
22    by California’s statute of limitations because they were notified that the premiums had
23    been deducted at the time of payment of the death benefit.
24                 d.     LSCC is not entitled to seek additional amounts for attorneys’ fees
25    arising from administration and resolution of issues pertaining to the Grace Period
26    Action because such relief is precluded by the terms of the Stipulation of Settlement
27    and Final Judgment. In addressing the award and allocation of attorneys’ fees and
                                                 8
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 65 of 105 Page ID #:442




 1    expenses, the Stipulation of Settlement provided: “Class Counsel, in their sole
 2    discretion, shall allocate and distribute this award of Attorneys' Fees and Expenses
 3    among all of the counsel who have made a substantial contribution on behalf of the
 4    Class in the Action. Defendants shall not be liable for or obliged to pay any other
 5    attorneys' fees or expenses to counsel representing Plaintiffs or the Class in this Action
 6    in connection with the Action, other than the amount or amounts expressly provided
 7    for in this Agreement.” Stipulation of Settlement ¶ VI(B)(3). Additionally, the COI
 8    Class Release released “any and all claims for attorneys' fees, costs, or disbursements
 9    incurred by Class Counsel for Plaintiffs, Plaintiffs, or the Class Members, or any of
10    them, in connection with the Action, the settlement of the Action, or the administration
11    of such settlement, except to the extent otherwise specified in this Agreement.” Final
12    Judgment at p.6. Thus, Wilco Life contends that LSCC and the COI Class would have
13    to pay their own attorney’s fees and expenses which could be substantial and could
14    exhaust any recovery, completely or to a large extent.
15          23.    LSCC disputes the aforementioned contentions asserted by Wilco, and
16    contends that (a) the plain language of the Settlement Agreement (which extends
17    insurance coverage after termination of the Grace Period at no cost to the Settlement
18    Class Members) precludes the imposition of any charges and that the plain language of
19    the original insurance policy contracts also does not require LSCC or other policy
20    owners to pay any such Grace Period premiums because such charges become due only
21    when the insured dies during the Grace Period; (b) the claims asserted on behalf of the
22    Class are timely; and (c) an award of attorneys’ fees is authorized by Cal. Code Civ.
23    Proc. § 1021.5 (as applied by this Court in Yue v. Conseco Life Ins. Co., 2011 WL
24    13176748) and by the catalyst theory applicable under California law.
25          24.    This dispute has resulted in extended and costly litigation at both the trial
26    court and appellate court levels.
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 66 of 105 Page ID #:443




 1          25.    Class Counsel and LSCC acknowledge the risks, additional burden, cost,
 2    expense, and unavoidable uncertainty associated with continued litigation.
 3          26.    Class Counsel and LSCC believe that the settlement provided for in the
 4    Grace Period Settlement Agreement is preferable to continued litigation which could
 5    lead to a much smaller or no recovery for the members of the COI Class with respect
 6    to the Grace Period Claims.
 7          27.    LSCC and Class Counsel, therefore, desire to settle the Grace Period
 8    Action and all claims asserted therein and related thereto through the execution of the
 9    Grace Period Settlement Agreement.
10          28.    Paragraph 10 of the Final Judgment provides “After entry of the [Final
11    Judgment] … the Parties may by written agreement effect such amendments,
12    modifications, or expansions of this Agreement and its implementing documents
13    (including all exhibits hereto) without further notice to the [COI] Class or approval by
14    the Court if such changes are consistent with the Court's [Final Judgment] and do not
15    materially limit the rights of [COI] Class Members under this [Class COI Settlement]”.
16          29.    The Parties believe that the Grace Period Settlement Agreement satisfies
17    Paragraph 10 of the Final Judgment in that the provisions of the Grace Period
18    Settlement Agreement do not materially limit the rights of members of the COI Class.
19          30.    The resolution agreed to in the Grace Period Settlement Agreement and
20    the construction of the Stipulation of Settlement set forth in the Grace Period
21    Settlement Agreement and in the Stipulation of Addendum, are an appropriate
22    resolution of the claims raised in the Grace Period Action in light of Wilco Life’s
23    defenses and, given the nature of the adverse, competing arguments.
24          31.    The Grace Period Settlement Agreement provides additional relief to
25    members of the COI Class that they might not otherwise be entitled to obtain through
26    continued litigation. Specifically, for policies in the COI Class Settlement for which
27    the Extended Death Benefit was reduced by a grace period premium and in which the
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 67 of 105 Page ID #:444




 1    payment was made on or after February 1, 2015, Wilco Life will pay approximately
 2    $1,176,028 divided proportionally to the respective beneficiaries based upon the
 3    specific reduction from each policy. This amount is a refund of approximately 100%
 4    of the amounts reduced by Wilco Life for grace period premium applicable to the
 5    policies listed in Exhibit D of the Grace Period Settlement Agreement. For policies in
 6    the COI Class Settlement for which the Extended Death Benefit was reduced by a grace
 7    period premium and in which the payment was made before February 1, 2015, Wilco
 8    Life will pay approximately $162,500 divided proportionally to the respective
 9    beneficiaries based upon the specific reduction from each policy. This amount is a
10    refund of approximately 40% of the amounts reduced by Wilco Life for grace period
11    premium applicable to the policies listed in Exhibit E of the Grace Period Settlement
12    Agreement. If additional expense is required for administrative reasons as set forth in
13    the Grace Period Settlement Agreement, these amounts could be proportionally less.
14    The Grace Period Settlement Agreement also pays an additional $225,000 to be used
15    for attorneys’ fees, costs, and expenses of Class Counsel for bringing the Grace Period
16    Action and achieving this resolution.
17          32.    In contrast, the defenses asserted by Wilco Life result in uncertainties if
18    litigation continues and there is no settlement. Wilco Life’s statute of limitation
19    argument creates uncertainty as to whether members of the COI Class Settlement could
20    recover anything for the Grace Period Claims. Furthermore, the prosecution of this
21    matter may either (i) result in no recovery; (ii) result in no award of additional amounts
22    for attorneys’ fees and expenses; and/or (iii) result in the exhaustion of any recovery
23    by way of incurred attorneys’ fees and expenses.
24          33.     Accordingly, LSCC, Class Counsel, and Wilco Life ask the Court to
25    recognize and take notice of the Stipulation of Addendum by Order of the Court or, as
26    necessary and in the alternative, to approve the Stipulation of Addendum.
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 1          34.    In so doing, the Parties respectfully request that the Court, in its Order,
 2    recognize and take notice that:
 3                 a.    The terms and provisions of the Grace Period Settlement
 4          Agreement (i) are consistent with the Final Judgment, and (ii) do not materially
 5          limit the rights of the members of the COI Class within the meaning of paragraph
 6          10 of the Final Judgment.
 7                 b.    The Stipulation of Addendum resolves any and all claims arising
 8          from, related to, or connected with the past handling of and charges for the Grace
 9          Period as alleged in the Grace Period Action.
10                 c.    The resolution agreed to in the Grace Period Settlement Agreement,
11          and the construction of the Stipulation of Settlement set forth in the Grace Period
12          Settlement Agreement and in the Stipulation of Addendum, are an appropriate
13          resolution of the claims raised in the Grace Period Action in light of Wilco Life’s
14          defenses and, given the nature of the adverse, competing arguments.
15                 d.    Nothing in the Grace Period Settlement Agreement shall amend,
16          limit, modify or diminish in any respect the protections, operation and effect of
17          the COI Class Release in Paragraph 7 of the Final Judgment.
18                 e.    The COI Class Release set forth in the Stipulation of Settlement and
19          Final Judgment shall continue to be binding upon the members of the COI Class
20          and their beneficiaries and all other releasees subject thereto. This Settlement
21          Agreement shall not be construed to narrow the scope of the release in the
22          Stipulation of Settlement and Final Judgment.
23                 f.    The Court shall continue to exercise continuing jurisdiction over
24          the COI Class Settlement in accordance with Paragraph 11 of the Final
25          Judgment.
26                 g.    Accordingly, any disputes arising from the Grace Period Settlement
27          Agreement, the Stipulation of Addendum, the Joint Notice, and any issues
                                                 12
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 69 of 105 Page ID #:446




 1          arising from, related to, or connected with the handling of and charges for the
 2          Grace Period will continue to be subject to the Final Judgment and this Court’s
 3          injunction and continuing ancillary jurisdiction.
 4                              CONCLUSION AND PRAYER
 5          For the reasons explained above, the Parties respectfully request that the Court
 6    recognize and take notice of the Stipulation of Addendum by Order of the Court or, as
 7    necessary and in the alternative, to approve the Stipulation of Addendum.
 8

 9    Dated: July 29, 2021.

10                                  BONNETT, FAIRBOURN, FRIEDMAN
11                                  & BALINT, PC

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17
                                    Co-Lead and Class Counsel
18                                  For Class Plaintiffs in MDL No. 1610
19

20

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22                                  ________________________
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27
                                                13
28
     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 70 of 105 Page ID #:447




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                                 F: (214) 756-8583
 6

 7                               Attorneys for Defendant Conseco Life Insurance
                                 Company n/k/a Wilcac Life Insurance Company
 8

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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 71 of 105 Page ID #:448




 1
                            UNITED STATES DISTRICT COURT
 2
                          CENTRAL DISTRICT OF CALIFORNIA
 3

 4    IN RE: CONSECO LIFE INSURANCE
      COST OF INSURANCE LITIGATION                 MDL No. 04-1610 AHM (MCX)
 5

 6                                                    ORDER ACKNOWLEDGING
                                                        AND CONFIRMING THE
 7                                                   STIPULATION OF ADDENDUM
                                                        TO THE SETTLEMENT
 8                                                  AGREEMENT IN THIS ACTION –
                                                          REGARDING THE
 9                                                      IMPLEMENTATION OF
                                                     SETTLEMENT CLASS RELIEF
10

11

12

13
            Came on for consideration this day, the Joint Notice of Stipulation of Addendum
14
      to the Settlement Agreement - Regarding the Implementation of Settlement Class
15
      Relief (the “Joint Notice”), filed by Defendant Conseco Life Insurance Company, Class
16
      Member LSCC, LLC (“LSCC”), and Class Counsel Bonnett Fairbourn Friedman &
17
      Balint, PC (“Class Counsel”). Upon review of the Joint Notice and accompanying
18
      exhibits, the Court acknowledges and confirms the Stipulation of Addendum and the
19
      underlying Grace Period Settlement Agreement.
20
            It is, therefore, ORDERED that the Court acknowledges and confirms that:
21
                  a.     The terms and provisions of the Grace Period Settlement
22
            Agreement submitted with the Joint Notice (i) are consistent with the Final
23
            Judgment in this Action, and (ii) do not materially limit the rights of the members
24
            of the COI Class within the meaning of paragraph 10 of the Final Judgment.
25
                  b.     The Stipulation of Addendum resolves any and all claims arising
26
            from, related to, or connected with the past handling of and charges for the Grace
27
            Period as alleged in the Grace Period Action.
28
     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 72 of 105 Page ID #:449




 1                c.     The resolution agreed to in the Grace Period Settlement Agreement,
 2          and the construction of the Stipulation of Settlement set forth in the Grace Period
 3          Settlement Agreement and in the Stipulation of Addendum, are an appropriate
 4          resolution of the claims raised in the Grace Period Action in light of Wilco Life’s
 5          defenses and, given the nature of the adverse, competing arguments.
 6                d.     Nothing in the Grace Period Settlement Agreement shall amend,
 7          limit, modify or diminish in any respect the protections, operation and effect of
 8          the COI Class Release in Paragraph 7 of the Final Judgment.
 9                e.     The COI Class Release set forth in the Stipulation of Settlement and
10          Final Judgment shall continue to be binding upon the members of the COI Class
11          and their beneficiaries and all other releasees subject thereto. The Grace Period
12          Settlement Agreement shall not be construed to narrow the scope of the release
13          in the Stipulation of Settlement and Final Judgment.
14                f.     The Court shall continue to exercise continuing jurisdiction over
15          the COI Class Settlement in accordance with Paragraph 11 of the Final
16          Judgment.
17                g.     Any disputes arising from the Grace Period Settlement Agreement,
18          the Stipulation of Addendum, the Joint Notice, and any issues arising from,
19          related to, or connected with the handling of and charges for the Grace Period
20          will continue to be subject to the Final Judgment and this Court’s injunction and
21          continuing ancillary jurisdiction.
22                SIGNED this the ____ day of _____________, 2021.
23

24
                                     _________________________________
25                                   The Honorable Philip S. Gutierrez
26                                   United States Chief District Court Judge

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                                                 1
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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 73 of 105 Page ID #:450

                  EXHIBIT C TO GRACE PERIOD SETTLEMENT AGREEMENT


 1    BONNETT, FAIRBOURN,
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      Attorneys for Defendant,
17    Wilco Life Insurance Company
18                          UNITED STATES DISTRICT COURT
19                         CENTRAL DISTRICT OF CALIFORNIA
20    LSCC LLC, an Arkansas limited liability
      corporation, individually and on behalf of   Case No. 2:19-cv-01854-PSG (MRWx)
21    itself and all others similarly situated,
22                                                     JOINT STIPULATION OF
                   Plaintiff,                               DISMISSAL
23                                                        WITH PREJUDICE
24          vs.
                                                   Complaint Filed: March 13, 2019
25    WILCO LIFE INSURANCE COMPANY
      f/k/a CONSECO LIFE INSURANCE                 Judge:    Hon. Philip S. Gutierrez
26
      COMPANY,
27
                   Defendant.
28
     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 74 of 105 Page ID #:451




 1          Plaintiff LSCC, LLC (“LSCC”) and Defendant Wilco Life Insurance Company
 2    now known as Wilcac Life Insurance Company (“Wilco Life”) file this Joint
 3    Stipulation of Dismissal with Prejudice and request that the Court dismiss all claims in
 4    this matter.
 5          Pursuant a settlement agreement between the Parties (the “Grace Period
 6    Settlement Agreement”) and Rule 41(a)(2) of the Federal Rules of Civil Procedure,
 7    the Parties stipulate that all claims against Wilco Life are hereby dismissed with
 8    prejudice. The Parties further stipulate that this action shall be dismissed and that all
 9    parties shall bear their own respective attorneys’ fees and costs of suit.
10

11    Dated: July 29, 2021.
                                      BONNETT, FAIRBOURN, FRIEDMAN
12                                    & BALINT, PC
13

14                                    ________________________
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19
                                      Tel: (602) 274-1100
20                                    Fax: (602) 274-1199
21
                                      Attorneys for Plaintiff LSCC, LLC
22

23

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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 75 of 105 Page ID #:452




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                                 _______________________
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14

15                                Attorneys for Defendant Wilco Life Insurance
                                  Company
16

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     Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 76 of 105 Page ID #:453




 1                              UNITED STATES DISTRICT COURT

 2                         CENTRAL DISTRICT OF CALIFORNIA

 3
      LSCC LLC, an Arkansas limited liability
 4    corporation, individually and on behalf of    Case No. 2:19-cv-01854-PSG (MRWx)
 5    itself and all others similarly situated,
                                                          ORDER OF DISMISSAL
 6                 Plaintiff,                              WITH PREJUDICE
 7
            vs.                                      Complaint Filed: March 13, 2019
 8
      WILCO LIFE INSURANCE COMPANY                   Judge:     Hon. Philip S. Gutierrez
 9
      f/k/a CONSECO LIFE INSURANCE
10    COMPANY,
11
                   Defendant.
12

13
            Came on for consideration this day, the Joint Stipulation of Dismissal with
14
      Prejudice of all Parties. The parties no longer desiring to pursue this action, the Court
15
      finds that the Joint Stipulation of Dismissal be GRANTED.
16
            It is, therefore, ORDERED that all claims in this matter against Defendant Wilco
17
      Life Insurance Company are hereby dismissed with prejudice and that each party shall
18
      bear its own respective costs of suit and attorneys’ fees. This is a final judgment
19
      disposing of all claims and all parties. All relief not expressly granted herein is hereby
20
      denied.
21
            SIGNED this the ____ day of _____________, 2021.
22

23
                                     _________________________________________
24
                                     The Honorable Philip S. Gutierrez
25                                   United States Chief District Court Judge
26

27

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  Case 2:19-cv-01854-PSG-MRW Document 61 Filed 07/30/21 Page 77 of 105 Page ID #:454
                                                         EXHIBIT D
                                                  SETTLEMENT AGREEMENT




PRIOR DEATH BENEFIT PAYMENT
                                                                  SETTLEMENT RELIEF PER POLICY
       DATE SCHEDULE




                                                                                                          Grace Period Settlement Relief -
                                               Number of                                   Amount          Anticipated Relief per claimant
                                                                 Total Amount
  POLICY #      DATE PAID     Policy Number   Beneficiaries                          attributable to each assuming no additional notice
                                                                   Withheld
                                               for Policy                                 Beneficiary     costs are subtracted as required
                                                                                                                    by the Court.


0080001380      6/29/2020      0080001380          1                      $345.18              $345.18                            $345.18
0080015860      1/27/2020      0080015860          1                      $276.07              $276.07                            $276.07
0080022000      3/16/2021      0080022000          1                      $286.81              $286.81                            $286.81
0080025990      11/27/2018     0080025990          1                     $2,430.74            $2,430.74                          $2,430.74
0080033910       5/5/2017      0080033910          1                      $196.45              $196.45                            $196.45
0080034070       4/6/2018      0080034070          1                     $1,976.95            $1,976.95                          $1,976.95
0080039450      7/30/2019      0080039450          1                     $1,067.53            $1,067.53                          $1,067.53
0080046140      9/15/2020      0080052840          1                     $2,847.68            $2,847.68                          $2,847.68
0080052840      1/10/2018      0080060190          1                     $4,938.58            $4,938.58                          $4,938.58
0080060190      9/10/2018      0080067920          2                      $903.12              $451.56                            $903.12
0080067920      8/28/2020      0080068020          1                     $2,291.32            $2,291.32                          $2,291.32
0080067920      1/26/2021      0080085660          1                      $210.55              $210.55                            $210.55
0080068020       3/6/2017      0080085840          1                     $5,896.92            $5,896.92                          $5,896.92
0080085660      11/4/2019      0080090760          4                      $413.36              $103.34                            $413.36
0080085840      4/11/2018      0080091030          1                      $617.41              $617.41                            $617.41
0080090760      9/28/2017      0080100510          2                      $345.60              $172.80                            $345.60
0080090760      9/28/2017      0080106170          1                      $423.66              $423.66                            $423.66
0080090760      9/28/2017      0080108140          1                     $1,202.79            $1,202.79                          $1,202.79
0080090760      9/28/2017      0080109550          1                     $1,549.93            $1,549.93                          $1,549.93
0080091030      9/22/2020      0080111010          1                     $1,694.93            $1,694.93                          $1,694.93
0080100510      1/12/2021      0080116500          1                    $13,626.75           $13,626.75                         $13,626.75
0080100510      1/12/2021      0080116520          1                     $3,597.18            $3,597.18                          $3,597.18
0080106170       5/3/2017      0080122640          3                      $446.43              $148.81                            $446.43
0080108140      8/30/2017      0080124000          1                      $368.58              $368.58                            $368.58
0080109550      12/11/2019     0080135420          1                      $107.00              $107.00                            $107.00
0080111010      9/29/2017      0080152490          2                      $677.14              $338.57                            $677.14
0080116500       5/7/2019      0080152590          1                      $380.60              $380.60                            $380.60
0080116520       5/7/2019      0080159610          1                     $1,540.73            $1,540.73                          $1,540.73
0080122640      3/12/2018      0080164550          1                      $865.86              $865.86                            $865.86
0080122640       4/3/2018      0080164600          1                     $5,158.19            $5,158.19                          $5,158.19
0080122640       4/3/2018      0080166760          1                     $5,167.61            $5,167.61                          $5,167.61
0080135420      11/2/2017      0080172310          1                     $1,035.09            $1,035.09                          $1,035.09
0080152490      8/20/2019      0080181000          1                        $93.52               $93.52                             $93.52
0080152490      10/2/2019      0080188650          3                     $2,310.62             $770.21                           $2,310.62
0080152590       8/6/2020      0080190370          1                      $259.93              $259.93                            $259.93
0080159610      12/12/2016     0080200790          2                     $1,173.52             $586.76                           $1,173.52
0080164550       5/1/2020      0080205170          1                     $2,129.79            $2,129.79                          $2,129.79
0080164600      2/19/2019      0080207890          1                      $154.48              $154.48                            $154.48
0080166760      3/13/2018      0080211830          3                      $315.77              $105.26                            $315.77
0080172310      9/22/2020      0080213380          3                      $912.73              $304.24                            $912.73
0080181000       5/2/2019      0080214480          1                         $5.89                $5.89                              $5.89
0080188650      1/31/2020      0080216570          1                      $836.54              $836.54                            $836.54
0080188650      1/31/2020      0080220920          1                     $1,357.71            $1,357.71                          $1,357.71
0080188650      1/31/2020      0080221270          2                    $13,952.98            $6,976.49                         $13,952.98
0080190370      3/23/2020      0080224680          1                     $1,242.21            $1,242.21                          $1,242.21
0080200790      10/19/2017     0080227170          1                      $836.22              $836.22                            $836.22




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0080200790   10/18/2017   0080235360    4                    $311.54        $77.89     $311.54
0080205170   7/13/2020    0080239560    2                    $355.69      $177.85      $355.69
0080207890   2/14/2018    0080241000    1                    $879.40      $879.40      $879.40
0080211830   7/28/2020    0080247060    2                   $2,841.71    $1,420.86    $2,841.71
0080211830   7/28/2020    0080248360    1                    $437.02      $437.02      $437.02
0080211830   7/28/2020    0080256640    1                    $110.07      $110.07      $110.07
0080213380   11/3/2020    0080267750    1                   $7,400.44    $7,400.44    $7,400.44
0080213380   11/3/2020    0080270270    1                   $4,913.80    $4,913.80    $4,913.80
0080213380   10/28/2020   0080277600    1                   $4,975.87    $4,975.87    $4,975.87
0080214480    4/8/2019    0080277880    2                    $233.95      $116.98      $233.95
0080220920    6/9/2017    0080281880    1                    $627.89      $627.89      $627.89
0080221270   6/15/2020    0080283890    2                   $1,446.03     $723.02     $1,446.03
0080221270   6/15/2020    0080288350    2                    $371.90      $185.95      $371.90
0080224680   12/6/2018    0080290840    1                    $717.95      $717.95      $717.95
0080227170   10/16/2020   0080298570    1                    $911.55      $911.55      $911.55
0080235360   11/28/2018   0080303480    1                   $1,196.73    $1,196.73    $1,196.73
0080235360   11/28/2018   0080307320    1                   $1,199.54    $1,199.54    $1,199.54
0080235360   11/28/2018   0080309860    1                   $8,059.53    $8,059.53    $8,059.53
0080235360   11/28/2018   0080310170    1                    $428.71      $428.71      $428.71
0080239560   11/23/2020   0080315200    1                    $557.49      $557.49      $557.49
0080239560   10/8/2020    0080325290    1                      $36.06       $36.06       $36.06
0080241000   5/28/2020    0080326770    1                    $369.86      $369.86      $369.86
0080247060    6/8/2020    0080326780    1                      $28.11       $28.11       $28.11
0080247060    6/8/2020    0080331380    1                   $1,513.92    $1,513.92    $1,513.92
0080248360   12/10/2020   0080331390    1                   $8,706.91    $8,706.91    $8,706.91
0080256640   11/12/2019   0080331900    1                  $27,024.21   $27,024.21   $27,024.21
0080267750   11/30/2017   0080335010    1                    $218.53      $218.53      $218.53
0080270270   7/16/2019    0080338440    3                   $7,532.75    $2,510.92    $7,532.75
0080277600   10/3/2019    0080339180    1                    $298.17      $298.17      $298.17
0080277880   11/7/2019    0080341460    3                    $705.04      $235.01      $705.04
0080277880    9/9/2019    0080343820    1                    $589.64      $589.64      $589.64
0080281880    1/4/2018    0080345690    1                   $2,758.57    $2,758.57    $2,758.57
0080283890   11/13/2017   0080357150    1                    $399.76      $399.76      $399.76
0080283890   12/18/2017   0080363830    2                   $3,766.81    $1,883.41    $3,766.81
0080288350   9/26/2018    0080366940    1                    $737.46      $737.46      $737.46
0080288350   9/26/2018    0080378280    1                      $50.76       $50.76       $50.76
0080290840   4/19/2018    0080387520    1                   $7,386.41    $7,386.41    $7,386.41
0080298570   10/14/2019   0080399050    3                   $5,632.06    $1,877.35    $5,632.06
0080307320   12/1/2017    0080400100    5                   $1,295.70     $259.14     $1,295.70
0080309860   7/11/2019    0080407540    1                    $649.90      $649.90      $649.90
0080310170   1/12/2017    0080409530    1                   $1,063.78    $1,063.78    $1,063.78
0080325290   11/7/2016    0080415850    1                   $1,668.45    $1,668.45    $1,668.45
0080326770    3/6/2020    0080417270    2                    $621.24      $310.62      $621.24
0080326780    6/9/2020    0080420300    1                    $542.40      $542.40      $542.40
0080331380   9/22/2017    0080430580    1                   $1,072.50    $1,072.50    $1,072.50
0080331390    3/1/2017    0080436220    1                  $14,903.53   $14,903.53   $14,903.53
0080331900    8/8/2018    0080456130    1                    $172.19      $172.19      $172.19
0080335010   9/22/2017    0080460480    1                    $743.26      $743.26      $743.26
0080338440    5/3/2019    0080462190    1                   $2,374.08    $2,374.08    $2,374.08
0080338440    5/3/2019    0080464340    1                    $580.62      $580.62      $580.62
0080338440    5/3/2019    0080464490    1                    $126.11      $126.11      $126.11
0080339180   12/16/2020   0080476860    4                    $823.69      $205.92      $823.69
0080341460   6/29/2020    0084001010    1                      $42.32       $42.32       $42.32
0080341460   6/29/2020    0084003510    1                   $1,913.32    $1,913.32    $1,913.32
0080341460    7/6/2020    0084006280    3                   $5,681.36    $1,893.79    $5,681.36
0080343820   2/18/2021    0084006980    4                    $451.37      $112.84      $451.37
0080345690   8/30/2017    0084008200    1                    $187.28      $187.28      $187.28
0080363830   2/26/2019    0084010140    2                    $175.24        $87.62     $175.24
0080363830   6/21/2019    0084011040    1                    $263.13      $263.13      $263.13
0080366940   5/22/2017    0084014670    1                    $834.51      $834.51      $834.51
0080378280   4/29/2020    0084015890    1                   $4,210.09    $4,210.09    $4,210.09
0080387520   2/23/2021    0084016130    2                   $6,406.80    $3,203.40    $6,406.80



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0080399050   12/17/2018   0084016720    2                   $2,190.04    $1,095.02    $2,190.04
0080399050   12/28/2018   0084017070    4                    $279.70        $69.93     $279.70
0080399050   12/28/2018   0084017790    1                   $1,648.99    $1,648.99    $1,648.99
0080400100   12/15/2020   0084018120    1                    $574.65      $574.65      $574.65
0080400100   12/29/2020   0084019270    1                    $218.49      $218.49      $218.49
0080400100   12/15/2020   0084019650    4                    $145.18        $36.30     $145.18
0080400100   12/15/2020   0084042740    2                   $4,048.00    $2,024.00    $4,048.00
0080400100   12/15/2020   0084101990    7                   $2,854.40     $407.77     $2,854.40
0080407540    8/4/2020    0084104710    1                   $6,414.18    $6,414.18    $6,414.18
0080409530                0084106820    1                  $13,877.75   $13,877.75   $13,877.75
0080415850   6/17/2020    0084109710    1                   $3,211.75    $3,211.75    $3,211.75
0080417270    4/4/2017    0084110780    2                   $3,118.29    $1,559.15    $3,118.29
0080417270    4/4/2017    0084500190    1                   $1,271.29    $1,271.29    $1,271.29
0080430580    8/1/2017    1090000786    1                   $4,999.04    $4,999.04    $4,999.04
0080436220   10/15/2018   1090001205    3                   $1,103.12     $367.71     $1,103.12
0080456130   4/15/2020    1090002191    1                    $210.95      $210.95      $210.95
0080460480   12/20/2018   1090002810    1                   $2,182.02    $2,182.02    $2,182.02
0080462190   9/15/2017    1090002942    4                    $229.15        $57.29     $229.15
0080464340   11/5/2018    1090003015    2                    $251.63      $125.82      $251.63
0080464490   9/17/2020    1090003394    2                    $227.29      $113.65      $227.29
0080476860    6/7/2018    1090004201    2                    $408.22      $204.11      $408.22
0080476860    6/7/2018    1090007786    1                    $124.94      $124.94      $124.94
0080476860    6/7/2018    1090008134    1                    $804.43      $804.43      $804.43
0080476860    6/7/2018    1090008158    1                   $4,930.46    $4,930.46    $4,930.46
0084001010   1/25/2021    1090009445    1                    $721.81      $721.81      $721.81
0084003510    8/2/2017    1090010257    1                    $123.82      $123.82      $123.82
0084006280   8/10/2017    1090010599    1                    $260.35      $260.35      $260.35
0084006280   6/19/2017    1090010875    1                   $1,068.93    $1,068.93    $1,068.93
0084006280   6/19/2017    1090010927    1                   $2,975.48    $2,975.48    $2,975.48
0084008200    3/4/2019    1090011369    3                    $209.02        $69.67     $209.02
0084010140   6/29/2020    1090012288    1                   $2,296.96    $2,296.96    $2,296.96
0084010140   6/29/2020    1090012928    1                    $625.39      $625.39      $625.39
0084011040   10/11/2018   1090013574    3                    $408.67      $136.22      $408.67
0084011170    7/6/2017    1090022777    1                   $2,667.58    $2,667.58    $2,667.58
0084011250    9/6/2017    1090025527    1                    $148.54      $148.54      $148.54
0084014670   8/10/2017    1090026309    1                   $3,996.41    $3,996.41    $3,996.41
0084015890    8/8/2018    1090026605    1                    $906.71      $906.71      $906.71
0084016130   7/27/2018    1090033846    3                   $1,271.63     $423.88     $1,271.63
0084016130   7/27/2018    1090040253    1                   $1,140.36    $1,140.36    $1,140.36
0084016720   9/10/2020    1090043633    1                    $553.14      $553.14      $553.14
0084016720   9/10/2020    1090062780    2                   $2,834.94    $1,417.47    $2,834.94
0084017070   7/14/2020    1090062812    1                    $963.74      $963.74      $963.74
0084017070   7/31/2020    1090064863    1                   $1,245.30    $1,245.30    $1,245.30
0084017070   7/14/2020    1090066720    2                      $62.37       $31.19       $62.37
0084017070   8/12/2020    1090069402    2                      $81.53       $40.77       $81.53
0084018120   1/27/2020    1090069431    1                   $2,672.14    $2,672.14    $2,672.14
0084019270   2/12/2020    1090069771    1                    $370.71      $370.71      $370.71
0084019650   12/20/2019   1090069963    1                    $334.05      $334.05      $334.05
0084019650   12/23/2019   1090071749    1                    $281.11      $281.11      $281.11
0084019650   11/6/2019    1090073148    2                    $287.49      $143.75      $287.49
0084019650   12/20/2019   1090074624    1                    $321.68      $321.68      $321.68
0084023860    6/7/2018    1090075042    2                   $7,599.67    $3,799.84    $7,599.67
0084042740   10/21/2020   1090085667    1                      $15.25       $15.25       $15.25
0084042740   10/28/2020   1090089993    1                    $194.95      $194.95      $194.95
0084101990    4/8/2019    1090094394    1                    $449.27      $449.27      $449.27
0084101990    4/8/2019    1090094897    2                    $234.39      $117.20      $234.39
0084101990    4/8/2019    1090096557    1                   $1,413.14    $1,413.14    $1,413.14
0084101990    4/8/2019    1090096953    1                   $1,468.86    $1,468.86    $1,468.86
0084101990    4/8/2019    1090098498    1                    $177.06      $177.06      $177.06
0084101990    4/8/2019    1090098507    1                    $558.33      $558.33      $558.33
0084101990    4/8/2019    1090099076    1                    $105.63      $105.63      $105.63
0084106820   8/28/2020    1090106143    1                   $2,021.92    $2,021.92    $2,021.92



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0084109710   9/14/2020    1090108269    2                    $240.24      $120.12      $240.24
0084110780   9/17/2018    1090109993    1                    $427.21      $427.21      $427.21
0084110780   9/17/2018    1090112513    2                    $397.88      $198.94      $397.88
0084500190   12/26/2018   1090112984    1                    $738.61      $738.61      $738.61
1090000786   8/30/2016    1090114313    1                    $735.69      $735.69      $735.69
1090001205   11/7/2017    1090118340    1                    $170.49      $170.49      $170.49
1090001205   11/7/2017    1090118733    3                    $828.10      $276.03      $828.10
1090001205   11/7/2017    1090122640    1                    $480.19      $480.19      $480.19
1090002191   1/28/2021    1090130387    1                   $2,486.14    $2,486.14    $2,486.14
1090002810   12/19/2018   1090131727    1                    $357.77      $357.77      $357.77
1090002942    5/2/2018    1090137347    1                      $85.00       $85.00       $85.00
1090002942    5/2/2018    1090139096    1                    $684.29      $684.29      $684.29
1090002942    5/2/2018    1090144518    1                    $327.58      $327.58      $327.58
1090002942    5/2/2018    1090150456    2                      $76.13       $38.07       $76.13
1090003015   6/22/2020    1090151725    1                    $410.77      $410.77      $410.77
1090003015   6/22/2020    1090151728    1                    $804.06      $804.06      $804.06
1090003394   5/17/2018    1090152578    1                    $607.93      $607.93      $607.93
1090003394   6/21/2018    1090155696    1                    $112.06      $112.06      $112.06
1090004201   10/2/2020    1090156719    2                    $313.11      $156.56      $313.11
1090004201   10/9/2020    1090161134    1                    $185.08      $185.08      $185.08
1090007786   1/27/2021    1090163839    2                    $141.38        $70.69     $141.38
1090008134   6/14/2018    1090164718    1                   $1,016.99    $1,016.99    $1,016.99
1090008158    7/9/2020    1090165620    1                      $49.76       $49.76       $49.76
1090009445   1/27/2020    1090166515    1                    $498.24      $498.24      $498.24
1090010257    6/3/2019    1090167376    2                    $270.29      $135.15      $270.29
1090010599   8/21/2018    1090168069    2                    $458.95      $229.48      $458.95
1090010927   9/20/2017    1090171040    5                    $460.88        $92.18     $460.88
1090011369   10/13/2020   1090185535    1                      $31.32       $31.32       $31.32
1090011369   10/13/2020   1090185536    1                    $145.03      $145.03      $145.03
1090011369   10/13/2020   1090187874    3                    $685.80      $228.60      $685.80
1090012288   12/30/2020   1090190086    1                      $61.24       $61.24       $61.24
1090012928    2/8/2018    1090194419    1                    $126.07      $126.07      $126.07
1090022777   12/10/2020   1090195226    3                    $881.54      $293.85      $881.54
1090025527   4/23/2019    1090195273    1                      $29.75       $29.75       $29.75
1090026309   9/25/2019    1090196166    1                      $12.41       $12.41       $12.41
1090026605    4/6/2020    1090202894    1                    $750.58      $750.58      $750.58
1090033846   7/11/2017    1090204206    1                      $76.83       $76.83       $76.83
1090033846   7/11/2017    1090205130    1                   $2,696.07    $2,696.07    $2,696.07
1090033846   7/11/2017    1090205740    7                    $124.19        $17.74     $124.19
1090040253    9/2/2020    1090214552    1                   $1,765.37    $1,765.37    $1,765.37
1090046655   8/29/2017    1090214972    2                      $97.15       $48.58       $97.15
1090046655   8/29/2017    1090219785    1                    $787.63      $787.63      $787.63
1090046655   8/11/2017    1090220957    2                    $342.71      $171.36      $342.71
1090062780   7/20/2017    1090222095    4                    $174.61        $43.65     $174.61
1090062780   9/26/2017    1090222904    1                    $989.23      $989.23      $989.23
1090062812   11/2/2020    1090224340    1                    $677.49      $677.49      $677.49
1090064863   8/29/2018    1090234113    1                    $590.28      $590.28      $590.28
1090066720   6/16/2020    1090237235    1                    $505.25      $505.25      $505.25
1090066720   6/16/2020    1090237365    1                      $67.15       $67.15       $67.15
1090069402    4/9/2018    1090245806    1                    $903.15      $903.15      $903.15
1090069402    3/9/2018    1090247546    1                    $659.58      $659.58      $659.58
1090069771   8/21/2018    1090248480    1                      $92.29       $92.29       $92.29
1090069963    2/4/2019    1090249996    1                    $447.40      $447.40      $447.40
1090071749   1/24/2018    1090252400    1                    $587.53      $587.53      $587.53
1090073148   2/26/2021    1090258449    1                    $191.39      $191.39      $191.39
1090073148   2/26/2021    1090259698    4                    $257.93        $64.48     $257.93
1090074624    2/7/2019    1090259751    1                  $14,483.51   $14,483.51   $14,483.51
1090075042    5/1/2019    1090261301    1                    $503.88      $503.88      $503.88
1090075042    5/1/2019    1090262323    1                    $599.30      $599.30      $599.30
1090085667   1/24/2020    1090262526    1                   $1,590.13    $1,590.13    $1,590.13
1090089993   2/14/2020    1090268273    2                      $64.84       $32.42       $64.84
1090094394   12/28/2018   1090269752    1                    $212.83      $212.83      $212.83



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1090094897    7/5/2018    1090270099    1                    $327.86      $327.86      $327.86
1090094897   7/23/2018    1090275619    1                    $893.05      $893.05      $893.05
1090096557    8/2/2016    1090276393    1                    $242.66      $242.66      $242.66
1090096953   11/15/2019   1090278880    1                   $4,332.11    $4,332.11    $4,332.11
1090098498   9/24/2020    1090281012    1                    $425.62      $425.62      $425.62
1090098507   1/11/2018    1090285456    5                   $2,032.59     $406.52     $2,032.59
1090099076   1/23/2018    1090287079    1                    $270.68      $270.68      $270.68
1090106143    4/3/2017    1090288807    3                      $31.46       $10.49       $31.46
1090108269   11/27/2018   1090294886    1                    $339.01      $339.01      $339.01
1090108269   11/27/2018   1090295446    1                   $2,257.08    $2,257.08    $2,257.08
1090109993   4/15/2019    1090295447    1                    $702.82      $702.82      $702.82
1090112513   6/29/2018    1090298051    1                    $678.11      $678.11      $678.11
1090112513   6/29/2018    1090302386    1                    $174.73      $174.73      $174.73
1090112984   3/30/2018    1090304862    3                   $2,373.48     $791.16     $2,373.48
1090114313   2/16/2017    1090305894    3                      $45.46       $15.15       $45.46
1090118340   10/24/2018   1090310114    1                    $749.26      $749.26      $749.26
1090118475   8/17/2017    1090311089    1                    $248.47      $248.47      $248.47
1090118733   12/1/2017    1090311492    1                    $233.15      $233.15      $233.15
1090118733   11/1/2017    1090315812    1                    $445.68      $445.68      $445.68
1090118733   10/3/2017    1090328034    4                      $76.18       $19.05       $76.18
1090122640   5/11/2018    1090336965    1                    $110.72      $110.72      $110.72
1090131727   10/19/2018   1090344813    1                      $17.66       $17.66       $17.66
1090137347    9/1/2020    1090345130    1                    $828.29      $828.29      $828.29
1090139096   9/23/2019    1090345227    1                   $1,148.76    $1,148.76    $1,148.76
1090144518   11/10/2016   1090347125    2                   $1,528.28     $764.14     $1,528.28
1090150456   9/23/2020    1090347203    1                    $264.97      $264.97      $264.97
1090150456   9/23/2020    1090349949    1                      $14.44       $14.44       $14.44
1090151725   4/22/2016    1090351287    1                      $99.47       $99.47       $99.47
1090155696   1/14/2020    1090352492    2                    $238.52      $119.26      $238.52
1090156719   8/24/2018    1090354971    1                    $379.11      $379.11      $379.11
1090156719   8/24/2018    1090354978    2                    $583.01      $291.51      $583.01
1090161134   7/28/2020    1090355558    1                    $393.47      $393.47      $393.47
1090164718   2/28/2018    1090361612    1                      $19.68       $19.68       $19.68
1090165620   12/4/2020    1090363864    1                      $84.79       $84.79       $84.79
1090166515   10/9/2019    1090366038    1                   $1,540.09    $1,540.09    $1,540.09
1090167376   5/30/2019    1090370371    1                      $69.05       $69.05       $69.05
1090167376   6/25/2019    1090372442    4                    $231.35        $57.84     $231.35
1090171040   5/15/2017    1090375613    1                   $1,601.16    $1,601.16    $1,601.16
1090171040   9/11/2017    1090378641    1                      $73.91       $73.91       $73.91
1090171040   5/15/2017    1090382852    1                    $186.95      $186.95      $186.95
1090171040   12/4/2018    1090387851    1                    $626.53      $626.53      $626.53
1090171040   5/12/2017    1090396989    1                      $82.58       $82.58       $82.58
1090185535   11/27/2018   1090459482    2                    $244.35      $122.18      $244.35
1090185536   1/15/2019    1090487715    3                    $180.52        $60.17     $180.52
1090187874    4/5/2019    1090495370    1                    $209.57      $209.57      $209.57
1090187874    4/5/2019    1090518600    1                    $340.93      $340.93      $340.93
1090187874    4/5/2019    1090563108    1                    $328.20      $328.20      $328.20
1090190086    8/2/2017    1090569776    1                    $281.33      $281.33      $281.33
1090194419    9/9/2019    1099000217    4                    $339.10        $84.78     $339.10
1090195226   6/11/2018    1099000244    1                    $725.66      $725.66      $725.66
1090195226   6/11/2018    1099000694    1                   $4,712.63    $4,712.63    $4,712.63
1090195226   6/11/2018    1099000934    1                  $26,117.55   $26,117.55   $26,117.55
1090196166    4/6/2020    10UL014296    1                   $3,783.53    $3,783.53    $3,783.53
1090202894    5/1/2020    10UL015438    2                   $1,205.10     $602.55     $1,205.10
1090204206   10/4/2017    10UL016713    2                  $10,745.82    $5,372.91   $10,745.82
1090205130    6/8/2020    10UL018401    4                   $4,356.08    $1,089.02    $4,356.08
1090205740    1/3/2019    10UL018402    4                    $317.96        $79.49     $317.96
1090205740    1/3/2019    10UL018881    1                    $275.50      $275.50      $275.50
1090205740    1/3/2019    10UL019264    2                   $2,845.75    $1,422.88    $2,845.75
1090205740    1/3/2019    10UL020465    1                  $92,123.45   $92,123.45   $92,123.45
1090205740    1/3/2019    10UL020699    1                   $1,088.10    $1,088.10    $1,088.10
1090205740    1/3/2019    10UL020895    1                   $1,521.87    $1,521.87    $1,521.87



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1090205740    1/3/2019    10UL021361    4                    $131.33        $32.83     $131.33
1090214552   12/13/2019   10UL021380    1                   $2,232.42    $2,232.42    $2,232.42
1090214972   5/12/2020    10UL022571    1                   $3,049.24    $3,049.24    $3,049.24
1090214972   6/16/2020    10UL022669    1                    $250.10      $250.10      $250.10
1090219785   3/21/2019    10UL023137    1                   $1,030.65    $1,030.65    $1,030.65
1090220957   5/21/2020    10UL023230    1                   $2,994.20    $2,994.20    $2,994.20
1090220957   5/21/2020    10UL024954    2                    $719.82      $359.91      $719.82
1090222095   4/12/2018    10UL025466    2                   $1,343.88     $671.94     $1,343.88
1090222095   4/12/2018    10UL025467    1                   $1,343.88    $1,343.88    $1,343.88
1090222095   5/18/2018    10UL026603    1                    $846.22      $846.22      $846.22
1090222095   5/14/2018    10UL026722    1                   $7,884.85    $7,884.85    $7,884.85
1090222904   8/27/2020    10UL026847    1                   $1,017.64    $1,017.64    $1,017.64
1090224340    5/9/2018    10UL027753    1                   $2,167.33    $2,167.33    $2,167.33
1090234113   9/25/2017    10UL030363    1                   $1,216.24    $1,216.24    $1,216.24
1090237235   6/27/2018    10UL030389    2                    $800.62      $400.31      $800.62
1090237365   12/22/2020   10UL030892    1                    $389.73      $389.73      $389.73
1090245806   8/26/2019    10UL032638    3                    $209.54        $69.85     $209.54
1090247546   9/21/2017    10UL034160    1                  $11,611.51   $11,611.51   $11,611.51
1090248480    8/6/2020    10UL034260    1                   $2,356.85    $2,356.85    $2,356.85
1090252400    3/5/2021    10UL034749    1                   $1,615.81    $1,615.81    $1,615.81
1090258449   10/17/2017   10UL035647    1                   $6,329.59    $6,329.59    $6,329.59
1090259698   7/14/2020    10UL036047    1                   $4,058.27    $4,058.27    $4,058.27
1090259698   7/14/2020    10UL036048    1                   $1,629.53    $1,629.53    $1,629.53
1090259698   7/14/2020    10UL036277    1                    $281.82      $281.82      $281.82
1090259698   7/14/2020    10UL037377    1                    $633.46      $633.46      $633.46
1090259751    4/1/2020    10UL038294    1                   $1,220.97    $1,220.97    $1,220.97
1090261301   6/17/2019    10UL038299    1                   $1,720.21    $1,720.21    $1,720.21
1090262323   5/24/2017    10UL039038    1                    $586.60      $586.60      $586.60
1090262526   1/20/2017    10UL039376    2                    $623.02      $311.51      $623.02
1090270099   10/14/2020   10UL039744    2                   $2,198.35    $1,099.18    $2,198.35
1090275619   3/31/2020    10UL040971    1                    $174.42      $174.42      $174.42
1090276393    7/9/2020    10UL043342    3                    $206.89        $68.96     $206.89
1090278880   1/11/2019    10UL043689    5                   $1,392.25     $278.45     $1,392.25
1090285456   7/18/2019    10UL043724    1                   $4,778.14    $4,778.14    $4,778.14
1090285456   7/18/2019    10UL044652    1                    $532.48      $532.48      $532.48
1090285456    8/2/2019    10UL045153    1                   $1,593.02    $1,593.02    $1,593.02
1090285456   7/18/2019    10UL046753    1                    $230.19      $230.19      $230.19
1090285456   7/18/2019    10UL048060    1                    $145.12      $145.12      $145.12
1090287079   12/27/2018   10UL048065    1                    $449.84      $449.84      $449.84
1090288807   9/24/2020    10UL048659    1                   $5,186.53    $5,186.53    $5,186.53
1090288807   9/24/2020    10UL049594    1                    $346.37      $346.37      $346.37
1090288807   8/18/2020    10UL049617    1                    $215.53      $215.53      $215.53
1090294886   3/28/2018    10UL050050    1                   $3,981.68    $3,981.68    $3,981.68
1090295446   3/18/2019    10UL050750    1                    $267.70      $267.70      $267.70
1090295447   3/18/2019    10UL052335    1                    $833.44      $833.44      $833.44
1090298051   9/24/2019    10UL052862    3                    $347.08      $115.69      $347.08
1090302386   8/24/2017    10UL053175    5                   $9,916.44    $1,983.29    $9,916.44
1090304862   3/28/2017    10UL054288    1                   $6,291.98    $6,291.98    $6,291.98
1090304862   3/28/2017    10UL054414    1                    $424.37      $424.37      $424.37
1090304862   3/28/2017    10UL054770    1                   $5,828.95    $5,828.95    $5,828.95
1090305894    3/5/2021    10UL055111    1                   $8,542.82    $8,542.82    $8,542.82
1090305894    3/5/2021    10UL055306    1                    $328.23      $328.23      $328.23
1090305894    3/5/2021    10UL055867    1                   $6,950.53    $6,950.53    $6,950.53
1090310114    5/3/2018    10UL056013    1                   $2,083.20    $2,083.20    $2,083.20
1090311089   11/18/2019   10UL056120    4                       $2.82        $0.71        $2.82
1090311492    5/4/2020    10UL056911    1                   $1,051.93    $1,051.93    $1,051.93
1090315812   3/19/2020    10UL057004    1                   $5,333.21    $5,333.21    $5,333.21
1090328034   5/23/2019    10UL057367    2                    $169.12        $84.56     $169.12
1090328034   5/23/2019    10UL057509    2                    $933.41      $466.71      $933.41
1090328034   5/23/2019    10UL059483    1                    $835.35      $835.35      $835.35
1090328034   5/23/2019    10UL059484    1                    $323.73      $323.73      $323.73
1090336965   11/16/2020   10UL059566    1                   $1,366.71    $1,366.71    $1,366.71



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1090340954   7/11/2017    10UL060968    1                    $874.14      $874.14      $874.14
1090340954    8/4/2017    10UL061510    4                    $329.88        $82.47     $329.88
1090340954   7/11/2017    10UL063747    2                   $2,513.60    $1,256.80    $2,513.60
1090340954   7/11/2017    10UL065200    1                    $255.18      $255.18      $255.18
1090344813   10/13/2020   10UL065201    1                  $31,737.27   $31,737.27   $31,737.27
1090345130   1/12/2017    10UL065492    1                    $965.46      $965.46      $965.46
1090345227   10/11/2018   10UL066562    1                    $444.94      $444.94      $444.94
1090347125   5/23/2018    10UL067006    1                   $4,195.12    $4,195.12    $4,195.12
1090347125   5/23/2018    10UL067709    1                   $7,632.85    $7,632.85    $7,632.85
1090347203    3/9/2021    10UL069614    3                  $12,107.28    $4,035.76   $12,107.28
1090349949    7/9/2020    10UL070407    1                   $2,770.34    $2,770.34    $2,770.34
1090351287   2/15/2018    10UL071204    1                   $1,556.03    $1,556.03    $1,556.03
1090352492   10/22/2020   10UL073010    1                  $10,366.36   $10,366.36   $10,366.36
1090352492   9/18/2020    2300003601    2                    $466.37      $233.19      $466.37
1090354971    3/2/2018    2300003677    1                  $21,696.45   $21,696.45   $21,696.45
1090354978   4/25/2018    2300006439    2                    $124.25        $62.13     $124.25
1090354978   7/30/2020    2300007593    1                    $411.00      $411.00      $411.00
1090361612   6/15/2020    2300008538    1                    $176.70      $176.70      $176.70
1090363864   1/14/2021    2300009244    1                    $281.53      $281.53      $281.53
1090366038   3/10/2021    2300009422    2                    $105.27        $52.64     $105.27
1090370371    9/4/2020    2300010150    1                    $662.56      $662.56      $662.56
1090372442   4/21/2017    2300010279    1                    $121.33      $121.33      $121.33
1090372442   7/24/2017    2300010345    2                    $730.84      $365.42      $730.84
1090372442   4/21/2017    2300012229    1                    $117.29      $117.29      $117.29
1090372442   4/21/2017    2300013795    1                      $97.27       $97.27       $97.27
1090375613   9/22/2017    2300016195    1                    $154.63      $154.63      $154.63
1090378641   11/4/2019    2300016703    1                   $5,303.71    $5,303.71    $5,303.71
1090382852    3/4/2020    2300017004    1                   $6,709.35    $6,709.35    $6,709.35
1090387851   2/23/2017    2300017192    1                      $65.85       $65.85       $65.85
1090396989   5/31/2019    2300017250    1                    $183.29      $183.29      $183.29
1090459482   1/26/2018    2300017255    2                   $5,825.37    $2,912.69    $5,825.37
1090459482   1/26/2018    2300017307    1                    $875.29      $875.29      $875.29
1090487715   4/14/2017    2300018920    1                   $2,002.26    $2,002.26    $2,002.26
1090487715   4/14/2017    2300019710    1                   $1,765.93    $1,765.93    $1,765.93
1090487715   4/14/2017    2300019844    1                      $43.68       $43.68       $43.68
1090495370    2/8/2019    2300020941    3                   $1,449.49     $483.16     $1,449.49
1090518600   8/14/2019    2300022311    1                   $2,094.45    $2,094.45    $2,094.45
1090563108   1/18/2018    2300023467    1                    $278.54      $278.54      $278.54
1090569776   9/11/2018    2300024301    1                    $363.06      $363.06      $363.06
1099000217   9/22/2020    2300024304    1                  $14,987.95   $14,987.95   $14,987.95
1099000217   9/22/2020    2300024357    2                      $67.15       $33.58       $67.15
1099000217   9/22/2020    2300025298    1                    $439.92      $439.92      $439.92
1099000217   9/22/2020    2300025598    1                   $1,106.21    $1,106.21    $1,106.21
1099000244   7/30/2020    2300025835    2                    $165.61        $82.81     $165.61
1099000934                2300026038    1                   $1,513.46    $1,513.46    $1,513.46
2300003601   5/13/2020    2300027223    1                      $26.08       $26.08       $26.08
2300003601   5/13/2020    2300028989    6                   $1,136.10     $189.35     $1,136.10
2300009244   3/25/2020    2300032369    2                    $200.94      $100.47      $200.94
2300009422   7/18/2018    2300032372    1                    $631.22      $631.22      $631.22
2300009422   7/18/2018    2300032679    1                   $1,415.52    $1,415.52    $1,415.52
2300010150   9/25/2019    2300033637    1                      $97.33       $97.33       $97.33
2300010345   3/14/2018    2300034086    1                    $288.17      $288.17      $288.17
2300010345   1/23/2018    2300034479    1                    $625.97      $625.97      $625.97
2300012229   11/20/2018   2300036193    1                   $3,428.82    $3,428.82    $3,428.82
2300013795    8/6/2020    2300039009    1                    $156.17      $156.17      $156.17
2300016195   10/18/2017   2300041393    1                    $177.89      $177.89      $177.89
2300016703    3/4/2020    2300041896    1                      $54.84       $54.84       $54.84
2300017004   7/20/2018    2300042559    1                    $248.05      $248.05      $248.05
2300017192   3/23/2018    2300047040    7                       $8.80        $1.26        $8.80
2300017250   9/10/2018    2300048137    1                    $227.15      $227.15      $227.15
2300017255   2/19/2021    2300048282    1                    $141.22      $141.22      $141.22
2300017255   2/19/2021    2300048320    1                   $3,287.46    $3,287.46    $3,287.46



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2300017307   1/12/2018    2300056475    1                   $341.05     $341.05     $341.05
2300018920   5/13/2019    2300060475    3                  $1,668.24    $556.08    $1,668.24
2300019710    8/7/2018    2300061923    1                  $8,082.29   $8,082.29   $8,082.29
2300019844    7/2/2020    2300067169    3                  $4,852.14   $1,617.38   $4,852.14
2300020941    2/6/2020    2300067243    3                     $74.51      $24.84      $74.51
2300020941    2/6/2020    2300069484    1                  $1,665.24   $1,665.24   $1,665.24
2300020941    2/6/2020    2300072888    3                  $1,047.81    $349.27    $1,047.81
2300022311   2/18/2021    2300074558    1                   $266.50     $266.50     $266.50
2300023467   10/1/2020    2300074856    1                     $59.11      $59.11      $59.11
2300024301   1/28/2021    2300075181    1                   $135.32     $135.32     $135.32
2300024304    7/1/2019    2300076260    1                   $104.32     $104.32     $104.32
2300024357   7/24/2019    2300076935    1                   $115.97     $115.97     $115.97
2300024357   7/24/2019    2300077244    1                   $349.29     $349.29     $349.29
2300025298    7/9/2018    2300078228    1                   $102.30     $102.30     $102.30
2300025598   1/14/2020    2300081633    2                   $346.07     $173.04     $346.07
2300026038    5/7/2018    2300085048    1                   $189.24     $189.24     $189.24
2300027223   11/12/2018   2300085976    2                   $917.06     $458.53     $917.06
2300028989    3/8/2019    2300086432    2                   $400.56     $200.28     $400.56
2300028989   4/30/2019    2300086988    2                   $447.70     $223.85     $447.70
2300028989    3/8/2019    2300089539    1                   $613.86     $613.86     $613.86
2300028989   7/18/2019    2300091016    3                   $832.81     $277.60     $832.81
2300028989   4/12/2019    2300091236    1                   $186.65     $186.65     $186.65
2300028989   3/29/2019    2300103468    1                   $472.69     $472.69     $472.69
2300032369    4/3/2019    2300103714    2                   $135.71       $67.86    $135.71
2300032369    4/3/2019    2300104963    3                   $496.07     $165.36     $496.07
2300032372   3/18/2020    2300115897    3                   $226.68       $75.56    $226.68
2300032679   2/15/2021    2300116353    1                   $284.53     $284.53     $284.53
2300034086   4/11/2017    2300116473    1                   $357.02     $357.02     $357.02
2300034479   7/24/2018    2300118312    1                     $44.30      $44.30      $44.30
2300036193    6/1/2020    2300121537    1                   $382.49     $382.49     $382.49
2300039009   10/28/2020   2300122516    1                   $101.37     $101.37     $101.37
2300041393   2/12/2019    2300125034    1                     $82.60      $82.60      $82.60
2300041896    1/9/2019    2300125461    1                   $318.32     $318.32     $318.32
2300042559   3/24/2017    2300125972    1                   $124.57     $124.57     $124.57
2300047040   10/4/2017    2300129197    1                   $101.35     $101.35     $101.35
2300047040   10/19/2017   2300130011    1                   $103.92     $103.92     $103.92
2300047040   10/4/2017    2300130818    1                   $404.71     $404.71     $404.71
2300047040   10/4/2017    2300131988    1                     $44.13      $44.13      $44.13
2300047040   8/24/2017    2300132424    3                   $839.00     $279.67     $839.00
2300047040   10/4/2017    2300133413    2                   $493.98     $246.99     $493.98
2300047040   10/4/2017    2300135649    1                   $636.19     $636.19     $636.19
2300048137   4/19/2018    2300140638    1                   $748.99     $748.99     $748.99
2300048282   11/18/2020   2300140955    2                   $567.51     $283.76     $567.51
2300048320   6/13/2018    2300142975    1                   $409.80     $409.80     $409.80
2300056475   2/17/2021    2300143102    1                   $905.74     $905.74     $905.74
2300060475   7/12/2017    2300144244    1                   $466.06     $466.06     $466.06
2300060475   7/12/2017    2300159559    1                     $37.60      $37.60      $37.60
2300060475   7/12/2017    2300169691    3                   $108.59       $36.20    $108.59
2300061923   7/28/2020    2390000014    2                  $1,798.78    $899.39    $1,798.78
2300062135    2/6/2018    2390000088    1                   $362.66     $362.66     $362.66
2300067169    5/2/2018    2390000281    1                  $2,299.02   $2,299.02   $2,299.02
2300067169    5/2/2018    2390000322    1                   $344.75     $344.75     $344.75
2300067169    5/2/2018    2390000350    1                   $343.82     $343.82     $343.82
2300067243    3/9/2017    2390000524    1                  $1,818.86   $1,818.86   $1,818.86
2300067243    3/9/2017    2390000860    2                   $622.36     $311.18     $622.36
2300067243    3/9/2017    2390002326    1                   $788.39     $788.39     $788.39
2300072888   3/16/2021    2390002444    1                   $729.81     $729.81     $729.81
2300072888   3/16/2021    2390002587    1                   $713.32     $713.32     $713.32
2300072888   3/16/2021    2390002702    1                  $6,089.53   $6,089.53   $6,089.53
2300074558   11/19/2018   2390002874    1                   $170.14     $170.14     $170.14
2300074856    7/8/2019    2390003094    4                   $615.15     $153.79     $615.15
2300076260    7/5/2018    2390003239    1                   $316.11     $316.11     $316.11



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2300077244    5/3/2019    2390003274    1                      $81.74       $81.74       $81.74
2300078228    6/1/2018    2390003297    1                    $278.49      $278.49      $278.49
2300081633   7/19/2018    2390003379    1                    $373.50      $373.50      $373.50
2300081633   7/19/2018    2390003476    1                    $749.57      $749.57      $749.57
2300085048   9/25/2020    2390003678    2                    $589.00      $294.50      $589.00
2300085976   4/16/2018    2390003812    1                  $10,462.11   $10,462.11   $10,462.11
2300085976   4/16/2018    2390004198    1                   $1,579.24    $1,579.24    $1,579.24
2300086432   10/17/2018   2390004367    1                    $177.34      $177.34      $177.34
2300086432   10/17/2018   2390004572    1                    $510.01      $510.01      $510.01
2300086988   11/24/2020   2390004621    1                    $474.04      $474.04      $474.04
2300086988   1/19/2021    2390005008    1                    $495.58      $495.58      $495.58
2300089539    3/4/2019    2390005557    2                   $2,056.19    $1,028.10    $2,056.19
2300091016   3/17/2020    2390005893    1                    $417.57      $417.57      $417.57
2300091016   3/16/2020    2390005988    1                    $614.21      $614.21      $614.21
2300091016   3/17/2020    2390006384    1                    $777.65      $777.65      $777.65
2300091236   10/9/2017    2390006471    1                    $165.96      $165.96      $165.96
2300103104   4/13/2017    2390008417    1                    $445.08      $445.08      $445.08
2300103104   4/13/2017    2390008633    1                    $264.01      $264.01      $264.01
2300103104   4/13/2017    2390008692    1                    $157.55      $157.55      $157.55
2300103468   7/12/2017    2390008753    1                   $3,693.72    $3,693.72    $3,693.72
2300103714   9/24/2018    2390008953    1                   $1,343.63    $1,343.63    $1,343.63
2300103714   9/24/2018    2390009889    1                   $4,013.57    $4,013.57    $4,013.57
2300104963   11/1/2018    2390010143    1                    $172.00      $172.00      $172.00
2300104963   11/28/2018   2390010584    1                   $2,376.83    $2,376.83    $2,376.83
2300104963   11/1/2018    2390011140    1                   $4,511.36    $4,511.36    $4,511.36
2300115897   9/24/2020    2390011177    1                   $5,389.51    $5,389.51    $5,389.51
2300115897   9/24/2020    2390011564    4                    $339.57        $84.89     $339.57
2300115897   1/11/2021    2390011680    1                    $353.28      $353.28      $353.28
2300116353   9/29/2020    2390011914    1                   $1,540.52    $1,540.52    $1,540.52
2300116473   11/13/2020   2390011917    1                   $1,541.90    $1,541.90    $1,541.90
2300118312                2390012112    1                   $3,352.86    $3,352.86    $3,352.86
2300121537    5/3/2017    2390012264    1                    $761.19      $761.19      $761.19
2300125461    3/1/2021    2390012542    1                    $695.20      $695.20      $695.20
2300125972    4/4/2018    2390013389    2                    $155.87        $77.94     $155.87
2300129197   7/11/2019    2390013458    1                   $7,187.94    $7,187.94    $7,187.94
2300130011   2/24/2020    2390013577    2                    $370.86      $185.43      $370.86
2300130818    2/7/2020    5000000464    1                   $5,495.42    $5,495.42    $5,495.42
2300131988   6/12/2017    5000000930    1                    $373.06      $373.06      $373.06
2300132424    7/6/2017    5000001375    1                   $3,713.54    $3,713.54    $3,713.54
2300132424    6/8/2017    5000002095    2                   $3,245.47    $1,622.74    $3,245.47
2300132424    8/1/2017    5000002510    1                    $183.75      $183.75      $183.75
2300133413   1/26/2021    5000005299    1                    $941.99      $941.99      $941.99
2300133413   1/26/2021    5000005453    1                    $875.66      $875.66      $875.66
2300135649   6/20/2018    5000005937    3                   $4,310.24    $1,436.75    $4,310.24
2300140638   11/30/2016   5000007070    1                   $2,739.99    $2,739.99    $2,739.99
2300140955    7/5/2018    5000008924    1                  $12,725.90   $12,725.90   $12,725.90
2300140955    7/5/2018    5000009553    1                    $314.70      $314.70      $314.70
2300142975   7/12/2017    5000009757    2                    $305.03      $152.52      $305.03
2300143102   4/11/2017    5000010320    1                    $596.08      $596.08      $596.08
2300144244    5/6/2019    5000011463    1                   $1,476.91    $1,476.91    $1,476.91
2300159559   11/5/2018    5000015226    1                    $572.55      $572.55      $572.55
2300169691   7/29/2019    5000016281    3                    $146.74        $48.91     $146.74
2300169691   7/29/2019    5000016332    1                    $303.08      $303.08      $303.08
2300169691   6/25/2019    5000023470    1                      $77.50       $77.50       $77.50
2390000014   5/13/2019    5000025381    2                   $1,152.94     $576.47     $1,152.94
2390000014    6/6/2019    5000025659    4                    $866.47      $216.62      $866.47
2390000088   1/10/2020    5000026249    2                    $507.68      $253.84      $507.68
0080124000   9/27/2016    5000027070    1                   $3,345.67    $3,345.67    $3,345.67
2390000281   10/9/2020    5000027368    1                   $1,839.28    $1,839.28    $1,839.28
2390000322   3/12/2019    5000028065    2                    $149.15        $74.58     $149.15
0080216570   7/14/2016    5000028613    1                    $445.11      $445.11      $445.11
2390000524   1/26/2018    5000028787    4                      $22.21        $5.55       $22.21



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0080303480   5/11/2016    5000029309    1                     $494.63      $494.63      $494.63
0080315200    6/7/2018    5000031578    1                     $573.02      $573.02      $573.02
2390000860   5/15/2020    5100000381    1                    $7,248.46    $7,248.46    $7,248.46
2390000860   5/15/2020    5100000820    1                    $1,018.00    $1,018.00    $1,018.00
2390002326   3/15/2019    5100001700    1                     $230.12      $230.12      $230.12
2390002444    8/6/2018    5100001790    1                    $2,704.57    $2,704.57    $2,704.57
2390002587    6/1/2020    5100001937    2                   $10,476.03    $5,238.02   $10,476.03
0080357150   11/17/2016   5100002133    1                     $229.16      $229.16      $229.16
2390002874   3/19/2019    5100002574    1                     $537.34      $537.34      $537.34
2390003094   11/3/2020    5100002765    1                     $212.42      $212.42      $212.42
2390003094   10/14/2020   5100003262    2                     $752.63      $376.32      $752.63
2390003094   11/3/2020    5100003478    1                    $1,579.53    $1,579.53    $1,579.53
2390003094   11/3/2020    5100003640    2                       $88.85       $44.43       $88.85
2390003239   6/14/2018    5100003648    1                     $262.58      $262.58      $262.58
2390003274   7/10/2020    5100003649    3                    $1,803.11     $601.04     $1,803.11
2390003297   3/14/2019    5100003947    4                   $11,481.82    $2,870.46   $11,481.82
2390003379   6/27/2019    5100003948    3                     $231.44        $77.15     $231.44
2390003476   7/19/2017    5100004228    1                     $882.14      $882.14      $882.14
2390003678    2/2/2018    5100005031    1                    $2,558.17    $2,558.17    $2,558.17
2390003678    2/2/2018    5100005486    2                     $290.96      $145.48      $290.96
2390003719   12/7/2017    5100005488    1                     $199.79      $199.79      $199.79
2390003812   9/25/2019    5100010056    1                   $13,070.51   $13,070.51   $13,070.51
0080420300    6/4/2020    0080045950    1                       $37.42       $37.42       $37.42
2390004198    5/1/2019    0080202600    1                    $2,691.48    $2,691.48    $2,691.48
2390004367   8/31/2017    0080222480    1                     $918.08      $918.08      $918.08
2390004572   12/5/2018    0080343330    1                     $814.83      $814.83      $814.83
2390004621   12/14/2016   0080359710    1                    $1,726.19    $1,726.19    $1,726.19
2390005008    3/1/2018    0080401130    1                    $2,944.21    $2,944.21    $2,944.21
2390005557    2/5/2021    0084009390    1                    $1,481.59    $1,481.59    $1,481.59
2390005557   12/4/2020    1090004495    1                     $507.91      $507.91      $507.91
0084006980    3/1/2017    1090241907    3                     $125.18        $41.73     $125.18
2390005893   12/28/2020   1090247668    1                        $0.00        $0.00        $0.00
0084006980    3/1/2017    1090254138    1                    $4,080.92    $4,080.92    $4,080.92
2390006384   5/18/2020    1090281838    1                        $0.00        $0.00        $0.00
2390006471   2/25/2020    1090351368    3                     $245.80        $81.93     $245.80
0084006980    3/1/2017    1090354860    1                     $220.40      $220.40      $220.40
2390008417    2/4/2020    10UL019445    2                     $214.28      $107.14      $214.28
2390008633   11/13/2020   2300032321    1                        $0.00        $0.00        $0.00
2390008692   8/18/2020    2390011900    2                     $263.94      $131.97      $263.94
2390008753   4/23/2019    0080021240    2                     $486.61      $243.31      $486.61
2390008953   8/26/2020    0080031390    1                     $395.35      $395.35      $395.35
2390009889   9/22/2020    0080355080    5                    $1,348.53     $269.71     $1,348.53
0084006980    3/1/2017    1090047570    4                       $97.96       $24.49       $97.96
2390010143   9/10/2019    1090093618    2                     $972.45      $486.23      $972.45
2390010584    3/2/2021    10UL044577    1                       $71.31       $71.31       $71.31
0084017790   6/24/2016    10UL054156    1                     $407.21      $407.21      $407.21
2390011140   6/13/2017    10UL061145    2                     $583.11      $291.56      $583.11
2390011177   11/7/2018    2300062363    1                    $7,701.86    $7,701.86    $7,701.86
2390011564   11/21/2017   2390003627    1                     $608.88      $608.88      $608.88
2390011564   11/21/2017   0080120500    4                    $2,515.44     $628.86     $2,515.44
2390011564   11/21/2017   0080350140    1                    $2,456.35    $2,456.35    $2,456.35
2390011564   10/20/2017   0084000950    1                   $10,938.59   $10,938.59   $10,938.59
2390011680   5/31/2017    1090101359    1                     $299.66      $299.66      $299.66
2390011914   6/26/2019    1090181159    1                     $114.43      $114.43      $114.43
2390011917   6/26/2019    10UL027710    2                    $9,595.14    $4,797.57    $9,595.14
2390012112   7/28/2020    2300019036    1                     $151.58      $151.58      $151.58
2390012264   10/10/2017   2300095682    1                     $350.96      $350.96      $350.96
2390012542   9/18/2020    2300114478    1                     $268.68      $268.68      $268.68
0084104710   11/28/2016   2300140282    2                     $157.07        $78.54     $157.07
1090010875   12/6/2016    5100001891    3                    $2,223.78     $741.26     $2,223.78
2390013458   7/16/2020    10UL049468    1                    $2,417.85    $2,417.85    $2,417.85
2390013577    2/5/2020    0084111980    1                       $86.58       $86.58       $86.58



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2390013577    2/5/2020    10UL035231    1                         $868.20    $868.20          $868.20
5000000464   12/31/2020   10UL034159    1                       $1,668.62   $1,668.62       $1,668.62
5000000930   4/11/2017    0080344770    1                         $174.73    $174.73          $174.73
5000001375   3/30/2020    10UL029338    1                         $666.12    $666.12          $666.12
5000002095    9/5/2018    1090119935    2                            0.00        0.00           $0.00
5000002095    9/5/2018    1090119935                                 0.00        0.00           $0.00
5000002510   4/13/2017    0080284280    1                         $609.85    $609.85          $609.85
5000005299   12/20/2017   0084019380    2                       $1,440.56    $720.28        $1,440.56
1090013574   9/26/2017    0084019380                                $0.00       $0.00           $0.00
1090013574   9/26/2017    10UL068228    1                         $319.16    $319.16          $319.16
5000005453    5/7/2018    0080312220    1                         $750.04    $750.04          $750.04
1090013574   9/26/2017    0080348250    1                         $132.58    $132.58          $132.58
1090043633   8/26/2015    0080356880    4                         $257.08      $64.27         $257.08
1090069431   11/11/2016   0080376420    1                         $605.11    $605.11          $605.11
1090130387   6/16/2016    0084111600    1                       $5,516.49   $5,516.49       $5,516.49
1090151728    7/5/2018    0084116900    8                       $4,244.54    $530.57        $4,244.54
5000008924   8/15/2018    0084118700    1                       $1,345.09   $1,345.09       $1,345.09
1090152578   9/21/2016    1090000866    1                          $14.92      $14.92          $14.92
5000009553   8/30/2019    1090100654    1                           $0.00       $0.00           $0.00
5000009757   12/14/2020   1090109006    1                           $0.00       $0.00           $0.00
5000009757   12/14/2020   1090126312    1                         $401.73    $401.73          $401.73
5000010320   7/11/2018    1090148124    1                         $192.71    $192.71          $192.71
5000011463    9/3/2020    1090163461    1                         $428.66    $428.66          $428.66
1090163839   9/20/2016    1090172186    1                         $131.09    $131.09          $131.09
5000015226   10/23/2019   1090296114    1                         $782.48    $782.48          $782.48
5000016281   4/20/2018    1090306612    2                         $235.53    $117.77          $235.53
5000016281   5/17/2018    1090320496    2                          $56.16      $28.08          $56.16
5000016281   5/15/2018    1090342718    1                         $168.63    $168.63          $168.63
1090163839   9/20/2016    1090346072    3                           $0.00       $0.00           $0.00
1090168069   10/31/2017   1090353433    4                         $567.21    $141.80          $567.21
5000016332   11/7/2018    1090417915    1                         $311.03    $311.03          $311.03
5000020979    3/3/2017    1090469697    1                          $82.97      $82.97          $82.97
5000023470   10/16/2020   1090555485    1                         $204.75    $204.75          $204.75
1090168069   10/31/2017   10UL031764    1                         $152.21    $152.21          $152.21
5000025381   8/10/2017    10UL043503    1                       $2,586.63   $2,586.63       $2,586.63
5000025381   8/10/2017    10UL048475    1                         $609.04    $609.04          $609.04
5000025659   7/30/2020    10UL051712    1                         $961.92    $961.92          $961.92
5000025659   7/30/2020    10UL054155    1                         $157.42    $157.42          $157.42
5000025659   11/10/2020   10UL056109    1                       $2,569.24   $2,569.24       $2,569.24
5000025659   7/30/2020    2300032368    1                         $141.32    $141.32          $141.32
5000026249    2/2/2021    2300060930    4                         $164.47      $41.12         $164.47
5000026249   11/17/2020   2300071316    2                       $8,387.82   $4,193.91       $8,387.82
1090195273   11/18/2016   2300089870    1                         $229.90    $229.90          $229.90
5000027368   6/28/2019    2300131189    4                         $122.28      $30.57         $122.28
5000028065    8/1/2017    2390000364    1                         $427.57    $427.57          $427.57
5000028065    8/1/2017    2390010361    1                       $4,702.23   $4,702.23       $4,702.23
5000028613   8/18/2020    2390012279    1                         $147.50    $147.50          $147.50
5000028787   10/8/2020    5000015252    1                         $908.99    $908.99          $908.99
5000028787   10/8/2020    5000016364    2                       $4,236.68   $2,118.34       $4,236.68
5000028787   10/8/2020    5100001875    1                         $440.27    $440.27          $440.27
5000028787   11/17/2020      Total                          $1,176,028.43               $1,176,028.43
1090249996    1/4/2017
5000031578   4/12/2018
1090268273   11/28/2016
1090268273   11/28/2016
5100000111   2/22/2017
5100000111   2/21/2017
5100000381   12/31/2020
1090269752   11/15/2016
5100001188   2/21/2017
5100001700   3/29/2018
1090281012    5/5/2017



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5100001937    5/1/2019
5100001937    5/1/2019
5100002133   7/26/2017
5100002574   11/3/2020
1090355558   1/13/2016
1099000694    1/9/2017
2300003677    8/4/2017
2300006439   10/18/2016
2300006439   10/18/2016
2300007593   5/20/2016
5100003262   6/22/2017
5100003262   6/22/2017
2300008538   2/23/2017
5100003640    3/1/2021
5100003640    3/1/2021
5100003648   4/24/2020
2300010279   10/25/2016
2300025835   3/21/2017
2300025835   3/21/2017
5100003947   11/3/2020
5100003947   11/3/2020
5100003947   11/3/2020
5100003947   11/3/2020
5100003948   10/26/2020
5100003948   10/26/2020
5100003948   10/26/2020
5100004228   9/17/2019
2300033637   9/21/2017
2300069484    5/8/2020
2300075181    3/2/2018
2300076935   10/31/2019
5100005031   5/23/2018
2300122516    9/6/2016
2300125034   10/24/2016
5100005488    5/2/2018
2390000350   5/26/2016
10UL014296   10/2/2019
10UL015438    4/2/2018
10UL015438    4/2/2018
2390002702   9/13/2016
10UL016713    6/3/2019
10UL016713   10/18/2019
10UL017709   7/17/2017
10UL018401   7/16/2018
10UL018401   7/20/2018
10UL018401   7/10/2018
10UL018401   7/20/2018
10UL018402   2/14/2018
10UL018402   2/14/2018
10UL018402   2/14/2018
10UL018402   2/14/2018
10UL018881   3/12/2018
10UL019264   12/20/2018
10UL019264   12/20/2018
10UL020465    9/1/2020
10UL020699   6/16/2017
10UL020895   6/15/2018
10UL021361    3/2/2021
10UL021361    3/2/2021
10UL021361    3/2/2021
10UL021361    3/2/2021
2390005988   1/17/2017



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10UL022571   11/30/2017
2390013389   12/29/2016
2390013389   12/29/2016
10UL023137   6/17/2020
10UL023230    7/1/2020
5000005937   1/13/2016
5000005937   1/15/2016
10UL024954   9/19/2019
10UL024954   8/16/2019
10UL025466   9/19/2017
10UL025466   9/19/2017
10UL025467   7/20/2017
5000005937   1/13/2016
5000007070   12/8/2017
10UL026847   7/18/2019
10UL027753    5/8/2018
5000027070    4/6/2018
5000029309   12/27/2016
5100000820   4/19/2018
10UL030363   9/17/2020
10UL030389   1/29/2019
10UL030389   1/29/2019
5100001790   2/29/2016
10UL030892   11/8/2018
10UL031239   7/17/2017
10UL032638   6/19/2019
10UL032638   6/19/2019
10UL032638   6/19/2019
10UL034160   10/11/2017
10UL034260   4/16/2020
5100002765    8/9/2019
10UL035647   11/16/2017
5100003478   11/7/2016
5100003649   8/26/2016
5100003649   8/26/2016
10UL036277   2/16/2018
10UL037377    1/3/2019
10UL038294   6/29/2018
5100003649   8/26/2016
10UL039038    5/2/2018
10UL039376   1/11/2019
10UL039376   1/11/2019
5100005486   2/22/2017
10UL039744   12/28/2017
10UL039744   12/28/2017
5100005486   2/22/2017
5100010056   4/10/2019
10UL043342   11/29/2018
10UL043342   11/29/2018
10UL043342   11/29/2018
10UL021380   5/30/2018
10UL022669   6/12/2020
10UL026603   1/27/2017
10UL026722   11/2/2020
10UL034749   4/22/2016
10UL043724   7/29/2020
10UL036047   5/22/2018
10UL045153   7/19/2018
10UL046753   2/16/2018
10UL048060    4/6/2020
10UL048065    3/9/2018
10UL048659   10/31/2018



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10UL036048   5/10/2018
10UL049617   3/16/2021
10UL050050   4/25/2019
10UL050750   9/20/2017
10UL052335   10/31/2018
10UL052862    9/1/2020
10UL052862    9/1/2020
10UL052862    9/1/2020
10UL053175   12/20/2017
10UL053175   11/27/2017
10UL053175   11/27/2017
10UL053175   11/27/2017
10UL053175   11/27/2017
10UL038299   1/30/2017
10UL054414   4/21/2020
10UL054770   12/31/2019
10UL040971   7/29/2020
10UL055111   2/21/2020
10UL055306   9/17/2020
10UL055867   10/29/2018
10UL056013   10/13/2020
10UL056120   4/16/2020
10UL056120   4/16/2020
10UL056120   4/29/2020
10UL056120   4/16/2020
10UL056911   7/22/2020
10UL057004   5/15/2019
10UL057367   12/8/2020
10UL057367   11/16/2020
10UL057509    2/4/2020
10UL057509    2/4/2020
10UL043689   3/23/2016
10UL043689   3/23/2016
10UL043689   3/23/2016
10UL059483    1/9/2018
10UL059484   4/17/2020
10UL059566    2/3/2020
10UL060968   2/17/2017
10UL043689   3/23/2016
10UL061510   10/27/2017
10UL061510    1/9/2018
10UL061510   10/27/2017
10UL061510   8/28/2017
10UL063747   6/12/2017
10UL063747   6/12/2017
10UL065200   11/3/2020
10UL065201   6/15/2017
10UL065492   7/30/2020
10UL066562    4/2/2019
10UL067006   4/25/2019
10UL067709   10/31/2018
10UL043689   3/23/2016
10UL069614    9/3/2019
10UL069614    9/3/2019
10UL069614    9/3/2019
10UL044652   3/30/2016
10UL071204   9/10/2018
10UL049594   7/22/2016
10UL054288    4/4/2016
10UL070407   12/30/2016
10UL073010   1/12/2017
0080359710   4/23/2021



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0080401130   4/26/2021
2300032321   5/18/2021
0084009390   5/11/2021
0080202600
0080222480   4/21/2021
1090351368   4/26/2021
1090351368   4/26/2021
1090351368
1090281838    5/4/2021
0080045950   5/17/2021
1090241907   5/11/2021
1090241907   5/11/2021
1090241907   5/11/2021
1090004495   5/10/2021
1090254138   4/30/2021
1090247668
0080343330   5/13/2021
2390011900   5/17/2021
2390011900
1090354860   4/26/2021
10UL019445   5/14/2021
10UL019445   5/14/2021
0080021240   5/18/2021
0080021240   5/18/2021
0080031390    6/4/2021
0080355080    6/7/2021
0080355080    6/7/2021
0080355080    6/7/2021
0080355080    6/7/2021
0080355080    6/7/2021
1090047570    6/7/2021
1090047570    6/7/2021
1090047570    6/7/2021
1090047570    6/7/2021
1090093618     44369
1090093618     44369
2300062363     44369
2390003627   6/15/2021
10UL044577   6/15/2021
10UL054156    6/2/2021
10UL061145   5/19/2021
10UL061145   5/19/2021
0080120500   6/21/2021
0080120500   6/21/2021
0080120500   6/21/2021
0080120500   6/21/2021
0080350140   7/15/2021
0084000950    7/9/2021
1090101359   7/12/2021
1090181159   6/17/2021
2300019036    7/9/2021
2300095682   6/24/2021
2300114478   6/25/2021
2300140282   7/12/2021
2300140282   7/12/2021
5100001891   6/16/2021
5100001891   6/16/2021
5100001891   6/16/2021
10UL027710    7/8/2021
10UL027710    7/8/2021
10UL049468   3/30/2021
0084111980    4/6/2021



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10UL035231    4/6/2021
10UL034159   3/31/2021
0080344770   4/13/2021
10UL029338   4/20/2021
1090119935   3/31/2021
1090119935   3/31/2021
0080284280    4/9/2021
0084019380    4/2/2021
0084019380    4/2/2021
10UL068228   3/29/2021
0080312220     42179
0080348250     42108
0080356880     42054
0080356880     42068
0080356880
0080356880    42072
0080376420    42178
0084111600    42164
0084116900    42100
0084116900    42101
0084116900    42088
0084116900    42107
0084116900    42103
0084116900    42107
0084116900    42125
0084116900    42103
0084118700    42181
1090000866    42125
1090100654    42177
1090109006    42040
1090126312    42041
1090148124    42060
1090163461    42178
1090172186    42129
1090296114    42131
1090306612    42167
1090306612    42167
1090320496    42122
1090320496    42122
1090342718    42037
1090346072    42055
1090346072    42055
1090346072    42055
1090353433
1090353433
1090353433    42067
1090353433
1090417915    42074
1090469697    42181
1090555485    42160
10UL031764    42131
10UL043503    42067
10UL048475    42111
10UL051712    42125
10UL054155    42177
10UL056109    42156
2300032368    42115
2300060930    42130
2300060930    42144
2300060930    42144
2300060930    42144
2300071316    42083



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                                         EXHIBIT D
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2300071316
2300089870   42082
2300131189   42124
2300131189   42117
2300131189   42131
2300131189   42111
2390000364   42055
2390010361   42181
2390012279   42125
5000015252   42174
5000016364
5000016364   42060
5100001875   42179




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                                         EXHIBIT E -
                                   SETTLEMENT AGREEMENT

                 EXHIBIT E - PAYMENTS PRIOR TO 2/1/2015

                                                            Grace Period
    Policy No   Deduction Amount       Payment Date
                                                          Settlement Relief
   0080002570                $5.86       1/23/2012                      $2.40
   0080002600            $2,701.09       1/2/2014                   $1,106.93
   0080008620            $1,088.48       7/27/2012                    $446.07
   0080031420             $635.69        8/19/2009                    $260.51
   0080046630             $284.31        5/21/2013                    $116.51
   0080051700            $3,821.96       2/24/2011                  $1,566.27
   0080055960            $1,007.76       8/6/2014                     $412.99
   0080065480             $780.53        2/25/2014                    $319.87
   0080076790               $71.50       3/25/2014                     $29.30
   0080076790               $71.50       3/25/2014                     $29.30
   0080076790               $71.50       3/25/2014                     $29.30
   0080082240                $0.00       3/28/2008                      $0.00
   0080086010             $165.56        12/2/2011                     $67.85
   0080104810             $943.76        4/11/2012                    $386.76
   0080104810             $943.76        4/11/2012                    $386.76
   0080108690            $1,670.07       6/12/2014                    $684.41
   0080131980             $531.09        1/13/2011                    $217.65
   0080143440             $746.76        7/28/2010                    $306.03
   0080144660             $497.12        6/13/2008                    $203.72
   0080166820             $176.68        9/16/2013                     $72.40
   0080166820             $176.68        9/16/2013                     $72.40
   0080166820             $176.68       11/22/2013                     $72.40
   0080166820             $176.68        9/16/2013                     $72.40
   0080168570             $965.48        5/19/2015                    $395.66
   0080186960             $364.60       11/14/2011                    $149.42
   0080189310             $181.84        10/7/2014                     $74.52
   0080205800            $3,757.15       7/23/2012                  $1,539.71
   0080206360            $1,821.77      12/30/2013                    $746.58
   0080206360                $0.00      12/30/2013                      $0.00
   0080206360                $0.00      12/30/2013                      $0.00
   0080224350             $594.20        5/6/2014                     $243.51
   0080226820             $264.67        4/1/2014                     $108.46
   0080232610             $670.86       12/19/2014                    $274.92
   0080232610                $0.00       1/20/2015                      $0.00
   0080232610                $0.00      12/31/2014                      $0.00
   0080235990             $589.95        6/6/2013                     $241.77
   0080253870                $0.00       4/13/2011                      $0.00
   0080253870                $0.00       4/13/2011                      $0.00
   0080254430                $0.00                                      $0.00
   0080254430                $0.00      9/11/2013                       $0.00
   0080269010             $786.25       3/9/2012                      $322.21
   0080273820                $0.00      7/5/2013                        $0.00


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                                       EXHIBIT E -
                                 SETTLEMENT AGREEMENT
   0080277920               $31.75     6/20/2013             $13.01
   0080277920                $0.00     6/21/2013              $0.00
   0080278060            $1,427.88     2/22/2008           $585.16
   0080278300             $213.55      7/25/2012             $87.51
   0080300890             $170.38      7/16/2014             $69.82
   0080300890                $0.00     7/16/2014              $0.00
   0080300890                $0.00     7/16/2014              $0.00
   0080300890                $0.00     7/16/2014              $0.00
   0080300890                $0.00     7/16/2014              $0.00
   0080311160             $196.82     10/24/2014             $80.66
   0080312260             $231.46      1/11/2013             $94.85
   0080312260                $0.00     1/11/2013              $0.00
   0080326240             $518.19      11/6/2014           $212.36
   0080326240                $0.00    10/29/2014              $0.00
   0080346020            $2,213.74     7/14/2011           $907.21
   0080346020                $0.00     7/14/2011              $0.00
   0080346020                $0.00     7/14/2011              $0.00
   0080346040            $5,270.90     6/19/2014          $2,160.06
   0080347190             $999.01     10/27/2014           $409.40
   0080351650             $194.88      8/18/2009             $79.86
   0080351650                $0.00     8/18/2009              $0.00
   0080351650                $0.00     8/18/2009              $0.00
   0080360890            $1,775.94     12/9/2010           $727.80
   0080362840            $5,358.43     1/5/2010           $2,195.93
   0080367780             $726.79     12/22/2011           $297.84
   0080376560            $3,892.49     3/3/2011           $1,595.18
   0080376560                $0.00     4/6/2011               $0.00
   0080376560                $0.00     4/6/2011               $0.00
   0080380450            $4,022.95    12/26/2014          $1,648.64
   0080420730             $321.08      4/8/2010            $131.58
   0080471260            $1,560.53     10/6/2014           $639.52
   0080473010            $3,384.22                        $1,386.88
   0080473010                $0.00    12/31/2012              $0.00
   0084001870            $1,287.90     9/6/2013            $527.79
   0084003970             $898.38      1/3/1900            $368.16
   0084005890             $119.14      9/19/2014             $48.82
   0084005890                $0.00     9/19/2014              $0.00
   0084005890                $0.00     9/19/2014              $0.00
   0084005890             $119.14      9/19/2014             $48.82
   0084015180             $857.79      8/27/2014           $351.53
   0084100030             $597.86      5/24/2011           $245.01
   0084101330             $399.49                          $163.71
   0084101330                $0.00     7/11/2014              $0.00
   0084105770            $4,024.99     8/7/2013           $1,649.48
   0084110940             $547.51      5/6/2011            $224.37
   0084111350             $569.15      9/5/2014            $233.24
   0084111350                $0.00    10/29/2014              $0.00

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                                       EXHIBIT E -
                                 SETTLEMENT AGREEMENT
   0084111350                $0.00                            $0.00
   0084111350                $0.00     9/25/2014              $0.00
   1090001841                $0.00    12/11/2010              $0.00
   1090001841                $0.00    12/11/2010              $0.00
   1090001841                $0.00    12/11/2010              $0.00
   1090002419            $2,860.43     10/7/2013          $1,172.23
   1090003545             $565.56     10/10/2012           $231.77
   1090003700             $553.61      11/6/2012           $226.87
   1090005970             $910.92      7/28/2014           $373.30
   1090005970                $0.00                            $0.00
   1090005970                $0.00    7/28/2014               $0.00
   1090005970                $0.00    7/28/2014               $0.00
   1090008845             $846.28     10/4/2012            $346.81
   1090009378             $209.78     6/13/2014              $85.97
   1090015393            $1,174.78    11/3/2009            $481.43
   1090026591            $1,835.91    8/2/2012             $752.37
   1090026591                $0.00                            $0.00
   1090026592             $957.51      8/2/2012            $392.40
   1090026592                $0.00                            $0.00
   1090055023            $4,633.46    12/3/2012           $1,898.83
   1090055023                $0.00                            $0.00
   1090055730             $904.66     7/21/2011            $370.74
   1090055730                $0.00                            $0.00
   1090055730             $904.66     7/21/2011            $370.74
   1090055730                $0.00                            $0.00
   1090055730                $0.00    7/21/2011               $0.00
   1090055730                $0.00                            $0.00
   1090065513             $925.59      9/22/2010           $379.31
   1090066009             $557.36      4/10/2014           $228.41
   1090069794                $0.00     5/8/2014               $0.00
   1090069794                $0.00     5/8/2014               $0.00
   1090069794                $0.00     5/8/2014               $0.00
   1090072648             $319.78      7/30/2009           $131.05
   1090073462               $49.95     7/3/2014              $20.47
   1090073462                $0.00     7/3/2014               $0.00
   1090075475                $0.00     6/21/2010              $0.00
   1090075575            $1,630.83    11/20/2013           $668.33
   1090079085            $5,092.13     2/17/2011          $2,086.80
   1090079085                $0.00                            $0.00
   1090079085                $0.00    2/17/2011               $0.00
   1090079085                $0.00                            $0.00
   1090094361             $232.47     7/30/2012              $95.27
   1090095412             $170.60     2/19/2014              $69.91
   1090096336            $3,991.32    6/7/2012            $1,635.68
   1090097173             $252.17     2/11/2014            $103.34
   1090097173                $0.00    2/11/2014               $0.00
   1090097173                $0.00    2/20/2014               $0.00

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                                       EXHIBIT E -
                                 SETTLEMENT AGREEMENT
   1090097173                $0.00     2/11/2014              $0.00
   1090097173                $0.00     2/11/2014              $0.00
   1090099053             $818.97      7/10/2014           $335.62
   1090103596             $318.24      9/2/2011            $130.42
   1090107456           $11,835.90    11/23/2010          $4,850.45
   1090107456                $0.00    11/23/2010              $0.00
   1090107456                $0.00    11/23/2010              $0.00
   1090114799                $0.00    11/26/2008              $0.00
   1090114799                $0.00    11/26/2008              $0.00
   1090114799                $0.00    11/26/2008              $0.00
   1090114799                $0.00    11/26/2008              $0.00
   1090122127                $0.00     9/3/2013               $0.00
   1090124450             $144.24      1/30/2014             $59.11
   1090125504             $634.90      9/8/2011            $260.19
   1090125504                $0.00                            $0.00
   1090129120             $724.99     5/21/2010            $297.11
   1090129120                $0.00    5/21/2010               $0.00
   1090129120                $0.00    5/21/2010               $0.00
   1090129544               $42.42    3/20/2009              $17.38
   1090133401            $4,782.45    7/7/2010            $1,959.89
   1090138716             $102.67     4/30/2013              $42.08
   1090144556               $29.06    6/2/2014               $11.91
   1090144556                $0.00    6/2/2014                $0.00
   1090144556                $0.00    6/2/2014                $0.00
   1090144556                $0.00    6/2/2014                $0.00
   1090146223               $75.15    8/8/2012               $30.80
   1090146223                $0.00    8/9/2012                $0.00
   1090146223                $0.00                            $0.00
   1090146223                $0.00                            $0.00
   1090146290                $0.00                            $0.00
   1090146290             $340.55      5/7/2012            $139.56
   1090146861               $55.41     3/25/2014             $22.71
   1090148321               $75.82    12/10/2014             $31.07
   1090150666               $33.01     12/5/2013             $13.53
   1090152319               $43.72     3/22/2011             $17.92
   1090152319                $0.00     3/22/2011              $0.00
   1090152319                $0.00     3/22/2011              $0.00
   1090160568               $98.95     12/8/2009             $40.55
   1090160568                $0.00     12/8/2009              $0.00
   1090160568                $0.00     12/8/2009              $0.00
   1090160568                $0.00     12/8/2009              $0.00
   1090160568                $0.00     12/8/2009              $0.00
   1090164294             $118.92     10/28/2014             $48.73
   1090165532                $0.00     9/24/2014              $0.00
   1090169454               $65.50                           $26.84
   1090169454                $0.00     8/7/2014               $0.00
   1090169454                $0.00    10/30/2014              $0.00

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                                       EXHIBIT E -
                                 SETTLEMENT AGREEMENT
   1090171962               $77.14    6/16/2011              $31.61
   1090171962                $0.00                            $0.00
   1090171962                $0.00    6/16/2011               $0.00
   1090171962                $0.00                            $0.00
   1090171962                $0.00    6/16/2011               $0.00
   1090171962                $0.00                            $0.00
   1090171962                $0.00    6/16/2011               $0.00
   1090171962                $0.00                            $0.00
   1090171962                $0.00    6/16/2011               $0.00
   1090171962                $0.00                            $0.00
   1090174453               $15.08    6/22/2012               $6.18
   1090177912               $84.12    3/12/2012              $34.47
   1090177912                $0.00    3/12/2012               $0.00
   1090182147             $731.52                           $299.78
   1090182147                $0.00     4/18/2011              $0.00
   1090182147                $0.00     4/18/2011              $0.00
   1090183976             $614.48      3/1/2013             $251.82
   1090188119               $81.74    12/12/2013             $33.50
   1090189692            $1,013.29     4/22/2014            $415.25
   1090200437               $23.28     10/5/2012              $9.54
   1090200437                $0.00                            $0.00
   1090205497               $76.30    9/12/2011              $31.27
   1090208076                $0.00    5/25/2011               $0.00
   1090209490             $108.04     1/30/2014              $44.28
   1090209940             $111.14     11/1/2011              $45.55
   1090209940                $0.00    11/1/2011               $0.00
   1090214374            $1,131.62    4/23/2014             $463.75
   1090215681             $174.52                            $71.52
   1090215681                $0.00    6/8/2015                $0.00
   1090217890               $64.62    1/14/2015              $26.48
   1090217890                $0.00    1/14/2015               $0.00
   1090218208               $40.50    3/21/2008              $16.60
   1090225708               $38.32    4/14/2010              $15.70
   1090227802               $41.72    8/28/2012              $17.10
   1090228952               $77.11    5/21/2014              $31.60
   1090228952                $0.00                            $0.00
   1090237945               $65.95    6/20/2012              $27.03
   1090249999             $214.74     6/22/2012              $88.00
   1090249999                $0.00                            $0.00
   1090252157               $51.43    7/30/2013              $21.08
   1090252157                $0.00                            $0.00
   1090252157                $0.00                            $0.00
   1090252157                $0.00     7/30/2013              $0.00
   1090253058               $61.71    12/18/2012             $25.29
   1090253058                $0.00                            $0.00
   1090265434               $90.27     4/10/2009             $36.99
   1090266245             $124.87     10/24/2013             $51.17

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                                       EXHIBIT E -
                                 SETTLEMENT AGREEMENT
   1090266245                $0.00    10/24/2013              $0.00
   1090266245                $0.00    10/25/2013              $0.00
   1090268742               $73.86     4/5/2013              $30.27
   1090277208               $99.30     1/31/2008             $40.69
   1090277208                $0.00     1/31/2008              $0.00
   1090277208               $99.30     1/31/2008             $40.69
   1090277208                $0.00     1/31/2008              $0.00
   1090278630               $89.88     4/21/2014             $36.83
   1090279816             $349.40                           $143.19
   1090279816                $0.00                            $0.00
   1090279816             $349.40     10/19/2011            $143.19
   1090279816                $0.00    10/19/2011              $0.00
   1090301801             $108.17      5/13/2008             $44.33
   1090304347               $49.03     10/5/2011             $20.09
   1090304814               $55.93     4/7/2014              $22.92
   1090304970             $141.80      2/16/2012             $58.11
   1090305731               $97.42     8/16/2011             $39.92
   1090305731                $0.00                            $0.00
   1090305731               $97.42    8/16/2011              $39.92
   1090305731                $0.00                            $0.00
   1090316700             $136.30     5/7/2014               $55.86
   1090320649                $0.00    3/17/2010               $0.00
   1090320649                $0.00    3/17/2010               $0.00
   1090321931            $1,477.45    5/24/2010             $605.47
   1090329675               $72.59    1/30/2015              $29.75
   1090329675                $0.00    1/30/2015               $0.00
   1090329675                $0.00    1/30/2015               $0.00
   1090333507                $0.00    9/4/2014                $0.00
   1090333507                $0.00    9/4/2014                $0.00
   1090333507                $0.00    6/30/2014               $0.00
   1090333507                $0.00    9/4/2014                $0.00
   1090333507                $0.00                            $0.00
   1090333507                $0.00     5/2/2014               $0.00
   1090333507                $0.00     5/2/2014               $0.00
   1090333889                $0.00     7/14/2014              $0.00
   1090344142               $45.95    10/13/2010             $18.83
   1090352113                $0.00     6/18/2014              $0.00
   1090365358             $125.35     12/22/2011             $51.37
   1090365358                $0.00                            $0.00
   1090365358                $0.00    12/22/2011              $0.00
   1090365358                $0.00                            $0.00
   1090368798                $0.00    4/25/2011               $0.00
   1090368798                $0.00                            $0.00
   1090387666               $91.22    11/10/2014             $37.38
   1090420954             $161.61      10/8/2009             $66.23
   1090424366            $1,449.83     6/24/2013            $594.15
   1090509213             $171.01     11/30/2011             $70.08

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                                EXHIBIT
                                  #:477E -
                              SETTLEMENT AGREEMENT
1090564029                $0.00    1/2/2014                 $0.00
1099000709             $252.70     7/2/2012              $103.56
1099000709                $0.00    7/19/2012                $0.00
1099000709                $0.00    7/19/2012                $0.00
1099000709                $0.00    7/2/2012                 $0.00
1099001334             $767.91     7/13/2011             $314.70
1099001335            $1,094.39    7/19/2011             $448.49
10UL011042            $4,331.12    6/13/2014            $1,774.93
10UL011042                $0.00    6/13/2014                $0.00
10UL011042                $0.00    6/13/2014                $0.00
10UL015139                $0.00    5/1/2014                 $0.00
10UL015627             $227.89     6/9/2010                $93.39
10UL015688           $41,551.92    8/17/2010           $17,028.33
10UL015688                $0.00    8/17/2010                $0.00
10UL015688                $0.00    8/17/2010                $0.00
10UL015688                $0.00    8/17/2010                $0.00
10UL015688                $0.00    8/17/2010                $0.00
10UL015688                $0.00    8/17/2010                $0.00
10UL017496            $7,756.20    3/4/2013             $3,178.56
10UL017496                $0.00                             $0.00
10UL017496                $0.00    3/5/2013                 $0.00
10UL017497            $9,353.13    3/5/2013             $3,832.99
10UL017930            $2,727.91    4/28/2014            $1,117.92
10UL017930                $0.00                             $0.00
10UL017930                $0.00                             $0.00
10UL017930                $0.00                             $0.00
10UL019047             $844.32      6/24/2010            $346.01
10UL019181            $2,998.24     2/10/2009           $1,228.70
10UL020981             $439.28      2/13/2012            $180.02
10UL020981                $0.00     2/13/2012               $0.00
10UL022973             $671.48      12/3/2014            $275.18
10UL026409            $1,976.54    11/10/2014            $810.00
10UL026409                $0.00    11/10/2014               $0.00
10UL026409                $0.00    11/10/2014               $0.00
10UL027403            $6,333.59     7/5/2012            $2,595.56
10UL027403                $0.00     7/9/2012                $0.00
10UL028667            $3,493.44     7/3/2013            $1,431.64
10UL028731             $411.09                           $168.47
10UL028731                $0.00    10/12/2011               $0.00
10UL028917             $146.89      3/22/2011              $60.20
10UL028917                $0.00     3/22/2011               $0.00
10UL028917                $0.00     3/22/2011               $0.00
10UL028917                $0.00     3/22/2011               $0.00
10UL028917                $0.00     3/22/2011               $0.00
10UL028917                $0.00     3/22/2011               $0.00
10UL029324             $399.21                           $163.60
10UL029324                $0.00    10/12/2011               $0.00

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                                EXHIBIT
                                  #:478E -
                              SETTLEMENT AGREEMENT
10UL033634               $72.71    12/1/2008               $29.80
10UL033749            $1,287.72    6/27/2014             $527.72
10UL034852            $3,253.87    10/3/2014            $1,333.46
10UL037553            $5,884.42    5/6/2015             $2,411.49
10UL038271           $16,163.06    5/18/2013            $6,623.76
10UL039115             $919.11     1/15/2010             $376.66
10UL039115                $0.00    1/15/2010                $0.00
10UL039115                $0.00    1/15/2010                $0.00
10UL039609            $1,726.21    12/5/2013             $707.42
10UL039609                $0.00                             $0.00
10UL039761            $4,167.58    2/21/2013            $1,707.91
10UL039761                $0.00                             $0.00
10UL040040             $255.41     12/24/2014            $104.67
10UL040040                $0.00     1/8/2015                $0.00
10UL040040                $0.00    11/20/2014               $0.00
10UL040248            $2,110.32     3/26/2015            $864.83
10UL040475             $601.31      8/17/2010            $246.42
10UL041330             $205.82                             $84.35
10UL041330                $0.00     5/1/2014                $0.00
10UL041330                $0.00                             $0.00
10UL041330                $0.00    5/1/2014                 $0.00
10UL041375            $7,443.84    1/27/2015            $3,050.55
10UL041375                $0.00                             $0.00
10UL041755           $11,057.32     8/18/2011           $4,531.38
10UL043991            $7,912.50    10/15/2012           $3,242.61
10UL046073             $428.49      6/14/2011            $175.60
10UL046073                $0.00     6/14/2011               $0.00
10UL046922             $439.58      9/17/2014            $180.14
10UL049711            $4,507.50     4/11/2011           $1,847.21
10UL052268            $2,376.38     6/4/2012             $973.86
10UL056815            $2,902.92    12/16/2014           $1,189.64
10UL057516            $6,096.76     6/10/2013           $2,498.50
10UL057942             $355.00      11/1/2011            $145.48
10UL057946             $101.13      6/16/2015              $41.44
10UL061119            $1,227.56     5/31/2012            $503.06
10UL061119                $0.00                             $0.00
10UL061217             $756.80      9/25/2013            $310.14
10UL065843            $6,048.04    12/23/2013           $2,478.54
10UL065998             $223.47      1/2/2015               $91.58
10UL065998                $0.00     1/2/2015                $0.00
10UL065998                $0.00     1/2/2015                $0.00
10UL066200            $1,733.47     2/22/2010            $710.39
10UL066355             $221.54     10/24/2013              $90.79
10UL067013            $1,239.71    10/15/2014            $508.04
10UL068618            $3,919.77    12/17/2008           $1,606.36
10UL068618                $0.00    12/17/2008               $0.00
10UL073166           $16,453.91     11/1/2013           $6,742.95

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                                EXHIBIT
                                  #:479E -
                              SETTLEMENT AGREEMENT
10UL073166                $0.00    10/15/2013               $0.00
10UL073166                $0.00    10/21/2013               $0.00
2300007856                $0.00    11/19/2009               $0.00
2300008584             $129.11     11/22/2010              $52.91
2300014027            $4,069.66                         $1,667.78
2300014027                $0.00    11/20/2012               $0.00
2300014027                $0.00    11/20/2012               $0.00
2300014027                $0.00                             $0.00
2300014027                $0.00    11/20/2012               $0.00
2300014027                $0.00    11/20/2012               $0.00
2300014031             $210.31      6/27/2013              $86.19
2300022413             $156.66      6/11/2013              $64.20
2300022413                $0.00     6/11/2013               $0.00
2300024169                $0.00    11/25/2014               $0.00
2300024169                $0.00    11/25/2014               $0.00
2300031640               $67.75     10/5/2012              $27.76
2300031759            $2,397.20    12/18/2009            $982.39
2300031759                $0.00    12/18/2009               $0.00
2300031759                $0.00    12/18/2009               $0.00
2300031759                $0.00    12/18/2009               $0.00
2300031760            $2,144.26     3/2/2012             $878.74
2300031760                $0.00     3/2/2012                $0.00
2300031760                $0.00     3/2/2012                $0.00
2300031760                $0.00     3/2/2012                $0.00
2300037540             $538.60      7/13/2011            $220.72
2300039842             $756.95      2/23/2012            $310.20
2300048704             $202.12      3/7/2013               $82.83
2300056219            $8,528.19     3/31/2014           $3,494.93
2300067375             $130.84      3/13/2009              $53.62
2300067375                $0.00     3/13/2009               $0.00
2300070034            $1,736.04    11/21/2011            $711.44
2300077010             $604.53      10/4/2012            $247.74
2300077010                $0.00     10/4/2012               $0.00
2300078330             $105.78      5/10/2012              $43.35
2300079423               $80.93     1/8/2015               $33.17
2300084527             $306.15      1/17/2011            $125.46
2300084596             $126.37     11/21/2011              $51.79
2300087412             $745.27      6/21/2013            $305.42
2300093728             $313.06     10/20/2009            $128.29
2300093728                $0.00    10/20/2009               $0.00
2300093728                $0.00    10/20/2009               $0.00
2300094316             $279.81      8/23/2013            $114.67
2300094316                $0.00     8/23/2013               $0.00
2300096261             $447.90      11/4/2013            $183.55
2300096261                $0.00     1/14/2014               $0.00
2300096261                $0.00     11/4/2013               $0.00
2300097284                $0.00     8/4/2014                $0.00

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                                EXHIBIT
                                  #:480E -
                              SETTLEMENT AGREEMENT
 2300099739            $116.84     2/20/2012               $47.88
 2300099740              $54.04    4/7/2014                $22.15
 2300105373              $50.48    1/11/2011               $20.69
 2300105373               $0.00    1/11/2011                $0.00
 2300105373               $0.00    1/11/2011                $0.00
 2300106563            $757.28     1/20/2015             $310.34
 2300106563               $0.00    1/20/2015                $0.00
 2300110938              $78.46                            $32.15
 2300110938              $78.46    7/8/2014                $32.15
 2300110938               $0.00    7/8/2014                 $0.00
 2300110938               $0.00    7/8/2014                 $0.00
 2300110938               $0.00    7/8/2014                 $0.00
 2300110938               $0.00    7/8/2014                 $0.00
 2300110938               $0.00    7/8/2014                 $0.00
 2300110938               $0.00    7/8/2014                 $0.00
 2300112041           $3,246.35    2/20/2013            $1,330.38
 2300112145          $10,304.75    2/25/2013            $4,222.97
 2300119120            $361.60                           $148.19
 2300119120               $0.00                             $0.00
 2300119120               $0.00                             $0.00
 2300119120               $0.00     10/9/2014               $0.00
 2300119120               $0.00    10/14/2014               $0.00
 2300119120               $0.00     10/9/2014               $0.00
 2300119120               $0.00     10/3/2014               $0.00
 2300124381              $64.72     9/4/2014               $26.52
 2300124381               $0.00     9/4/2014                $0.00
 2300130398            $369.13                           $151.27
 2300130398               $0.00    10/31/2014               $0.00
 2300136292            $863.61      4/30/2010            $353.91
 2300136842               $0.00     6/8/2010                $0.00
 2300137821            $254.13      6/13/2013            $104.14
 2300137821               $0.00     6/13/2013               $0.00
 2300137821               $0.00     6/13/2013               $0.00
 2300137821               $0.00     6/13/2013               $0.00
 2300169727            $636.09      6/19/2013            $260.68
 2300169727               $0.00                             $0.00
 2300169727               $0.00                             $0.00
 2300169727            $636.09      6/20/2013            $260.68
 2300169727               $0.00     6/20/2013               $0.00
 2390000059            $277.78     10/10/2014            $113.84
 2390000059               $0.00    10/10/2014               $0.00
 2390000059               $0.00    10/10/2014               $0.00
 2390000074            $303.03      3/11/2013            $124.18
 2390000074               $0.00     3/11/2013               $0.00
 2390000800            $152.19      1/3/2014               $62.37
 2390000800               $0.00     1/2/2014                $0.00
 2390000800               $0.00    12/23/2013               $0.00

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                                EXHIBIT
                                  #:481E -
                              SETTLEMENT AGREEMENT
 2390000800               $0.00    11/20/2013               $0.00
 2390002563           $2,569.35    10/27/2014           $1,052.94
 2390002927            $258.00     12/30/2010            $105.73
 2390002927               $0.00    12/30/2010               $0.00
 2390003639           $4,266.45     3/25/2013           $1,748.43
 2390003639               $0.00     3/25/2013               $0.00
 2390003639               $0.00     3/25/2013               $0.00
 2390003639               $0.00     3/25/2013               $0.00
 2390003639               $0.00     3/25/2013               $0.00
 2390003650            $704.02      2/25/2011            $288.51
 2390003691            $155.10     11/21/2014              $63.56
 2390003691               $0.00    11/21/2014               $0.00
 2390003691               $0.00    11/21/2014               $0.00
 2390004735           $1,560.70     4/5/2013             $639.59
 2390005134            $335.58      6/17/2014            $137.52
 2390005677           $5,076.94     3/11/2011           $2,080.57
 2390006775            $836.80      2/24/2014            $342.93
 2390006924           $1,002.59     6/6/2011             $410.87
 2390008453            $209.05      4/8/2014               $85.67
 2390009524               $0.00     10/6/2011               $0.00
 2390009714           $1,522.77     8/25/2011            $624.04
 2390010098            $458.91      11/6/2013            $188.07
 2390010860            $411.14     10/17/2013            $168.49
 2390012122               $0.00     2/9/2008                $0.00
 2390013237           $3,525.91     6/18/2014           $1,444.95
 5000001285              $40.53     6/13/2013              $16.61
 5000001285               $0.00     6/13/2013               $0.00
 5000001285               $0.00     6/13/2013               $0.00
 5000001285               $0.00     6/13/2013               $0.00
 5000005057               $0.00    11/25/2009               $0.00
 5000005057               $0.00    11/25/2009               $0.00
 5000007196               $0.00    12/12/2007               $0.00
 5000009478              $69.61     4/23/2014              $28.53
 5000009478               $0.00                             $0.00
 5000013271              $82.35     9/8/2014               $33.75
 5000020523            $325.06      3/6/2012             $133.21
 5000021889            $524.70     12/11/2009            $215.03
 5000021889               $0.00    12/11/2009               $0.00
 5000027778               $0.00     8/21/2013               $0.00
 5000028392            $126.41      2/2/2008               $51.80
 5000028392               $0.00     2/2/2008                $0.00
 5000028392               $0.00     2/2/2008                $0.00
 5000030647            $275.69      4/12/2013            $112.98
 5100000314            $490.38      9/26/2013            $200.96
 5100001894            $126.20      7/12/2011              $51.72
 5100002576            $414.56      1/16/2009            $169.89
 5100002768            $559.25      9/9/2011             $229.19

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                                EXHIBIT
                                  #:482E -
                              SETTLEMENT AGREEMENT
 5100002873             $622.29    10/24/2013            $255.02
 5100003712             $372.78     5/2/2014             $152.77

   Totals           $396,526.61                       $162,500.00




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